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                         Nos. 23-35440 & 23-35450

 In the United States Court of Appeals for the Ninth Circuit
__________________________________________________________________
                        UNITED STATES OF AMERICA,
                            Plaintiff-Appellee,
                                     v.
                           THE STATE OF IDAHO,
                           Defendant-Appellant.


                     UNITED STATES OF AMERICA,
                           Plaintiff-Appellee,
                                    v.
                         THE STATE OF IDAHO
                               Defendant,
                                    v.
     MIKE MOYLE, Speaker of the Idaho House of Representatives; et al.,
                        Intervenors-Appellants.


                Appeal from the United States District Court
                          for the District of Idaho
                       Honorable B. Lynn Winmill
                           (1:22-cv-00329-BLW)

       INTERVENORS-APPELLANTS’ REPLY IN SUPPORT OF
 MOTION TO STAY PRELIMINARY INJUNCTION PENDING APPEAL
__________________________________________________________________
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                                   ARGUMENT

I.     NO PROCEDURAL BARRIER PREVENTS THE COURT FROM
       CONSIDERING THE LEGISLATURE’S LEGAL ARGUMENTS.

       A.    The Idaho Legislature Did Not “Forfeit” Legal Arguments that the
             District Court Excluded.

       The United States opposes a stay. But since the Legislature’s motion satisfies

Nken v. Holder, 556 U.S. 418 (2009), a stay should issue.

       The government alleges that the Idaho Legislature “forfeited” its argument

that EMTALA’s references to the medical care of an “unborn child” “exclude abor-

tion from the broad definition of stabilizing treatment” by not raising the argument

in the Legislature’s opposition to the preliminary injunction. Resp. at 12.1 Not so.

       Neither decision cited in the Response supports forfeiture. School District No.

1J, Multnomah County v. ACandS, Inc., 5 F.3d 1255, 1263 (9th Cir. 1993), involves

a failure to file documents with a motion as reason to deny reconsideration. Burling-

ton Northern & Santa Fe Railway Co. v. Vaughn, 509 F.3d 1085, 1093 n.3 (9th Cir.

2007), rejected an argument initially raised in a reply. The alleged procedural bar is

a fiction.

       Worse, the forfeiture argument would punish the Legislature for an omission

compelled by the district court’s restrictions on the Legislature as a permissive in-



1
 The Response does not comply with word-length limits. Where FRAP 27(d)(2)(A)
allows “5,200 words,” the Certificate of Compliance attests to “5,577 words.”
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tervenor. Exhibit 6 at 1.2 Yet the Response says nothing about how the court limited

the Legislature to factual arguments when opposing the preliminary injunction. That

the United States cites a non-existent procedural bar and fails to acknowledge the

Legislature’s constraints is egregious.

         B.    The Idaho Legislature Did Not Concede that EMTALA Conflicts
               with Section 622.

         The United States writes that the Legislature “conceded” the conflict between

EMTALA and Idaho law during a hearing on the preliminary injunction. Resp. at 16

(citing 2-ER-118). Hardly.

         Former counsel for the Legislature said, “I’m not disputing, Your Honor, the

conceptual textual conflicts[.]” Exhibit 7 at 2-ER-118. But courts review an alleged

concession for a “slip of the tongue.” In re Adamson Apparel, Inc. v. Simon, 785

F.3d 1285, 1294 (9th Cir. 2015). Context matters.

         At the time of the hearing, the district court had granted the Legislature per-

missive intervention “limited to allowing it to present evidence and argument aimed

at ‘showing the holes’ in the factual foundation of the United States’ motion.” Ex-

hibit 6 at 18. So the Legislature’s counsel did not engage legal issues like conflicts

between federal and state law. See, e.g., Exhibit 7 at 2-ER-112–13.




2
    The Legislature has appealed its claim to intervene as of right. No. 23-35153.
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      The Legislature clarified its position in a brief opposing the preliminary in-

junction. There, the Legislature offered “a thorough-going analysis” showing that

“EMTALA does not preempt the 622 Statute.” Exhibit 8 at 13. But counsel did not

present that argument, in compliance with the court’s directions. Id.

      Even if it were a concession, counsel’s stray remark cannot affect this Court’s

“independent power to identify and apply the proper construction of governing law.”

Aleman v. Glickman, 217 F.3d 1191, 1196 n.3 (9th Cir. 2000) (citation omitted).

      C.     The Legislature’s Request for a Stay Is Timely.

      Both in the procedural background and in its discussion of irreparable injury,

the United States accuses the Legislature of unreasonably delaying its request for a

stay. See Resp. at 5, 20–21. It isn’t so. The Legislature acted in a timely and reason-

able way. It moved for reconsideration 14 days after the preliminary injunction and

for a stay pending appeal on “[t]hat same date” as its timely notice of appeal. Resp.

at 5. That the preliminary injunction has stood undisturbed for a year is due to the

district court’s eight-month delay in deciding motions for reconsideration—not to

any delay by the Legislature.




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II.   THE IDAHO LEGISLATURE HAS A STRONG LIKELIHOOD OF
      SUCCESS ON THE MERITS.

      A.     EMTALA Does Not Preempt Section 622.

             1.    An implied duty to perform abortions does not preempt state law
                   because it does not “directly” conflict.

      The United States rehashes the district court’s flawed preemption analysis.

See Resp. at 8–10. But the government still misunderstands EMTALA’s non-

preemption clause. 42 U.S.C. § 1395dd(f). Since the United States infers a duty to

perform abortions from EMTALA’s obligation to provide “stabilizing treatment,”

that implied duty cannot pose the kind of direct conflict that triggers EMTALA’s

preemption clause. Id. § 1395dd(b)(1)(A). EMTALA preempts state laws that inter-

fere with the federal statute’s express requirements, but not otherwise.

      Nor has the Legislature ever “conceded” that EMTALA preempts section 622.

Resp. at 10, 18. Its opening brief says, “EMTALA preempts state law only when it

contradicts with the statute’s express requirements.” Exhibit 9 at 30.

      The United States then insists that “[w]hen Congress creates special rules gov-

erning abortion—or excludes abortion from otherwise-applicable rules—it does so

explicitly.” Resp. at 11. But this gets matters backwards. Executive power must be

proven, not presumed. Like any federal agency, USDOJ and HHS “literally [have]

no power to act, let alone pre-empt the validly enacted legislation of a sovereign




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State, unless and until Congress confers power upon it.” Louisiana Pub. Serv. Com’n

v. FCC, 476 U.S. 355, 374 (1986).

        Bostock v. Clayton County, 140 S. Ct. 1731 (2020), does not save the govern-

ment’s argument. Unlike the sweeping Civil Rights Act, EMTALA is a “limited

‘anti-dumping’ statute.” Bryan v. Rectors and Visitors of Univ. of Va., 95 F.3d 349,

351 (4th Cir. 1996). EMTALA’s overlapping non-preemption clauses mean that its

“preemptive effect” should be construed “as narrowly as possible.” Draper v. Chia-

puzio, 9 F.3d 1391, 1393 (9th Cir. 1993). This is incontrovertible.

              2.     The Medicare Act bars EMTALA from preempting state stand-
                     ards of medical care like section 622.

        The United States charges the Legislature with “fail[ing] to preserve this ar-

gument” about the Medicare Act, Resp. at 14, but does not bother to explain why.

To be clear, the Legislature raised the argument in its motion for reconsideration,

opening brief, and motion for a stay. See Exhibit 10 at 8–9; Exhibit 9 at 31–32; Mot.

at 7.

        The Medicare Act’s express non-preemption clause does not “depart[ ] from

EMTALA.” Resp. at 14. That clause controls EMTALA.

        Biden v. Missouri, 142 S. Ct. 647 (2022) (per curiam), is inapposite. The abor-

tion mandate asserted here has not been “long insisted upon” by the United States.

Id. at 654. And Biden nowhere hints at generally lowering section 1395’s barrier on

the federal takeover of medical practice.
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      The government says that the abortion mandate it advocates was “enacted by

Congress” rather than being “imposed by a ‘Federal officer or employee.’” Resp. at

14 (quoting 42 U.S.C. § 1395). Again, not so. That mandate reflects a statutory in-

terpretation adopted by USDOJ and HHS—not the words enacted by Congress.

      The United States further argues that the preliminary injunction “preserves

physicians’ ability to identify necessary stabilizing treatment.” Resp. at 15. But sec-

tion 1395 proscribes federal “supervision or control over the practice of medicine,”

regardless of whether it promotes physician autonomy. 42 U.S.C. § 1395. The point

is to preserve state autonomy over the practice of medicine within a state’s borders.

      Straining to avoid section 1395, the government contends that “any tension”

between it and EMTALA should be resolved in favor of EMTALA as the more re-

cent and specific statute. See Resp. at 15. But repeal-by-implication is disfavored.

“[W]here two statutes are capable of co-existence, it is the duty of the courts, absent

a clearly expressed congressional intention to the contrary, to regard each as effec-

tive.”). Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1018 (1984) (citation omitted).

      B.     EMTALA Does Not Require Abortion as Stabilizing Care.

      It is undisputed that EMTALA requires a hospital to provide “stabilizing treat-

ment” to a patient with what the statute calls an “emergency medical condition.” 42

U.S.C. § 1395dd(b)(1). But the parties disagree whether “stabilizing treatment” im-

plies a duty to perform abortions. The United States insists so because the statute


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“does not exempt any form of care.” Resp. at 7. On that view, “EMTALA requires

any form of stabilizing treatment if the relevant professional determines such care is

necessary.” Id. (emphasis in original). The government infers that “[a]bortion care

constitutes potential stabilizing treatment.” Id.

      Space precludes a full rebuttal. Suffice it to say that (1) EMTALA says noth-

ing about abortion; (2) the statute requires medical care for “an unborn child,” see,

e.g., 42 U.S.C. § 1395dd(e)(1)(A)(i); and (3) delivery is the only form of stabilizing

treatment expressly approved for a pregnant woman with contractions, id. §

1395dd(e)(3)(A). These features make EMTALA-as-abortion-mandate implausible.

      The United States denies that EMTALA entails “duties to the ‘unborn.’” Resp.

at 12. Yet the statute says otherwise. See 42 U.S.C. §§ 1395dd(c)(1)(A)(ii) (barring

a patient transfer that poses “increased risks” to “the unborn child”);

1395dd(c)(2)(A) (allowing a patient transfer that “minimizes the risks” to “the health

of the unborn child”); 1395dd(e)(1)(A)(i) (“emergency medical condition” puts “the

health of the [pregnant] woman or her unborn child in serious jeopardy”);

1395dd(e)(1)(B)(ii) (“emergency medical condition” includes a patient transfer that

“pose[s] a threat to the health or safety of the woman [in labor] or the unborn child”).

      The Response’s claim, Resp. at 8, that “[c]ourts routinely recognize” EM-

TALA as an abortion mandate has threadbare support, and none of the cited rulings

involves a medical condition that section 622 covers. See New York v. U.S. Dep’t of


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Health and Human Services, 414 F. Supp. 3d 475, 539 (S.D.N.Y. 2019) (citing ec-

topic pregnancy as an emergency condition covered by EMTALA); id. at 555 (HHS

declines to say how EMTALA applies to emergency abortions under a conscience

rule); Morin v. Eastern Me. Med. Ctr., 780 F. Supp. 2d 84, 93–96 (D. Me. 2010)

(addressing whether EMTALA requires a hospital to deliver a dead fetus); Ritten v.

Lapeer Reg’l Med. Ctr., 611 F. Supp. 2d 696, 712–18 (E.D. Mich. 2009) (declining

to resolve whether EMTALA requires delivery of a nonviable fetus); California v.

United States, No. C-05-00328-JSW, 2008 WL 744840 (N.D. Cal. Mar. 18, 2008)

(dismissing a case under California law for lack of standing).

      C.     The Major Questions Doctrine Precludes the United States’ Con-
             struction of EMTALA as a Fount of Executive Power.

      The United States resists the major questions doctrine for reasons that don’t

add up. The notion that “there is ‘no relevant agency action’ because the United

States is enforcing ‘a policy decision[ ]’ made by ‘Congress … itself” begs the ques-

tion whether EMTALA embodies a congressional decision to mandate abortion.

Resp. at 15 (quotations omitted). One cannot avoid the doctrine for lack of “a ‘trans-

formative expansion’ of regulatory authority.” Id. (quotation omitted). Inaugurating

an abortion mandate is plenty transformative. Regardless, the doctrine applies when

clear congressional authority fails to underwrite “agency decisions of vast economic

and political significance.” Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014)



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(citations omitted). Obviously, a federal abortion mandate holds “vast … political

significance.” Id.

      As the motion rightly said, “This is a quintessential major questions doctrine

case.” Mot. at 11. All the elements are here—a newfound source of executive power

with “vast … political significance” but without “clear congressional authorization.”

Util. Air, 573 U.S. at 324. That alone should doom the government’s case.

      D.     The Government’s Reading of EMTALA Raises Serious Constitu-
             tional Questions.

      The United States breezes by the Legislature’s constitutional objections in less

than two pages. See Resp. at 16–18.

      Spending Clause issues remain. The USDOJ and HHS may not coerce unwill-

ing Idaho hospitals into complying with the government’s novel construction of

EMTALA by threatening to withhold multi-billion-dollar Medicare grants when

EMTALA-related funding is comparatively small. As in NFIB v. Sebelius, 567 U.S.

519, 582 (2012), that threat leaves hospitals—and the states where they operate—

“no real option but to acquiesce.” Neither NFIB’s factual setting nor a hospital’s

voluntary participation as a general matter determines whether the government’s

threat is coercive. See Resp. at 17. And Congress’s authority to adopt statutory con-

ditions on Medicare disbursement differs from the United States’ more limited

authority to force acceptance of its statutory construction. See id. at 18.



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       Tenth Amendment problems are no less evident. Far from being a “paradigm

of preemption,” this case is a paradigm of executive overreach. Resp. at 18. The

United States whizzes by express provisions curtailing EMTALA’s preemptive

reach. See 42 U.S.C. §§ 1395dd(f), 1395. Contra the government, Resp. at 18, the

Legislature has never conceded that EMTALA preempts Idaho law. See Exhibit 9.

at 30. And the holding in Dobbs is unmistakable: “The Constitution does not prohibit

the citizens of each State from regulating or prohibiting abortion.” 142 S. Ct. at 2284.

The Supreme Court’s opinion does not endorse congressional power over abortion,

and the Response confuses the United States’ policy preferences with EMTALA’s

text. See Resp. at 19.

III.   IRREPARABLE INJURY AND THE REMAINING NKEN FACTORS
       SUPPORT A STAY PENDING APPEAL.

       A.    The Preliminary Injunction, by Itself, Irreparably Harms the
             Idaho Legislature.

       The United States says that the Legislature has not suffered irreparable injury

because “[e]nforcing Idaho law is the duty of Idaho’s executive branch.” Resp. at

19. That response is a non sequitur. The ruling principle is that “a State suffers ‘on-

going irreparable harm’ whenever it is ‘enjoined by a court from effectuating statutes

enacted by representatives of its people.’” Mot. at 3 (quoting Maryland v. King, 567

U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers)). The injury lies in preventing

a State from “effectuating” its laws. Id. Proof of other harm is unnecessary.


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      Applying King to the elected officials it covers is hardly “novel.” Resp. at 20

n.3. Because irreparable harm is caused by judicial interference with “statutes en-

acted by representatives of [a State’s] people,” King, 567 U.S. at 1303, any duly

authorized body or official of State government may assert it. That executive branch

officials have invoked King makes no difference.

      The Idaho Attorney General’s decision not to request a stay has no bearing on

the Legislature’s motion.

      To undermine the Legislature’s showing of irreparable injury, the United

States falsely charges the Legislature with “substantial and unexplained” delay.

Resp. at 21. Those criticisms misrepresent the record: the Legislature has acted

timely and reasonably. That the preliminary injunction has endured for a year is due

to the district court’s delays—not to any foot dragging by the Legislature.

      B.     The Public Interest and Balance of the Equities Support a Stay.

      The United States invokes “severe harms that a stay would cause.” Resp. at

21. Echoing the district court, the government claims a stay would “increase the risk

that pregnant patients needing emergency care would face serious complications,

irreversible injuries … or death.” Id. This exaggerates Idaho law. The United States

does not contest that section 622 authorizes pregnancy termination to treat women

with ectopic pregnancy, preeclampsia, and threats to their life. Id. Still, the govern-

ment says, “it serves the public interest to ensure access to necessary stabilizing


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treatment” in the interest of “pregnant individuals’ health.” Id. at 22. Invoking its

sovereign authority, the government also claims that the public interest is “harmed

by a stay permitting a preempted state law to take effect.” Id.

      Both contentions “repackage merits arguments.” Id. at 23. In fact, they beg

leading questions in the case—whether EMTALA requires access to abortion at all

and whether, if so, EMTALA preempts Idaho law. No is our answer.

                                    CONCLUSION

      For these reasons, the Legislature respectfully requests a stay of the district

court orders dated August 24, 2022 and May 4, 2023, pending final disposition of

the appeal before this Court and proceedings before the Supreme Court of the United

States.

                                         Respectfully submitted,

                                         /s/ Daniel W. Bower
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                                         Counsel for Intervenors-Appellants
September 8, 2023




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           CERTIFICATE OF COMPLIANCE PURSUANT TO
        CIRCUIT RULE 32-1 FOR CASE NOS. 23-35440 & 23-35450

      I hereby certify that this brief complies with the word limits permitted by

FRAP 27(d)(2)(C). The motion is 2,584 words, excluding the cover and documents

exempted by FRAP 27(a)(2)(B). The brief’s type size and typeface comply with

FRAP 32(a)(5) and (6).

      Dated: September 8, 2023               /s/ Daniel W. Bower
                                             Daniel W. Bower

                                      Counsel for Intervenors - Appellants
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                      UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO


  UNITED STATES OF AMERICA,
                                               Case No. 1:22-cv-00329-BLW
        Plaintiff,
                                               MEMORANDUM DECISION
         v.                                    AND ORDER

  THE STATE OF IDAHO,

        Defendant.



                                INTRODUCTION

      Before the Court is a motion to intervene filed by the Idaho Legislature (Dkt.

15). For the reasons expressed below, the Court will grant the motion in part and

deny it in part. The Court will deny the motion to the extent the Legislature seeks

to intervene as of right. But the Court will grant permissive intervention on a

limited basis to allow the Legislature to present argument and evidence (including

witnesses) in opposition to the United States’ pending Motion for Preliminary

Injunction. As explained further below, the Legislature’s participation will be

limited to presenting evidence and arguments the Legislature has said will show

“the holes in the ‘factual’ foundation” of the United States’ motion. See

Legislature’s Reply Br., Dkt. 25, at 6. Thus, the Legislature will be allowed to

participate in the preliminary-injunction proceedings only – and in that limited

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fashion. Otherwise, if during the course of this litigation the facts develop such that

it becomes clear the State and Legislature’s interests diverge, and the State can no

longer adequately represent the Legislature’s interests, the Court will entertain a

renewed motion to intervene.

                                  BACKGROUND

      In 2020, the Idaho Legislature passed a law making it a felony for anyone to

perform or attempt to perform or assist with an abortion. Idaho Code § 18-622(2).

This law allows for affirmative defenses to prosecution where the abortion is

necessary to prevent the death of a pregnant woman, or the pregnancy resulted

from rape or incest that was reported to law enforcement. Id. § 18- 622(3) (the

“Total Abortion Ban.”) Idaho Governor Brad Little signed the bill, but the Total

Abortion Ban did not become law when signed. Rather, recognizing the

constitutional impediments presented by Roe v. Wade, 410 U.S. 113 (1973), the

bill contained a provision – commonly referred to as a “trigger” – stating that the

prohibition would take effect 30 days following “[t]he issuance of the judgment in

any decision of the United States supreme court that restores to the states their

authority to prohibit abortion . . . .” Idaho Code § 18-622(1)(a).

      On June 24, 2022, the United States Supreme Court handed down Dobbs v.

Jackson Women’s Health Organization, 142 S. Ct. 2228 (June 24, 2022),

overruling Roe and holding that the “Constitution does not prohibit the citizens of


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each State from regulating or prohibiting abortion.” 142 S. Ct. at 2284. The

Supreme Court’s decision in Dobbs triggered the Total Abortion Ban, which is

now set to go into effect on August 25, 2022.

      Governor Little has consistently offered his full-throated support for Roe’s

overruling and for Idaho’s Total Abortion Ban. In July 2021, he joined ten other

governors submitting an amicus brief in Dobbs, arguing that Roe should be

overturned and regulation of abortion should be returned to the states. (Idaho

Attorney General Lawrence Wasden also joined more than 20 other attorneys

general in a similar amicus brief.) And on the same day the Supreme Court issued

Dobbs, Governor Little issued a press release lauding the decision and commenting

that Idaho’s Total Abortion Ban would take effect later this summer:

      I join many in Idaho and across the country today in welcoming the
      high court’s long awaited decision upholding state sovereignty and
      protecting preborn lives. The decision provides clarity around landmark
      cases at the center of passionate debate in our country for nearly five
      decades. This is now clear – the ‘right’ to an abortion was a judicial
      creation. Abortion is not a right expressed in the U.S. Constitution, and
      abortion will be entrusted to the states and their people to regulate.

      Idaho has been at the forefront of enacting new laws to protect preborn
      babies. The pro-life bill I signed into law in 2020 will go into effect
      later this summer.

      Today's decision is the culmination of pro-life efforts to defend the
      defenseless – preborn babies who deserve protection. It also is
      affirmation of states' rights, a fundamental aspect of our American




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       government. 1

       Waiting six weeks from the issuance of Dobbs, and with only three weeks

until the Total Abortion Ban is due to take effect, the United States of America

filed this case against the State of Idaho on August 2, 2022. The United States

challenges the constitutionality of the Total Abortion Ban on the grounds that it

violates the Supremacy Clause and is preempted to the extent it is contrary to the

Emergency Medical Treatment and Labor Act (EMTALA), 42 U.S.C. § 1395dd.

The United States seeks to enjoin the statute’s taking effect on August 25, 2022.

       The tight timeline between the United States’ filing its complaint and the

law’s effective date necessitated the parties agree to an expedited brief schedule.

The schedule proposed by the parties, and which the Court adopted, provided for

the United States to file its preliminary injunction motion on August 8, the State to

file its response on August 16, and the United States to file its reply on August 19

by noon Mountain Daylight Time. Order, Dkt. 13. The Court has scheduled the

hearing on the motion for August 22, 2022.

       Shortly before the United States filed its Motion for Preliminary Injunction,

on the evening of August 8, the Legislature moved to intervene as an intervenor-




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  Gov. Little Comments on SOCUTS Overrule of Roe v. Wade, dated June 24, 2022,
https://gov.idaho.gov/pressrelease/gov-little-comments-on-scotus-overrule-of-roe-v-wade/
(last visited Aug. 13, 2022).
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defendant pursuant to Federal Rule 24(a) or Rule 24(b). The Legislature seeks to

intervene because, it argues, Idaho law and Rule 24 allow it to intervene as of right

in any actions challenging the constitutionality of a state law, and the State will not

adequately represent all of the Legislature’s interests in this litigation. If denied the

opportunity to intervene, it further requests permission to file an amicus curiae

brief and participate in the August 22 hearing.

      The United States does not oppose the Legislature’s participation in this case

as an amicus curiae, and it further states that it does not oppose the State’s ceding

some of its oral argument time to the Legislature if the State chooses to do so. But

the United States opposes the Legislature’s intervention on the basis that the

Legislature has failed to identify any divergence between its interests and the

interests of the State in this case and has failed to provide any justification that its

intervention would aid the Court’s decision in this case. The United States further

argues that the Legislature’s intervention would prejudice the United States under

the expedited briefing schedule unless the Court were to take steps to mitigate the

prejudice.

                                LEGAL STANDARD

      The Federal Rules of Civil Procedure permit a party to intervene as of right

under Rule 24(a) and permissively under Rule 24(b). Cooper v. Newsom, 13 F.4th

857, 864 (9th Cir. 2021). An applicant for intervention as of right must satisfy four


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criteria under Rule 24(a)(2): “(1) the application for intervention must be timely;

(2) the applicant must have a ‘significantly protectable’ interest relating to the

property or transaction that is the subject of the action; (3) the applicant must be so

situated that the disposition of the action may, as a practical matter, impair or

impede the applicant’s ability to protect that interest; and (4) the applicant’s

interest must not be adequately represented by the existing parties in the lawsuit.”

Animal Legal Def. Fund v. Otter, 300 F.R.D. 461, 464 (D. Idaho 2014) (citing

Southwest Center for Biological Diversity v. Berg, 268 F.3d 810, 817 (9th Cir.

2001)); see also Oakland Bulk & Oversized Terminal, LLC v. City of Oakland, 960

F.3d 603, 620 (9th Cir. 2020) (citing Fed. R. Civ. P. 24(a)(2)).

      “In evaluating whether these requirements are met, courts are guided

primarily by practical and equitable considerations.” Callahan v. Brookdale Senior

Living Cmty., Inc., --- F.4th ---, 2022 WL 3016027, at *5 (9th Cir. June 29, 2022)

(internal quotation marks and citation omitted). Although courts construe Rule

24(a) broadly in favor of proposed intervenors, id., an applicant seeking

intervention bears the burden of proving that these requirements are met. Citizens

for Balanced Use v. Mont. Wilderness Ass’n, 647 F.3d 893, 897 (9th Cir. 2011).

Failure to satisfy any one of the requirements is fatal to the application.” Perry v.

Prop. 8 Official Proponents, 587 F.3d 947, 950 (9th Cir. 2009).

      By contrast, permissive intervention under rule 24(b) requires only that the


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proposed intervener “have a question of law or fact in common” with the

underlying action, that the request be timely made, and that the court have an

independent basis for jurisdiction over the proposed intervener’s claims.

Fed. R. Civ. P. 24(b). When ruling on a motion for permissive intervention under

Rule 24(b), a district court “must consider whether the intervention will unduly

delay or prejudice the adjudication of the original parties’ rights.” Dep’t of Fair

Emp. & Hous. v. Lucent Techs., Inc., 642 F.3d 728, 741 (9th Cir. 2011) (quoting

Fed. R. Civ. P. 24(b)). “Even if an applicant satisfies those threshold requirements,

the district court has discretion to deny permissive intervention.” Cooper, 13 F.4th

at 868.

                                     ANALYSIS

      When an applicant moves to intervene in a pending lawsuit under Federal

Rule of Civil Procedure 24(a)(2), a federal court has no authority to grant the

motion if an existing party to the case adequately represents the movant’s interests.

Fed. R. Civ. P. 24(a)(2). Here, the Legislature has failed to meet its burden of

showing that the State will not adequately represent its interests in the litigation.

The Legislature’s failure to satisfy this requirement is fatal to its application for

intervention as of right. Perry, 587 F.3d at 950.

      As already noted, however, the Court will allow the Legislature to intervene

on a limited basis, as explained in further detail below.


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1. Intervention as a Matter of Right

      A movant seeking intervention typically bears a “minimal” burden of

showing inadequacy of representation by an existing party, and such burden is

satisfied if the applicant can demonstrate that representation of its interests may be

inadequate. Berger v. N. Carolina State Conf. of the NAACP, 142 S. Ct. 2191,

2205 (2022) (quoting Trbovich v. United Mine Workers, 404 U.S. 528, 538 n.10

(1972)). In Berger, the Supreme Court addressed a request by two leaders of North

Carolina’s state legislature to intervene in a federal lawsuit challenging a voter-

identification law and explained what it takes to meet this “minimal” burden.

There, the NAACP sued Executive Branch officials sympathetic to its position—

namely, the Governor, who had vetoed the law after its passage and continued to

actively oppose it, and members of the State Board of Elections (collectively, the

“Board”), who were appointed and potentially removable by the Governor. Id. at

2198. The state’s attorney general assumed responsibility for defending the

Governor and the Board. Id. Like the Governor, the attorney general had opposed

an earlier voter-ID law and participated in a legal challenge against it. Id. Further,

the North Carolina attorney general’s office had a history of opposing laws enacted

by the legislature and declining to fully defend those laws in federal litigation. Id.

at 2197.

      After the NAACP sued these officials in Berger, two legislative leaders


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moved to intervene on behalf of the state legislature, arguing, inter alia, that

“without their participation, important state interests would not be adequately

represented in light of the Governor’s opposition to [the bill], the Board’s

allegiance to the Governor, and the attorney general’s opposition to earlier voter-

ID efforts.” Id. They also claimed the Board had offered only a “tepid” defense of

the law in a parallel state-court proceeding. Id. at 2198-99. The district court

denied their motion without prejudice and again denied their renewed motion. Id.

at 2199.

      As the litigation proceeded without the legislative leaders, the NAACP

moved to enjoin the Board from enforcing the voter-ID law in the upcoming

litigation; by this time, the Governor had been dismissed from the suit, and only

the Board members, represented by the attorney general, remained as defendants.

Id. The legislative leaders, unsatisfied with the vigor of the Board’s response to the

request for injunctive release, sought to lodge an amicus brief, five expert reports,

and several other declarations. Id. “At the end of the day, however, the District

Court refused to consider the amicus brief and accompanying materials, struck

them from the record, and granted a preliminary injunction barring enforcement of

[the voter-ID law].” Id.

      The legislative leaders appealed the ruling denying intervention. The Board

also appealed the ruling granting the preliminary injunction but did not seek a stay


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of the injunction because of “disruptive effect such relief would have had on

election administration.” Id. (internal quotation marks omitted). The law was

therefore not enforced during the state’s March 2020 primary election. Id. at 2200.

Meanwhile, the Governor had filed an amicus brief in the appeal in favor of the

injunction, arguing that the district court “had not gone far enough.” Id. But the

Fourth Circuit ultimately side with the legislative leaders with respect to the

injunction, who had also filed an amicus brief opposing it, finding the district court

had abused its discretion in issuing the injunction. The Fourth Circuit, however,

affirmed the district court’s denial of intervention in an en banc decision. The

Supreme Court granted certiorari.

      The Supreme Court reversed the Fourth Circuit’s en banc decision, holding

North Carolina’s legislative leaders were entitled to intervene in the litigation. In

so holding and “[c]asting aspersions on no one,” the Court observed, “this

litigation illustrates how divided state governments sometimes warrant

participation by multiple state officials in federal court. Id. at 2205. It explained

how the legislative leaders requesting to intervene sought to give voice to a

perspective different from that of the Board – which remained beholden to a

Governor that had vetoed the law at issue and who had filed his own briefs in the

litigation, “calling the law ‘unconstitutional’ and arguing that it ‘should never go

into effect,’” and which at all times had been represented by an attorney general


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who publicly opposed an earlier version of the law. Critically, the Board had also

conceded in the parallel state-court proceedings “that its ‘primary objective’ wasn’t

defending [the law], but obtaining guidance regarding which law it would need to

enforce in an upcoming election ([the current law being challenged] or preexisting

law).” Id. at 2199. Thus, the Board, more concerned about the state’s interest in

“stability and certainty,” had aimed its focus in the litigation on obtaining guidance

for the administration of upcoming elections – instead of focusing wholeheartedly

on defending the law from the constitutional challenge. Id.

      By contrast, the legislative leaders remained unburdened “by misgivings

about the law’s wisdom” and, if allowed to intervene, had pledged to focus solely

on “defending the law vigorously on the merits, without an eye to crosscutting

administrative concerns” – concerns that had plagued the Board’s defense

throughout the litigation. Id. This “unalloyed interest in vindicating the law from

constitutional challenge,” id. at 2196, the Supreme Court reasoned, set the

legislative leader’s interests apart from the interests of the Board, who were more

concerned with election administration than defending the law. Id. at 2205.

Because the legislative leaders had shown that they sought to vindicate valuable

state interests distinct from the Board’s interests – and had further shown that the

Board’s preoccupation with administrative concerns and its allegiance to a

Governor, who opposed the law, prevented it from adequately representing those


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distinct interests – the Supreme Court held that the legislative leaders had a right to

intervene in the litigation. Id.

       In this case, unlike in Berger, the Legislature has failed to show that it brings

a distinct state interest to bear on this litigation that the State cannot adequately

represent – even given the Legislature’s minimal burden. As just discussed, in

Berger, the legislative leaders provided evidence that the existing state defendants’

“primary objective” in the litigation differed from their own and that existing state

defendant’s preoccupation with these other interests, together with their misgivings

about the wisdom of the law, prevented them from providing a full-throated

defense of the law on the merits. But no such concerns exist here. The Idaho

Legislature can point to no evidence that the State, represented by the Attorney

General, has expressed any misgivings about the Total Abortion Ban, or that the

State is concerned with interests distinct from the Legislature’s that would prevent

it from focusing solely on “defending the law vigorously on the merits,” without an

eye to other concerns. Nor has the Attorney General ever publicly opposed the

Total Abortion Ban or a similar law, and nothing otherwise indicates that he would

decline to defend it. To the contrary, all signs lead to the conclusion that not only

does the State assert “an unalloyed interest” in vindicating the law from

constitutional challenge, indicating it will offer the most robust defense of the law,

but also that the State and Legislature’s interests are fully aligned in this litigation.


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      Despite this reality, the Legislature claims that it has a “unique interest, the

interest that is really at stake here—its unique power and authority and duty to

answer the hard questions posed by abortion,” such as “What is the moral value of

a preborn child?,” or “In what situations are the mother’s interests more weighty

than the moral value and interests of the preborn child?” Legislature’s Reply Br.,

Dkt. 25, at 8 (emphasis in original). The Legislature maintains only it can answer

these questions, and not the executive branch. Id. But the United States has not

sued any executive branch officials; instead, it has sued the State, and the

Legislature utterly fails to explain how it is uniquely positioned – separate and

apart from the State – to answer these questions. The Legislature’s criticism of the

Executive Branch in this case is particularly puzzling given Governor Little’s

statements unequivocally supporting the Dobbs decision and the Total Abortion

Ban. Likewise, as noted, all indications suggest that the Attorney General remains

fully on board in defending the law.

      In fact, to this point, the Legislature has presented no credible argument that

it itself is distinct from the “the State,” either formally or functionally for purposes

this litigation, and therefore a “new” party entitled to intervene under Rule 24(a).

Again, this case is distinguishable from Berger in that the United States has not

sued particular officers of the State but rather the State itself. As the United States

argues, “[b]y virtue of being part of the State of Idaho itself, the Idaho Legislature


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is already a party, and the Legislature articulates no reason why this Court should

grant intervention when the State is already a party. United States Resp. at 6, Dkt.

23 (citing Berger, 142 S. Ct. at 2203) (rejecting the argument that “the legislative

leaders are already effectively ‘existing’ parties to this suit” because the plaintiff

“has not sued the State”). And, critically, as the United States also points out,

because the State itself is the defendant, the practical concerns animating Berger

do not exist here: there is no risk United States has “select[ed] as their defendants

those individual officials [it] consider[s] most sympathetic to [its] cause or most

inclined to settle favorably and quickly.” Id. at 2201. Indeed, even if the United

States tried, it is difficult to see what state official it could have picked who it may

have considered more sympathetic to its cause or who would have been more

inclined to settle this case favorably and quickly. In this case, the State appears

fully united thus far.

      In sum, the Court finds the circumstances of this case readily distinguishable

from Berger and further finds that the Legislature has failed to show it seeks “to

give voice to a different perspective” than the State’s, or that the State will not

adequately represent the Legislature’s interests. Even as it is, Berger will make

litigation in federal court involving states far more burdensome. As Justice

Sotomayer noted in her dissent, “[i]t is difficult to overstate the burden the Court’s

holding [in Berger] will foist on district courts.” Id. at 2211. But to ignore


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distinctions between this case and Berger – and to allow a legislature the right to

intervene in every federal case whenever it says it should be allowed to do so and

without requiring the legislature to meet even its minimal burden of showing it

possesses a distinct interest or that its interests are inadequately represented –

would allow a state to turn into a nine-headed Hydra whenever it so chooses. This

Court does not read Berger as intending or permitting such a result in a case such

as this one – where not a speck of evidence exists that the State and the

Legislature’s interests diverge in any real and practical sense. This Court therefore

finds that the Legislature has shown no right to intervene in this case – at least at

this stage in the litigation.

       As explained below, however, the Court will allow the Legislature to

permissively intervene for the limited purpose of opposing the United States’

motion for preliminary injunction, including an opportunity to present witnesses at

the August 22 hearing if it so chooses.

2. Permissive Intervention

       “A district court may grant permissive intervention under Rule 24(b)(1)(B)

where the applicant shows (1) independent grounds for jurisdiction; (2) the motion

is timely; and (3) the applicant’s claim or defense, and the main action, have a

question of law or a question of fact in common.” Perry, 587 F.3d at 955 (internal

quotation marks and citation omitted). “Where a putative intervenor has met these


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requirements, the court may also consider other factors in the exercise of its

discretion. Id. “These relevant factors include the nature and extent of the

intervenors’ interest, their standing to raise relevant legal issues, the legal position

they seek to advance, and its probable relation to the merits of the case.” Spangler

v. Pasadena City Bd. of Ed., 552 F.2d 1326, 1329 (9th Cir. 1977). The Court may

also consider “whether the intervenors’ interests are adequately represented by

other parties” and “whether parties seeking intervention will significantly

contribute to full development of the underlying factual issues in the suit and to the

just and equitable adjudication of the legal questions presented.” Id.

      “When making this discretionary determination, a district court ‘must

consider whether the intervention will unduly delay or prejudice the adjudication

of the original parties’ rights.’” Lucent, 642 F.3d at 741(quoting Fed. R. Civ. P.

24(b)(3)). “The district court’s discretion under Rule 24(b), to grant or deny an

application for permissive intervention includes discretion to limit intervention to

particular issues.” Id. (quoting Van Hoomissen v. Xerox Corp., 497 F.2d 180, 181

(9th Cir.1974) (internal quotation marks and ellipses omitted).

      Here, the Court finds that the Legislature’s motion is timely and that its

Proposed Answer reflects defenses that present common issues of fact and law. As

the Legislature has met the threshold requirements for permissive intervention, the

Court may consider other factors in its discretion, including whether the


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Legislature “will significantly contribute to full development of the underlying

factual issues in the suit and to the just and equitable adjudication of the legal

questions presented.” Spangler, 552 F.2d at 1329.

       In its reply brief, the Legislature says it would call witnesses at the

preliminary injunction hearing to present evidence of whether “Relevant

Abortions” 2 are “occurring in Idaho’s Medicare-funded emergency rooms,” but the

State may not. Legislature’s Reply at 5, Dkt. 25. While the Court – in light of the

evidence it currently has before it – would not consider the State’s decision not to

call witnesses at the preliminary injunction hearing on this narrow factual question

a reason to justify the Legislature’s intervention as of right, it nonetheless finds

that that justifies the Legislature’s permissive intervention on this sole issue.

Lucent, 642 F.3d at 741 (limiting intervention to discrete issues).

       The Legislature may therefore permissively intervene, but it will be limited

at this juncture to presenting argument and evidence in opposition to the United

States’ motion for preliminary injunction. More specifically, the Legislature’s

participation in the preliminary-injunction proceedings will be limited to allowing




       2
           The Legislature defines “Relevant Abortions” as “those emergency-room abortions that
fall (i) inside the prohibition of abortion found in Idaho Code § 18-622 (“the 622 Statute”) and
(ii) outside the overlap between the 622 Statute’s medical-emergency exception and EMTALA’s
medical-emergency mandate but still inside EMTALA’s mandate.” Legislature’s Reply at 2, Dkt.
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it to show “the holes in the ‘factual’ foundation” of the motion on the issue of

“Relevant Abortions,” as the Legislature has specifically laid out in its reply.

Legislature’s Reply, 6-7, Dkt. 25 (describing the Legislature’s “present litigation

plan”). The Court, of course, will allow the Legislature to modify its proposed plan

in responding to the preliminary injunction motion on this particular issue as the

Legislature sees fit. But the larger point is that, substantively, the Legislature’s

participation will be limited to allowing it to present evidence and argument aimed

at “showing the holes” in the factual foundation of the United States’ motion.

      Lastly, the Court cannot ignore the issue of whether the Legislature’s

permissive intervention “will unduly delay or prejudice the adjudication of the

original parties’ rights.” The United States argues that granting the Legislature will

prejudice it because it negotiated the briefing schedule with the State under the

assumption they would be the only parties in the case – and the “briefing schedule

is extraordinarily expedited in light of the impending effective date of the

challenged law.” United States’ Resp., Dkt. 23, at 8. The United States claims that

the Legislature’s intervention at this juncture would be unfair because “the United

States would need to respond to two opposition briefs of up to 20 pages each (plus

an unknown number of factual submissions), but would, under the briefing

schedule, have only two and a half days (and ten pages) to do so.” Id.

      First, the Court notes that any prejudice to the United States stemming from


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the briefing schedule is largely of the United States’ own making. It chose to delay

filing this case and its motion for preliminary injunction for over six weeks after

the Supreme Court issued the Dobbs decision. Nonetheless, the Court

acknowledges that the Legislature’s intervention may cause some prejudice to the

United States. To mitigate that prejudice, the Court has limited the Legislature by

subject matter, as already explained.

         Further, in terms of briefing deadlines, the Court will adopt this schedule:

         (1) The Legislature must file its brief on August 16, 2022 – which is the

            same day the State’s brief is due. If the Legislature intends to present

            affidavits, any such affidavits shall likewise be due on August 16, 2022.

         (2) The United States must file its optional combined reply brief –

            addressing both the State’s and the Legislature’s briefing – by the

            existing reply deadline of 12:00 p.m. Mountain Time on August 19,

            2022.

         As for page limitations, the State will be permitted 20 pages, and the

Legislature 15. The United States will be allowed 20 pages for its combined reply

brief.

         Finally, in an effort to ensure that the preliminary-injunction proceedings are

efficient and streamlined, the Court will not allow the State and the Legislature to

pursue duplicative strategies during the preliminary-injunction proceedings. More


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specifically, during an informal conference, the State indicated it views the United

States’ motion as presenting purely legal questions. The Legislature, on the other

hand, says it is “prepared to present evidence countering the Government’s

position on the material issues of fact.” Legislature Reply Br. Dkt. 25, at 5.

Accordingly, to the extent that the Legislature intends to present factual evidence

(or challenge the United States’ factual submissions) – including by calling

witnesses – the Court will not allow the State to duplicate those efforts.

                                      ORDER

      IT IS ORDERED that the Idaho Legislature’s Motion to Intervene (Dkt.

15) is GRANTED in part and DENIED in part, as explained above.

                                               DATED: August 13, 2022


                                               _________________________
                                               B. Lynn Winmill
                                               U.S. District Court Judge




MEMORANDUM DECISION AND ORDER - 20

                                        4-LEG-ER-534
Case: 23-35440, 09/08/2023, ID: 12789275, DktEntry: 34, Page 36 of 246




               Exhibit 7
                                                                                       (1 of 78)
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         23-35450, 09/08/2023,
                   08/07/2023, ID:
                               ID: 12789275,
                                   12769991, DktEntry:
                                             DktEntry: 34,
                                                       11-3,
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                                                                        78




                             No. 23-35440, 23-35450

                 UNITED STATES COURT OF APPEALS
                     FOR THE NINTH CIRCUIT

                           UNITED STATES OF AMERICA,
                                                                 Plaintiff-Appellee,
                                        v.

                                 STATE OF IDAHO,
                                                              Defendant-Appellant,

                                        v.

                               MIKE MOYLE, ET AL.
                                                               Movants-Appellants.

                On Appeal from the United States District Court
                           for the District of Idaho

                            No. 1:22-cv-00329-BLW
                         The Honorable B. Lynn Winmill

                    STATE OF IDAHO’S EXCERPTS OF
                         RECORD Volume 2 of 3


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                                2-ER-053
     Case: 23-35440, 09/08/2023, ID: 12789275, DktEntry: 34, Page 38 of 246
                                                                               1


 1                            UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF IDAHO

 3
       UNITED STATES OF AMERICA,      )           CASE NO. 1:22-cv-00329-BLW
 4                                    )
             Plaintiff,               )           MOTION HEARING
 5                                    )
                  vs.                 )
 6                                    )
       THE STATE OF IDAHO,            )
 7                                    )
             Defendant,               )
 8                                    )
       and                            )
 9                                    )
       SCOTT BEDKE, in his official   )
10     capacity as Speaker of the     )
       House of Representatives of    )
11     the State of Idaho; CHUCK      )
       WINDER, in his capacity as     )
12     President Pro Tempore of the   )
       Idaho State Senate; and the    )
13     SIXTY-SIXTH IDAHO LEGISLATURE, )
                                      )
14            Intervenor-Defendants. )
       ______________________________ )
15

16
                               TRANSCRIPT OF PROCEEDINGS
17                        BEFORE THE HONORABLE B. LYNN WINMILL
                           MONDAY, AUGUST 22, 2022; 9:02 A.M.
18                                    BOISE, IDAHO

19

20

21
       Proceedings recorded by mechanical stenography, transcript
22     produced by computer.
       ___________________________________________________
23

24                       TAMARA I. HOHENLEITNER, CSR 619, CRR
                            FEDERAL OFFICIAL COURT REPORTER
25                    550 WEST FORT STREET, BOISE, IDAHO 83724




                                  2-ER-054
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                                                                              2


 1
                                   A P P E A R A N C E S
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                                  2-ER-055
     Case: 23-35440, 09/08/2023, ID: 12789275, DktEntry: 34, Page 40 of 246          3



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 2                            AUGUST 22, 2022

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                                  2-ER-056
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                                                                                      4



 1                                 P R O C E E D I N G S

 2                                    August 22, 2022

 3                  THE CLERK:     The Court will now hear Civil Case 22-329,

 4     United States of America vs. The State of Idaho, regarding

 5     plaintiff's motion for a preliminary injunction.

 6                  THE COURT:     Good morning, Counsel.

 7                  Before we take up this matter, I did want -- we did

 8     provide a call-in number.          I don't know if anyone has taken

 9     advantage of that, but it's something that we have only been

10     able to do during the pandemic.           But I did need to remind anyone

11     who is listening in that it is against federal law to try to

12     record court proceedings even from a remote location.

13                  Of course, that would apply to anyone here in the

14     courtroom as well, but we're usually not as concerned about that

15     happening as we would if someone were simply listening in by a

16     telephone connection.

17                  As we begin, I have given counsel 45 minutes per side.

18     I'm going to make some initial observations intended just to

19     point out where I have some concerns so that you can target your

20     argument appropriately.

21                  I do want to point out at the outset my appreciation

22     for the considerable energy and skill demonstrated by the briefs

23     and declarations which the parties have submitted.                 It's been

24     immensely helpful, created a lot of work.              The amicus briefing

25     was also excellent and provided, I think, a real broad




                                  2-ER-057
     Case: 23-35440, 09/08/2023, ID: 12789275, DktEntry: 34, Page 42 of 246
                                                                                           5



 1     understanding as to the various points in this.

 2                  Now, before I actually get to offering those initial

 3     observations, I hope it is clear to everyone here, this is not a

 4     case about the wisdom of Dobbs or the wisdom of Roe v. Wade.

 5     That really is completely secondary to this decision.                    Dobbs is

 6     the law of the land, and that will not be questioned here.                    The

 7     only question is resolving a conflict or apparent conflict

 8     between federal and state law under the supremacy clause of the

 9     United States Constitution.

10                  Now, let me address some of the concerns.                 I think I

11     have two or three concerns for the State and one concern for the

12     Government, but I'm offering them here because you both may want

13     to comment on them.

14                  It struck me that the State, both in their

15     brief -- both in their briefing and in their declarations,

16     attempted to state their arguments in language other than what

17     was actually included in Idaho's abortion statute.

18                  Routinely you argued, both in briefing and in

19     declarations, that the statute provides an affirmative defense

20     to a doctor who may be prosecuted under its provisions if the

21     doctor has a good faith belief that the abortion was necessary

22     because the medical condition was life-threatening.                    That's the

23     word that was kind of pretty consistently used throughout the

24     briefing and declarations.

25                  The United States, in its reply brief, makes a




                                  2-ER-058
     Case: 23-35440, 09/08/2023, ID: 12789275, DktEntry: 34, Page 43 of 246
                                                                                     6



 1     compelling argument that this is a rewriting of the statute

 2     since the statute only permits the affirmative defense if the

 3     abortion was, quote, "necessary to prevent death," close quote.

 4                  So the question is:       Does the statute provide for an

 5     affirmative defense if the medical condition would be, without

 6     an abortion, life-threatening, or is the abortion truly

 7     necessary to prevent death, or are they the same thing?

 8                  But relying on Black's Law Dictionary and Idaho

 9     Supreme Court cases, the U.S. makes a strong argument that

10     "necessary" means indispensable or absolutely needed.

11                  And I guess I have to share that I have the same

12     concern that the statute would only provide the doctor with an

13     affirmative defense if he or she believed in good faith that the

14     patient would, in fact, die unless the abortion is performed.

15     And that is quite different from simply being life-threatening,

16     which suggests only a possibility of death.

17                  So that's one issue I really want the State to hit

18     head on.     And I would note you didn't have a chance to respond

19     to it because it came up in the reply brief.               But then it only

20     came up in the reply brief because it was a kind of reframing of

21     the issue by the State in its response brief.

22                  The second question is somewhat related, and it's

23     simply this:      That even if the "necessary to prevent death"

24     language can be read as meaning life-threatening, that deals

25     only with situations where the patient's death is either going




                                  2-ER-059
     Case: 23-35440, 09/08/2023, ID: 12789275, DktEntry: 34, Page 44 of 246
                                                                                     7



 1     to happen or is at least a probability.

 2                  But there are situations which I think have been

 3     pointed out primarily in the amicus and the United States'

 4     submissions where a doctor may well believe that in the hospital

 5     setting, they can prevent or substantially reduce the chance of

 6     the patient's death, but that there is still a substantial

 7     likelihood that the patient will be left with serious medical

 8     injuries if an abortion is not performed.              They may be left

 9     infertile or have temporary or permanent major organ failure or

10     have a stroke, leaving the patient with long-term serious

11     disability.

12                  As I would note, the submissions from the

13     United States suggest that is more than just a hypothetical

14     concern.

15                  My concern is that in that setting, where the death of

16     the patient is not likely but it is still going to have very

17     serious medical consequences for the patient, there would seem

18     to be just an absolute conflict between EMTALA and the Idaho

19     abortion statute.

20                  So on that front, it strikes me at least initially

21     that the impossibility preemption applies.               And I need to have

22     the State hit that head on, why that is not truly a conflict

23     between the statutes.

24                  Okay.   For the Government, here is the concern I would

25     like to make sure you address:           In this case, it appears that we




                                  2-ER-060
     Case: 23-35440, 09/08/2023, ID: 12789275, DktEntry: 34, Page 45 of 246
                                                                                       8



 1     have express preemption because of the language of EMTALA.                And

 2     since the touchstone of preemption is Congressional intent, then

 3     is it not true that the Idaho abortion statute is only preempted

 4     if it directly conflicts with EMTALA?             That's the language in

 5     EMTALA itself.       There must be a direct conflict, or there is no

 6     preemption.

 7                  So does that make the implied preemption principle,

 8     such as impossibility and obstacle preemption, not relevant?

 9     And then how does that bear upon this case?

10                  So those are the three concerns I thought I would

11     throw -- I know I'll have questions as we get into this more

12     deeply, but I wanted counsel to be aware of at least those three

13     concerns.

14                  I guess just one last observation that is more general

15     in nature.      You know, I have been a judge for a lot of years.            I

16     have sat and observed the application of our criminal laws, and

17     I think it's pretty obvious that our legislature and Congress

18     think that passing criminal laws will change behavior.                 And from

19     my time on the bench, I have seen that change in behavior

20     applies not just in the core of the criminal statute but around

21     the edges.

22                  Simply put, we assume that rational people will not

23     just literally comply with the criminal statute but will avoid

24     conduct which might even be viewed as violating the statute

25     simply because of the impact of being charged even if you're




                                  2-ER-061
     Case: 23-35440, 09/08/2023, ID: 12789275, DktEntry: 34, Page 46 of 246
                                                                                     9



 1     able to obtain an acquittal.

 2                  Intentionally or otherwise, the abortion statute, if

 3     that premise is correct, will cause doctors to steer clear of

 4     conduct that could be seen as violating the Idaho abortion

 5     statute.     It would be a rare situation where a doctor is going

 6     to be willing or anxious to push the limits and go right up to

 7     the edge of what is allowed under the Idaho abortion statute.

 8     In essence, they will seek a safe harbor in which they have no

 9     chance of prosecution.

10                  Does that almost not create obstacle preemption if the

11     doctors are risk averse?          I mean, I think it's in the very

12     nature of their profession.

13                  So I want, again, counsel to be aware that I just had

14     that general concern that really is a reflection of what I have

15     observed as a judge in handling a lot of criminal cases and kind

16     of having a sense of what Congress and the legislature intend

17     when they pass criminal laws trying to not only criminalize

18     behavior but change behavior both directly within the statute

19     and on its edges.

20                  So, with that, let's go ahead and begin.

21                  Mr. Netter, I think you'll start.           I understand you're

22     going to reserve 20 minutes for rebuttal.              And we have a clock,

23     which is more for your aid.          I actually use it pretty strictly

24     in some cases to keep attorneys on time.              I don't think that

25     will be too much of an issue because we have given you a lot of




                                  2-ER-062
     Case: 23-35440, 09/08/2023, ID: 12789275, DktEntry: 34, Page 47 of 246
                                                                                 10



 1     time to argue, but it will give you some idea of where you are

 2     with the time allotted.

 3                  So, Mr. Netter.

 4                  MR. NETTER:     Thank you, Your Honor.

 5                  Good morning, Your Honor.         May it please the Court.

 6     Brian Netter, U.S. Department of Justice, for the United States.

 7                  Each of us will, at some point in our lives, encounter

 8     a medical emergency for ourselves, for a friend, for a loved

 9     one.    We hope that when that point of medical crisis arrives,

10     the person in need is able to get to a hospital where a doctor

11     or a nurse who has trained their entire professional life for

12     that moment, trained for years, will know the right treatment to

13     administer.

14                  And although perhaps it should go unsaid, we hope that

15     in that moment, the doctor or the nurse will be able to

16     administer the treatment, will not be precluded, will not be

17     forced to hesitate out of fear that the doctor or nurse, him or

18     herself, will face criminal sanctions.

19                  As the Court has acknowledged, this case arises under

20     a federal law called EMTALA, the Emergency Medical Treatment and

21     Labor Act.      Under EMTALA, when a patient arrives at a

22     participating hospital with an emergency medical condition, the

23     physician is required to offer what's called a stabilizing

24     treatment.      Any state law that conflicts directly with that

25     requirement is preempted.




                                  2-ER-063
     Case: 23-35440, 09/08/2023, ID: 12789275, DktEntry: 34, Page 48 of 246
                                                                                   11



 1                  So let me address right here at the outset the Court's

 2     question about what preemption means in the context of EMTALA,

 3     because that is governed by binding Ninth Circuit precedent, a

 4     case called Draper vs. Chiapuzio that was decided by the

 5     Ninth Circuit in 1993.

 6                  In that case, the Ninth Circuit said, while construing

 7     EMTALA, the key phrase is "directly conflicts."                A state statute

 8     directly conflicts with federal law in either of two cases:

 9     First, if compliance with both federal and state regulations is

10     a physical impossibility or, second, if the state law is, quote,

11     "an obstacle to the accomplishment and execution of the full

12     purposes and objectives of Congress."

13                  So we believe that answers the question and that both

14     physical impossibility and obstacle preemption are within the

15     scope of the statutory preemption provision of EMTALA.

16                  THE COURT:     Yeah.    I read that decision, and I can't

17     disagree with it because it is -- well, I guess I can disagree

18     with it.     I have to follow it because it's the Ninth Circuit

19     precedent.      But it struck me as a little odd because there does

20     seem to be express preemption; and, as such, we look directly at

21     the language of the statute.           And the statute says there is only

22     a conflict or preemption if there is direct conflict.

23                  But you're right.       I mean, that is the case that I

24     think governs that, but, you know, I'm going to -- I will wait

25     to hear what the legislature and the State of Idaho has to say,




                                  2-ER-064
     Case: 23-35440, 09/08/2023, ID: 12789275, DktEntry: 34, Page 49 of 246
                                                                                 12



 1     but I did wonder at the time when I read the decision that they

 2     seemed to be going a little further than they needed to; and

 3     where there is express language about preemption, that would

 4     seem to govern the issue.

 5                  But you hit the exact case.          I mean, that was exactly

 6     the response I thought you would make, but I wanted to hear you

 7     make that argument.

 8                  Go ahead.

 9                  MR. NETTER:     Well, let me just add one additional

10     point on that, Your Honor, which is that the legislative history

11     of EMTALA indicates that the purpose behind the preemption

12     provision was to ensure that states would be able to enforce

13     stricter laws that required even greater provision of emergency

14     care.

15                  So it's sensible in that circumstance for the

16     preemption provision to be interpreted to prevent a state from

17     erecting obstacles to the full purposes and objectives of

18     Congress.

19                  So we're here today, of course, because sometimes a

20     patient who arrives at a participating hospital with an

21     emergency medical condition is pregnant.              And sometimes the

22     stabilizing treatment that is necessary to save the life or

23     protect the health of that patient is an abortion.

24                  And yet, Idaho has a law set to go into effect this

25     week which the state supreme court has described as a total




                                  2-ER-065
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                                                                              13



 1     abortion ban that is poised to subject doctors and nurses who

 2     participate in any abortion to the felony criminal process.

 3                  Now, as the briefing in this case has demonstrated,

 4     there are some issues on which the State, the legislature, and

 5     the United States agree.          Principally, everybody seems to agree

 6     that there is some preemption; and to the extent that EMTALA

 7     governs, the State of Idaho doesn't have the authority to

 8     override that.

 9                  Additionally, the State and the intervenors appear to

10     agree that EMTALA does require abortions as a stabilizing

11     treatment under some circumstances.

12                  The primary dispute between the parties is whether

13     there is an actual dispute: what the scope of the Idaho law is,

14     and how that compares to the protections afforded by EMTALA.

15                  With respect to that, there are both legal and factual

16     angles.     Primarily, of course, the interpretation of EMTALA and

17     the interpretation of Idaho law, that's a question of law for

18     this Court to determine.

19                  Now, there are some additional factual questions as to

20     what actual medical conditions can arise that fit within the gap

21     between Idaho law and EMTALA.

22                  As has been identified in the briefs and in the

23     accompanying declarations, there are a number of conditions that

24     affect pregnant individuals that would fall within this gap,

25     potentially including ectopic pregnancy, preterm/prelabor




                                  2-ER-066
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                                                                                      14



 1     rupture of membranes, placental abruption, preeclampsia with

 2     severe features, sepsis, cardiovascular disease, and the list

 3     goes on.

 4                  I would like to discuss a bit the facts and the

 5     powerful declarations that were submitted by obstetricians and

 6     gynecologists within the state of Ohio [sic] who are set to be

 7     subject to this law in the coming days.

 8                  But first we should start with the law.             Because the

 9     way that 18-622 was crafted here is very telling, because the

10     Idaho Code part governing abortion contains a definition.                It

11     has a definition for medical emergency.              And the legislature

12     told us in its motion to intervene, Docket 15-1, that the

13     definition of medical emergency in the Idaho Code, which was

14     used by the legislature in the 2021 Heartbeat Law, was designed

15     to track EMTALA, and that 18-622, the Total Abortion Ban, was

16     intended to be narrower.          When the legislature told us that, we

17     should believe it.

18                  It's a standard canon of statutory interpretation that

19     when Congress or when a state legislature uses different

20     language to cover different concepts, a different outcome is

21     intended.     That was certainly the case here.

22                  There was an article published in the Idaho Capitol

23     Sun on Friday that transcribed some of the colloquy in the

24     committee hearing of the legislation that resulted in 18-622.

25     And I found that to be rather telling.




                                  2-ER-067
     Case: 23-35440, 09/08/2023, ID: 12789275, DktEntry: 34, Page 52 of 246
                                                                              15



 1                  During the hearing of the House State Affairs

 2     Committee, Representative Brooke Green asked the sponsor of the

 3     legislation, Representative Todd Lakey, why there was no

 4     exception for the health of the pregnant individual.

 5                  What he said is:       "If you're talking about the health

 6     of the mother, that's a nuanced decision that could be something

 7     much less than life, where if the decision was based solely on a

 8     question of some type of health, then you're talking about

 9     taking the life of the unborn child," he said.

10                  After Representative Green asked if that meant that

11     the health of the woman was irrelevant, Representative Lakey

12     said, "I would say it weighs less, yes, than the life of the

13     child."

14                  So I think this indicates, Your Honor, that the

15     different framing, the different phrasing "necessary to prevent

16     the life" [sic] as opposed to the much broader categories that

17     appear in EMTALA and that appeared even in other abortion

18     restrictions adopted by this legislature, that that's

19     significant.

20                  There is a reason why different language was adopted

21     here, and that reason requires the injunctive relief that has

22     been requested by the United States.

23                  Of course, the text of 18-622 confirms that to be

24     true.    The language "necessary to prevent the death" is not

25     couched in probabilistic terms.           Necessary is absolute; it means




                                  2-ER-068
     Case: 23-35440, 09/08/2023, ID: 12789275, DktEntry: 34, Page 53 of 246
                                                                                     16



 1     indispensable.       The State confirmed as much in its submission to

 2     the Idaho Supreme Court just 32 days ago in Planned Parenthood

 3     Great Northwest vs. State.

 4                  In response to an argument that this language was

 5     vague, the State said that the affirmative defense is available

 6     only if the procedure is, quote, "essential to stop the death of

 7     a pregnant woman."

 8                  THE COURT:     This was from the oral argument before the

 9     Idaho Supreme Court?

10                  MR. NETTER:     That was in the briefing --

11                  THE COURT:     The briefing.

12                  MR. NETTER:     -- that led to the oral argument.         Yes,

13     Your Honor.

14                  It's no wonder, under that standard, that physicians

15     are fearful of practicing under a regime in which federal law

16     and the Hippocratic oath require the provision of care, but

17     Idaho law says that providing the care potentially makes you a

18     felon.

19                  So now much of the briefing, as a factual matter, has

20     hinged on the question of what the legislature calls relevant

21     abortions and whether they exist.            The reality, which I think

22     each of us has experienced over the course of our lives, is that

23     pregnancies sometimes have complications.              And that's true in

24     Idaho just as it's true everywhere else.

25                  The legislature submitted what it called some official




                                  2-ER-069
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                                                                                     17



 1     data, trying to suggest that emergency abortions are exceedingly

 2     rare in Idaho and that there have been only a handful over the

 3     period covered by the data, the past 10 to 12 years.                   So I

 4     wanted quickly to point out why that assessment of the data is

 5     manifestly incorrect.

 6                  The legislature looked at official data that covered

 7     only pregnant individuals who were less than 18 who were also

 8     unable to obtain the consent of their parents or guardians or

 9     pregnant individuals who were seeking an abortion more than

10     20 weeks after fertilization, which is at a gestational age of

11     22 weeks or later.

12                  There is additional data that we have submitted in our

13     papers -- this is at Docket 86-6 at 10, which is ECF page 11 --

14     that indicates that abortions that take place after 22 weeks'

15     gestational age account for something like 0.1 percent of the

16     abortions in Idaho.

17                  So the suggestion that there aren't emergency

18     abortions in this state is unfortunately incorrect, and the

19     declarations that we have submitted demonstrate that to be the

20     case.

21                  And these are not only procedures that take place at

22     the moment where the doctor knows that if the procedure does not

23     happen, the patient will die.           Medical needs occur on a spectrum

24     where there are times when a disease will progress, where there

25     could be organ damage, where there could be serious implications




                                  2-ER-070
     Case: 23-35440, 09/08/2023, ID: 12789275, DktEntry: 34, Page 55 of 246
                                                                                     18



 1     for a patient's health and where waiting for additional

 2     treatment is going to cause even greater complications.                And

 3     then there may be a later time when it is actually the case that

 4     an abortion is truly necessary to save an individual's life, but

 5     the costs that are borne during that interim period are serious

 6     and reflect some of the delta between EMTALA and Idaho law.

 7                  I would refer the Court in particular to the

 8     supplemental declaration of Dr. Emily Corrigan, who is an

 9     obstetrician/gynecologist at Saint Alphonsus here in Boise.                  And

10     that's at Docket 86-3, and her initial declaration was at

11     Docket 17-6.

12                  She identified three patients on which she was aware

13     of actual emergency abortions that had been necessary, Jane

14     Does 1, 2, and 3.

15                  Jane Doe 1 experienced preterm/prelabor rupture of

16     membranes, and Dr. Corrigan said in her supplemental declaration

17     that, in some circumstances, it could become serious enough to

18     result in death, but it might just require limb amputations or a

19     hysterectomy.

20                  Jane Doe No. 2 was suffering from a placental

21     abruption, where the placenta prematurely detaches from the

22     uterine wall.      That condition, she testified, might just cause

23     kidney failure or a brain injury.

24                  Jane Doe 3 had a condition called water on the lungs

25     that might just cause a lung injury rather than death.




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 1                  Considering all this, Dr. Corrigan explained that she

 2     told her hospital that OB/GYN physicians in Idaho are, quote,

 3     "bracing for the impact of this law as if it is a large meteor

 4     headed toward Idaho."

 5                  Now, it nearly goes without saying in the text of

 6     EMTALA, the circumstances in which stabilizing treatment must be

 7     offered are considerably broader.            EMTALA is phrased in

 8     probabilistic terms:        When the absence of treatment is

 9     reasonably expected to result in placing the health of a patient

10     in serious jeopardy, in serious impairment to bodily functions,

11     in serious dysfunction of any bodily organ or part.

12                  The conditions described by Dr. Corrigan plainly

13     describe there being abortions that are necessary under EMTALA,

14     that are required as a matter of federal law that Idaho law

15     would set -- is poised to criminalize.

16                  There is also, of course, a fairly common complication

17     of pregnancy, ectopic pregnancy, that is discussed in the

18     briefing.

19                  Dr. Amelia Huntsberger in Sandpoint, Idaho, at Docket

20     86-4, explains that not every patient with an ectopic pregnancy

21     will die without treatment, which I take to mean that there are

22     circumstances in which it may be possible, theoretically, to

23     wait for a fallopian tube to rupture and for the fetal heartbeat

24     to stop before trying to clean up the internal bleeding and

25     organ damage.




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 1                  Now, the legislature has argued that ectopic

 2     pregnancy -- that treatment of an ectopic pregnancy is not

 3     within the scope of the law.           The State, notably, has not taken

 4     that position.

 5                  And the legislature has not grappled with the

 6     statutory text in the slightest in trying to explain to this

 7     Court or to physicians why the treatment of an ectopic pregnancy

 8     would not constitute criminal abortion under Idaho law.

 9                  As the Court indicated, with respect to obstacle

10     preemption, there are questions here about the chilling effect.

11     And one thing I haven't discussed yet is the very peculiar

12     manner in which the supposed exception of this law is

13     structured:      That ordinarily if a state were to want to

14     criminalize abortion except in certain circumstances, it would

15     be the burden of the prosecutor to establish that those

16     circumstances were not met, and the prosecutor would have to

17     make that proof beyond a reasonable doubt.

18                  Here, however, the presumption is flipped.                Here, a

19     prima facie criminal violation is established any time an

20     abortion is performed within the state of Idaho.                Full stop.

21     The only way for a physician to avoid becoming a felon and going

22     to jail for up to five years is by proving up the affirmative

23     defense and convincing the jury, on the physician's burden or on

24     the nurse's burden, by a preponderance of evidence that this

25     narrow affirmative defense has been satisfied.




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 1                  It hardly seems necessary to point out that doctors

 2     would avoid the risks of a criminal trial if at all possible.

 3     But, again, we have declarations to demonstrate that that's the

 4     case.

 5                  Dr. Kylie Cooper, an OB/GYN and maternal-fetal

 6     medicine specialist at St. Luke's here in Boise, said in her

 7     supplemental declaration, Docket 86-5, that as a physician who

 8     is practicing in Idaho and through her personal interactions

 9     with healthcare providers around the state, as well as through

10     her positions with ACOG, the American College of Obstetricians

11     and Gynecologists, the Idaho Perinatal Project Advisory Board,

12     and the Idaho Coalition for Safe Reproductive Healthcare,

13     providers' fear -- provider fear and unease is real and

14     widespread.

15                  The State and the legislature don't have any response

16     to this.     Indeed, the Attorney General's Office doesn't seem to

17     argue on this point at all.          They don't dispute the chilling

18     effect.

19                  The legislature insists that prosecutors would

20     exercise their discretion prudently.             As a matter of law, that

21     simply doesn't matter.         The Ninth Circuit held in United States

22     vs. City of Arcata that in that case, the City's promise of

23     self-restraint does not affect our consideration of the

24     ordinance's validity.

25                  That's the case here.        And I think that it is




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 1     transparently the case that submitting a declaration from one

 2     county prosecutor in a state that has 43 elected county

 3     prosecutors provides no comfort to the physicians and the

 4     nurses -- excuse me -- of this state.

 5                  Because, as Dr. Huntsberger pointed out in her

 6     declaration, the very nature of discretion is that different

 7     people are going to exercise it differently.

 8                  And even if it were the case that all 43 county

 9     prosecutors could attest to the fact that they didn't intend to

10     prosecute under these circumstances, Idaho law has a provision

11     under which a member of a grand jury can identify the commission

12     of an offense and that fellow jurors must thereafter investigate

13     the same.     That's Idaho Code 19-1108.

14                  Likewise, there is a citizen complaint provision

15     whereunder any individual within the state of Idaho can go to a

16     magistrate with a criminal complaint.             Under those

17     circumstances, the magistrate doesn't appear to have discretion.

18     If the elements of the crime are satisfied, then the magistrate

19     has to endorse the complaint.

20                  And even if these procedures were not sufficiently

21     troubling, there is the fact of the statute of limitations.

22     There is a five-year statute of limitations on felonies in

23     Idaho, which means even if today's prosecutors decided that they

24     were not inclined to prosecute these offenses, nothing would

25     prevent a future prosecutor, perhaps one elected after today's




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 1     date, from taking up abortions that happened during the interim.

 2                  So, Your Honor, the United States filed this action

 3     because federal law contains a requirement.               The requirement is

 4     for emergency care to be offered under certain circumstances,

 5     that federal law preempts contrary state laws.                And the

 6     preemption effect is particularly powerful here, where lives,

 7     livelihood, and health are surely on the line.

 8                  The State's legal interpretation of its statute

 9     doesn't measure up and isn't consistent with the interpretations

10     that the State offered to its own supreme court only a month

11     ago.    And the factual circumstances demonstrate that the need

12     for judicial intervention is dire.

13                  So I'll be happy to respond to any additional

14     questions the Court has or to respond after the State and

15     legislature have an opportunity to speak.

16                  THE COURT:     I may have more questions after.            But

17     you're going to reserve the balance of your time?

18                  MR. NETTER:     I will, Your Honor.        Thank you.

19                  THE COURT:     Very good.     Thank you, Mr. Netter.

20                  Mr. Church.

21                  MR. CHURCH:     Thank you very much, Your Honor.

22                  THE COURT:     While you're getting up there, I would

23     like you to respond to Mr. Netter's -- well, to the issue of

24     whether or not an ectopic pregnancy is a pregnancy.

25                  Just looking at the plain language of the statute, I




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 1     know there has been an argument that it's not -- or at least

 2     it's not an abortion to end an ectopic pregnancy, but the

 3     "abortion" is defined as "terminating any clinically diagnosable

 4     pregnancy," and "pregnancy" is defined as "having a developing

 5     fetus in the body and commences with fertilization."

 6                  Isn't even an ectopic pregnancy a developing fetus

 7     after fertilization?        And why is that not kind of dispositive on

 8     that issue?

 9                  I'm only asking that question now because that was

10     kind of the last point that Mr. Netter made, and it was on my

11     mind.    Go ahead.

12                  MR. CHURCH:     Good morning again, Your Honor.           May it

13     please the Court.        Deputy Attorney General Brian Church on

14     behalf of the State of Idaho.

15                  Let me begin by tackling the question you just asked,

16     Your Honor.      And as the State, I am bound by what the

17     legislature has wrote with respect to what a definition is of an

18     abortion under Idaho Code 18-604(1).

19                  Your Honor, it is our understanding that with respect

20     to an ectopic pregnancy, that that would be defined as a

21     pregnancy under law and that it would be direct with respect to

22     your question.

23                  Now, in this case, Your Honor --

24                  THE COURT:     Just so we're clear, then, that

25     necessarily follows that if you end that pregnancy through an




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 1     abortion, through a termination of the developing fetus in the

 2     fallopian tube, that that would be an abortion?

 3                  MR. CHURCH:     Yes, Your Honor, again, based upon Idaho

 4     Code 18-604(1).

 5                  THE COURT:     And sub 11, which I think is the

 6     definition of pregnancy.

 7                  MR. CHURCH:     That would be correct, Your Honor.         And

 8     with respect to sub 1, which defines abortion, the State is

 9     bound by the definition --

10                  THE COURT:     Okay.

11                  MR. CHURCH:     -- that has been provided, Your Honor.

12                  THE COURT:     Thank you for your candor.          Go ahead.

13                  MR. CHURCH:     I appreciate that.        Thank you very much,

14     Your Honor.

15                  In this case, Your Honor, the United States asked this

16     Court to enjoin Idaho from enforcing Idaho Code Section 18-622

17     against any provider in every instance where 18-622 and the

18     Treatment Act may apply.          This Court should deny the preliminary

19     injunction for four reasons.

20                  First, the United States has not shown that every

21     abortion performed as a stabilizing treatment would conflict

22     with 18-622 and so has not met its burden for a facial

23     challenge.

24                  Second --

25                  THE COURT:     All right.     Well, let me -- you're going




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 1     to challenge my memory here.           Go ahead and make the four points,

 2     but I'm going to have questions about all of them, because the

 3     whole issue of as applied or facial challenge, I don't

 4     understand the United States to be arguing that the entire

 5     statute is invalid, only that it's invalid when applied in an

 6     emergency room setting where there are EMTALA obligations.

 7                  How does that become -- well, I will ask you, when you

 8     finish your list -- so be prepared -- why that makes it a facial

 9     application.      And then the follow-up question is:            Why does it

10     matter?

11                  Go ahead.     And you have to understand, I'm going to

12     have a lot of questions here.           And I will try to ask them in a

13     way that does not disrupt the flow of your argument, but I can't

14     promise that.      So go ahead.

15                  MR. CHURCH:     Your Honor, I appreciate the

16     interruption.      And I appreciate the opportunity, on behalf of

17     the State, to answer the Court's questions.

18                  As Your Honor has indicated, I would like to finish

19     the four points, and I will directly respond to your question

20     about the facial challenge.

21                  The second reason, Your Honor, that this Court should

22     deny the injunctive relief is that the Treatment Act with its

23     savings provision, which is 1395dd(f), does not preempt Idaho

24     from imposing criminal consequences for a violation of 18-622,

25     as the savings provision allows each state law requirement to




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 1     stand unless it directly conflicts with the requirement in the

 2     Treatment Act.

 3                  THE COURT:     Yeah.    That was my discussion with

 4     Mr. Netter.      And that's, I think, an issue he has to address.

 5     So you will need to be prepared to address the Ninth Circuit's

 6     take on that language, which I'm not sure I understand but I

 7     have to follow.

 8                  So go ahead.

 9                  MR. CHURCH:     I appreciate that, Your Honor.

10                  The third reason why the Court should deny injunctive

11     relief in this case is that there is no direct conflict with a

12     Treatment Act requirement because Idaho chose to make an

13     exception to criminal liability and affirmative defense which

14     has the doctor assert a subjective good-faith medical judgment

15     as his or her defense.

16                  THE COURT:     And I will ask you, once you have

17     completed -- that it's not an exception; it is an affirmative

18     defense.

19                  Do you agree with that?

20                  MR. CHURCH:     Well, Your Honor, it is an affirmative

21     defense, but it's also an exception to criminal liability.             And

22     it's just the way in which the burden shifts, Your Honor.

23                  As even Mr. Netter pointed out, under a typical

24     exception, which, like the fetal heartbeat, for instance, would

25     have, it would be the burden of a prosecutor.




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 1                  THE COURT:     To prove beyond a reasonable doubt that

 2     the exception does not apply?

 3                  MR. CHURCH:     That would be correct, Your Honor.

 4                  But, as we'll point out in just a moment, I'm not sure

 5     that there is any material difference between an affirmative

 6     defense which has the physician maintaining the burden and the

 7     prosecutor maintaining a burden; each that proves an exception

 8     to criminal liability, at least for preemption purposes,

 9     Your Honor, and at least with respect to a direct conflict with

10     a Treatment Act requirement, which is what the savings provision

11     requires.

12                  THE COURT:     Okay.

13                  MR. CHURCH:     The fourth reason, Your Honor, why the

14     State of Idaho would ask this Court deny injunctive relief is

15     that even though the United States' declarants made clear that

16     they could determine when an abortion was necessary to preserve

17     the life of a pregnant woman, the United States has not shown

18     that doctors in all instances would be chilled by an alleged

19     conflict between 18-622 and the Treatment Act such that the

20     entire purpose of the Treatment Act would be nullified.

21                  Your Honor, I understand you wanted me to first

22     address the question about the facial challenge, and I would

23     like to go ahead and go there now.

24                  THE COURT:     Yes.

25                  MR. CHURCH:     So, Your Honor, my understanding of the




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 1     United States' requested relief in this case is for a

 2     preliminary injunction.         I'm going to go to their filing of

 3     their proposed order, which is at Docket 17-2.

 4                  The proposed order in this case, as I understand,

 5     seeks an injunction of the State not only as with respect to the

 6     United States itself but that would enjoin the State from

 7     applying Idaho Code 18-622 to any abortion performed by any

 8     physician or hospital within the state of Idaho.

 9                  And that would be the second full paragraph of the --

10     or the second further-ordered paragraph that is in that -- in

11     that docket.

12                  And the reason why I point that out, Your Honor, is

13     because, as I understand the relief that's requested in this

14     case, it is relief that is beyond just the United States itself;

15     it's relief that goes to additional parties.

16                  THE COURT:     Well, Counsel, I wanted to -- well, I

17     checked the transcript to see if I heard you correctly.                You are

18     saying that the State is requesting that 18-622 have no

19     application in any emergency room in the state of Idaho?               Are

20     you saying that's the requested relief?

21                  MR. CHURCH:     No, Your Honor.

22                  THE COURT:     Okay.    I misunderstood.       Would you restate

23     that so I'm sure, so that we are clearly communicating here.

24                  MR. CHURCH:     Sure.    I want to be clear on that, Your

25     Honor.     Thank you.




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 1                  THE COURT:     Well, let me take a stab at the way I

 2     understand the relief requested, which is that 18-622 would have

 3     no application in any emergency room which has been provided

 4     with Medicare funding and where EMTALA would require that an

 5     abortion be performed.         That's my understanding of what the

 6     United States is asking.

 7                  MR. CHURCH:     Let me add one caveat to that,

 8     Your Honor.

 9                  I think, in addition to that, one of the things that's

10     being requested or as part of that request, Your Honor, is that

11     the State of Idaho not be allowed to either take criminal action

12     against or licensing action against any physician or hospital as

13     a result of an alleged conflict between 18-622 and the Treatment

14     Act.

15                  So, Your Honor, the scope of relief is going beyond

16     just the United States here.           It would also apply in

17     circumstances to persons who are not even parties to this

18     proceeding, namely, physicians and potentially hospitals as

19     well.

20                  THE COURT:     Are you arguing this as a standing issue?

21                  MR. CHURCH:     No, I'm not arguing this as a standing

22     issue, Your Honor.        I'm arguing this as part of why this is a

23     facial challenge.

24                  Because some of the case law -- the John Doe case that

25     we cited, for instance -- I think helps make this point that




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 1     some of the relief here is going beyond just a particular

 2     abortion that maybe the United States would be raising to the

 3     State of Idaho.

 4                  Recall, Your Honor, that this pre-enforcement

 5     challenge is going at every single time an abortion may be

 6     provided as stabilizing treatment under the Treatment Act, and

 7     the United States is attempting to block the enforcement of

 8     18-622 in every single instance.

 9                  And for that reason, Your Honor, we believe that this

10     is a facial attack that the United States bears the burden under

11     the Salerno test of showing that there are zero instances where

12     18-622 can be applied with the Treatment Act.

13                  And, Your Honor, we believe clearly -- and as the

14     original declarations seem to indicate -- the doctors in this

15     case are able to determine what is necessary to preserve the

16     life of a woman or necessary to prevent the death of a pregnant

17     woman, which is what 18-622 authorizes.

18                  So we are not seeing a direct conflict in those

19     instances, Your Honor.         As such, that would defeat the facial

20     challenge in this case, because there are certainly instances

21     where Idaho Code 18-622 can be applied where there is an

22     abortion provided as stabilizing treatment under the Treatment

23     Act.

24                  As such, because it's a facial challenge, that is the

25     key point, Your Honor, is that they haven't met their burden of




                                  2-ER-084
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 1     showing that there is zero instances where those two acts can be

 2     applied together.

 3                  Now, Your Honor did ask about our position on

 4     life-threatening versus necessary to prevent the death or

 5     necessary to preserve the life of a woman.               And I do want to

 6     address that, Your Honor.

 7                  And I guess one point is -- that I would note is that

 8     our understanding of what the language means with respect to

 9     Idaho Code 18-622 is that it's consistent with, I think, the

10     general purpose of the Hyde Amendment, the current Hyde

11     Amendment that governs the federal trust funds that are provided

12     for Medicare purposes.

13                  And this is from Public Law 117-103.            It's one of the

14     laws cited by the United States.            And I am specifically reading

15     from 136 Statutes at Large 496.           And this is Section 507.

16                  It explains that the limitations established in the

17     preceding section, which as I understand it generally prohibit

18     the funds -- federal funds from going to abortion, do not apply

19     to an abortion, one, if the pregnancy is the result of an act of

20     rape or incest -- which is covered as part of 18-622,

21     Your Honor -- or, second, in the case where a woman suffers from

22     a physical disorder, physical injury, or physical illness,

23     including a life-endangering physical condition caused by or

24     arising from the pregnancy itself that would, as certified by a

25     physician, place the woman in danger of death unless an abortion




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 1     is performed.

 2                  THE COURT:     I'm not sure I completely understand why

 3     that statute is relevant when we have -- that's a federal

 4     statute.     And is it directly applicable to the EMTALA

 5     obligations?

 6                  MR. CHURCH:     Well, it's not directly applicable, Your

 7     Honor, but it's also -- it's consistent with -- we are offering

 8     it solely to show that our interpretation is consistent with

 9     the --

10                  THE COURT:     Well, you're saying that the Idaho

11     legislature, when they said that the abortion was necessary to

12     avoid the death of the patient, that they were really thinking

13     what Congress said when they are dealing with it in a totally

14     different context.        I'm not sure I understand how that flows.

15                  MR. CHURCH:     Well, let me make two points with respect

16     to that, Your Honor.        I think the first point, you said

17     "necessary to avoid the death of the woman."               That's not the

18     language of the statute.

19                  THE COURT:     Well, I was paraphrasing.         But the word

20     "necessary" is there, and that's the operative term.

21                  MR. CHURCH:     That is correct; the word "necessary" is

22     there.     And it's necessary to prevent the death of the pregnant

23     woman.

24                  I offered the example of the current Hyde Amendment

25     simply to show that our interpretation of Idaho Code 18-622




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 1     appears to be consistent with what the Hyde Amendment provides

 2     as a matter of federal law.

 3                  It's not to shed light on exactly what 18-622's terms

 4     mean.    That would be a question of law, as Mr. Netter pointed

 5     out, for this Court or, really, the Idaho Supreme Court to

 6     determine.

 7                  And, Your Honor, with respect to that, you know,

 8     that's also why we could have an as-applied challenge as part of

 9     a prosecution.       If there truly is a prosecution, Your Honor, of

10     a physician, that physician could argue that the abortion was,

11     in his or her good-faith medical judgment -- which is a

12     subjective standard -- that the abortion was necessary to

13     prevent the death of a woman.

14                  That is a subjective standard, and the Court would be

15     well -- in a criminal prosecution would be well capable of

16     handling determining whether the -- whether the physician has

17     made that showing and made -- made clear that the affirmative

18     defense would apply.

19                  THE COURT:     Let me ask -- and this came up from

20     Mr. Netter's suggestion that, within the last few weeks, your

21     office has appeared before the Idaho Supreme Court and argued,

22     to avoid a suggestion of ambiguity, that the statute clearly

23     requires that the procedure of abortion was essential to prevent

24     the death of a pregnant woman.

25                  Essential is different than a risk.




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 1                  Again, I don't know if you argued that or not or if

 2     someone else in your office did, but I'm sure your office wants

 3     to be consistent.

 4                  Could you kind of just explain why that should not be

 5     troublesome to the Court.

 6                  MR. CHURCH:     Sure.    That should not be troublesome to

 7     the Court for a couple reasons.

 8                  And first, let me point -- I agree with Your Honor

 9     that there is nowhere in the statute Idaho Code 18-622 that the

10     term "risk" is used with respect to -- that the abortion is

11     necessary to prevent a risk of death of the pregnant woman.

12     Instead, it's abortion is necessary to prevent the pregnant

13     death of a woman.

14                  Your Honor, I believe in that case, Mr. Netter is

15     citing to language that is also citing from Black's Law

16     Dictionary.      I don't see any meaningful difference in the

17     position that the State is taking here today with respect to its

18     understanding of 18-622 and the position that it has taken

19     before the Idaho Supreme Court.

20                  You're right, Your Honor, it's a different attorney

21     with that case.       But I understand --

22                  THE COURT:     You're not throwing someone under the bus,

23     are you?

24                  MR. CHURCH:     I am not throwing someone under the bus,

25     Your Honor, because our position, I believe, is consistent




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 1     between the two cases.         And even then, Your Honor, you know,

 2     this is a question of law for this Court if it decides it must

 3     interpret Idaho Code 18-622.

 4                  Again, the important facet from the State's

 5     perspective in this case, Your Honor, is that the United States

 6     has not shown in all instances that there is a direct conflict

 7     between Idaho Code 18-622 and the Treatment Act.                Because there

 8     are certainly cases where the abortion was necessary to prevent

 9     the death of the pregnant woman, as some of the declarations

10     from the United States' declarants in their original submission

11     made clear.

12                  Now, one -- the second point I had, Your Honor, that I

13     did want to move on to and address was in the United States'

14     response brief, they appeared to make an argument that the State

15     of Idaho was categorically preempted from exercising either

16     civil regulatory or civil sanctioning or criminal sanctioning

17     authority with respect to any stabilizing or any type of

18     treatment that would be offered as a stabilizing treatment.               And

19     that's page 19 of their reply brief that I'm looking at.

20                  I would note that if their argument is that there's a

21     categorical rule prohibiting some criminal prohibition of

22     manners of treatment, such as abortion, first, that that would

23     be inconsistent with the savings provision in 1395dd(f).               Recall

24     that 1395dd(f) allows every state law requirement to stand

25     unless that state law requirement directly conflicts with a




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 1     requirement in EMTALA or the Treatment Act.

 2                  Now, with respect to that, Your Honor, my note would

 3     be that the case law has established that state malpractice

 4     actions, for instance, have been authorized against physicians

 5     or providers.      Moreover, even the act itself provides for civil

 6     regulatory penalty --

 7                  THE COURT:     Why would a malpractice action create a

 8     conflict with EMTALA?

 9                  MR. CHURCH:     And that's my point.        It does not create

10     a conflict.

11                  THE COURT:     Here, their argument is that there is a

12     conflict.     So why is that apropos to what we're discussing here?

13                  MR. CHURCH:     Well, it's apropos because we are

14     contending that there is no conflict in allowing the State to

15     even have a criminal prohibition in the first place.

16                  My understanding is that the United States has raised

17     a categorical argument.

18                  THE COURT:     Well, there is no conflict if the criminal

19     prohibition provides an exception that would fall and satisfy

20     the three categories of EMTALA where medical care is necessary

21     even if it includes an abortion.

22                  That's the whole point of this, is whether there is no

23     exception for injury short of death.             And it's stated as an

24     affirmative defense in which the burden is on the doctor to

25     prove by a preponderance of the evidence the existence of the




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 1     condition -- the circumstance rather than the burden being upon

 2     the State to prove beyond a reasonable doubt that it does not

 3     exist.

 4                  And I can tell you, having presided over hundreds of

 5     criminal trials, that is a huge difference.               So...

 6                  MR. CHURCH:     Well, and I appreciate what Your Honor

 7     has recognized.       And I am just responding to one argument that

 8     was made in the United States brief.

 9                  But you're right.       The United States also contends, as

10     we understand it, that 18-622 -- and this is at pages 7 to 8 of

11     their brief -- that 18-622 is problematic because it places an

12     affirmative defense on the physician and places the burden on

13     the physician to prove that affirmative defense.

14                  Now, I did want to make one note is that, as part of

15     their briefing, the United States cites to the Fetal Heartbeat

16     Act as an example of a law that allows exceptions.                 And my

17     understanding of the United States' brief is that, under their

18     envisioning, the Fetal Heartbeat Act itself is not in direct

19     conflict with EMTALA or the Treatment Act simply because it has

20     an exception within it.

21                  Now, one additional aside I should note for Your Honor

22     is that the Fetal Heartbeat Act, as of Friday, August 19, did go

23     live and is effective.         And it does currently govern physicians

24     within the state.        And so physicians within the state are bound

25     by 18-8804 and 18-8805 -- excuse me, Your Honor -- with respect




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 1     to the criminal prohibitions that are within 18-8805.

 2                  As the Court well knows, though, under 18-622 --

 3                  THE COURT:     Are you suggesting that the fetal

 4     heartbeat law has superseded the criminal abortion statute?

 5                  MR. CHURCH:     No, Your Honor, but let me clarify that.

 6                  So under 18-8805 and I believe it's sub 4, 18-8805 was

 7     presumed to go in effect first and has now gone into effect

 8     first.     When 18-622 became enforceable, at least the criminal

 9     provisions of 18-622 became enforceable, that statute, 18-8805,

10     provided that the criminal prohibitions if 18-622 were

11     enforceable would supersede 18-8805's, or the Fetal Heartbeat

12     Act's, criminal prohibitions.

13                  Again, right now, as we stand today, Your Honor, the

14     Fetal Heartbeat Act is effective and it is active within the

15     state of Idaho.

16                  THE COURT:     But not in criminal prosecutions?

17                  MR. CHURCH:     It is effective with respect to criminal

18     prosecutions, Your Honor.

19                  THE COURT:     I thought you just said that the 18-622

20     said that any contrary provision has to give way to its

21     provisions.      Did I --

22                  MR. CHURCH:     When 18-622 is enforceable, Your Honor.

23     18-622 is not effective yet and is not enforceable yet.

24                  THE COURT:     Well, as of Thursday, then it will.        Is

25     that what you're saying?




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 1                  MR. CHURCH:     As of Thursday, assuming the Court does

 2     not enjoin it, it certainly will be enforceable, Your Honor.

 3                  THE COURT:     Well, I certainly won't enjoin anything

 4     more than what the United States has asked, which is enjoin

 5     enforcement in the context where EMTALA would require medical

 6     treatment.

 7                  MR. CHURCH:     Correct, Your Honor.        And again, if

 8     18-622 is not enforceable in those circumstances, then, by the

 9     terms of 18-8805(4), my understanding is that those criminal

10     provisions would be enforceable, the Fetal Heartbeat Act

11     provisions would be enforceable if 18-622 is not enforceable.

12                  But the one thing I think Your Honor -- and Your Honor

13     has hit upon it as well -- is that the difference in this case

14     that's alleged is that there is a difference between Idaho's

15     chosen mechanism of allowing an affirmative defense and allowing

16     a doctor to show good-faith proof that it was a good-faith

17     medical judgment based on the facts known to the physician at

18     or -- at the time that the doctor makes the decision, that the

19     abortion was necessary to prevent the death of a pregnant woman.

20                  Now, under -- in a typical exception case where the

21     prosecutor would bear the burden -- and my understanding with

22     respect to 18-8805 and 18-8804 is that it is based upon an

23     objective standard of whether the -- there was an emergency

24     medical condition, for instance, under those statutes and that

25     it uses an objective standard.




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 1                  Now, what I don't understand, Your Honor -- and I

 2     think this is the point of disagreement between the State and

 3     the federal government -- is this:            The United States appears to

 4     take no issue or have no issue with 18-8804 and 18-8805, the

 5     Fetal Heartbeat Act -- which provide for an exception process

 6     but still provide for criminal prosecution -- but takes issue

 7     and shows -- and says that there is a direct conflict when Idaho

 8     has chosen in 18-622 to impose an affirmative defense structure.

 9                  There is no good basis, in our -- in the State's view,

10     to view the difference in the burden of proof or the subjective

11     versus objective standard as being in direct conflict with the

12     Treatment Act.

13                  Now, the one case that the United States cites in its

14     reply brief is Arrington.          And I've had a chance to look at

15     Arrington.      I understand Arrington to be the Ninth Circuit

16     reviewing an agency's -- I believe Health and Human Services'

17     review of a hospital's ambulance diversion policy.                 It doesn't

18     say anything about criminal liability or that the State is going

19     to be preempted from having a criminal liability that is

20     escapable through an affirmative defense.

21                  There is simply no requirement, Your Honor, in the

22     Treatment Act that, in our view, would be a direct conflict here

23     with respect to a requirement of the Treatment Act and a

24     requirement in 18-622.

25                  Now, Your Honor had asked about the direct conflict




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 1     and what that means with respect to the Treatment Act.                 And,

 2     Your Honor, we're bound for these proceedings by the

 3     Ninth Circuit's decision in Draper, which, as Mr. Netter

 4     indicated, determined that the direct conflict means that there

 5     would either be -- that it would be physically impossible to

 6     comply with both Idaho Code 18-622 in this case and with the

 7     Treatment Act, or it would apply in those situations when the

 8     entire Act's purpose would be, as we pointed out in our

 9     briefing, effectively nullified, is the language from the

10     Ninth Circuit that's used.

11                  And in this case, Your Honor, we certainly don't

12     believe that the standard that the State of Idaho has placed

13     upon physicians to prove an affirmative defense is one that

14     stands as a -- as essentially a nullification of the entire

15     purposes of the anti-dumping Treatment Act.

16                  Now, the last thing I wanted to just touch upon,

17     Your Honor, was with respect to the chilling argument.                 And

18     contrary to Mr. Netter's representation, we certainly did

19     challenge the assertion that there would be chilling in this

20     case.    Let me make a couple points with respect to the chilling.

21                  First, we understood the declarants in their original

22     declarations to make perfectly clear that they could determine

23     when an abortion was necessary to save the life of a mother.

24                  THE COURT:     Well, the declarations that you submitted

25     didn't use that terminology.           Typically, they indicated that




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 1     these were life-threatening and did not, I don't think,

 2     directly -- or did they?          If they did and you can point that

 3     out, I'll stand corrected.

 4                  But that was one of the concerns I had, is that the

 5     medical declarations from healthcare providers that you

 6     submitted consistently referred to these as being clearly

 7     life-threatening and, therefore, falling within the affirmative

 8     defense.

 9                  MR. CHURCH:     So just as one example, Your Honor, we

10     only submitted one declaration from a healthcare provider on

11     behalf of the State.        This was at 66-1, declaration --

12                  THE COURT:     Perhaps it was submitted by the

13     intervenor --

14                  MR. CHURCH:     The legislature.

15                  THE COURT:     But I'll let Mr. Stewart respond to that.

16                  MR. CHURCH:     I do want to make one clarification,

17     though, Your Honor.

18                  We did point out that -- this would be from the

19     declaration of Kraig White, paragraph 4, and this is at page 4

20     as well.     He, for instance, says:         "It would be my good faith

21     medical opinion that termination of the pregnancy was necessary

22     to save the life of the pregnant woman."

23                  So I believe that's consistent with --

24                  THE COURT:     Okay.    That's correct.       That absolutely is

25     the language at issue here.




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 1                  MR. CHURCH:     But we also understood, and my point,

 2     Your Honor, was that the United States -- the federal

 3     government's declarants certainly knew and made statements that

 4     they were able to determine that a medical abortion was

 5     necessary to save the life of the mother, which is the call that

 6     18-622 imposes upon physicians.

 7                  Now, with respect to the chilling argument, our

 8     understanding of the chilling argument is that physicians -- the

 9     United States asserts that physicians would feel chilled simply

10     because there is an apparent conflict or an alleged conflict --

11     excuse me -- between 18-622 and the Treatment Act.

12                  But we must remember that 18-622 applies in all

13     contexts, not just in the Treatment Act context, but any facet

14     of a physician's practice, you know, including practices outside

15     of the Treatment Act.

16                  And so making that decision that is placed upon

17     physicians to determine whether an abortion is necessary to

18     preserve the life of the pregnant woman is a call that they are

19     going to have to make not just at the emergency room but also in

20     their normal practice to the extent they believe an abortion is

21     necessary in their good faith medical belief and judgment to

22     preserve the life of the pregnant mother.

23                  We would also note, at least for the chilling

24     purposes, Your Honor, that there is just no direct conflict with

25     any particular requirement of the Treatment Act.




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 1                  THE COURT:     Well, let me ask a question about that.

 2     And you are about out of the time that you have agreed was a

 3     portion of time.       I'm going to actually have a question or two

 4     to follow up, so I think I will just turn your clock off while I

 5     ask those questions.

 6                  MR. CHURCH:     I appreciate that, Your Honor.

 7                  THE COURT:     You might not appreciate it when I'm done,

 8     but we'll see.       I hope your answers will be enlightening because

 9     I've got a question that I think points out, at least in my

10     mind, the challenge in how we apply this.

11                  How do we get around the fact that the affirmative

12     defense only deals with conducting an abortion necessary to

13     prevent the death of the patient when the EMTALA talks about

14     having injury to organs adversely affecting -- you know, serious

15     impact upon health?        I can't, off the top of my tongue, give you

16     those three elements.

17                  But isn't there just a total impossibility preemption

18     because there is just complete conflict because there is no

19     exception for anything short of an abortion necessary to prevent

20     the death of the patient when EMTALA clearly says you have to be

21     concerned about their health as well?

22                  MR. CHURCH:     Well, let me make two points in response

23     to that, Your Honor.

24                  First, I do want to look at the statutory text of the

25     Treatment Act just to make sure we are on the same page as far




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 1     as the terms.

 2                  And Your Honor cited, I believe, first, the definition

 3     of "emergency medical condition," which, as we have all agreed,

 4     as provided by the text of the statute to mean "a medical

 5     condition manifesting itself by acute symptoms of sufficient

 6     severity, including severe pain, such that the absence of

 7     immediate medical attention could reasonably be expected to

 8     result in placing the health of the individual or, with respect

 9     to a pregnant woman, the health of the woman or her unborn child

10     in serious jeopardy, serious impairment to bodily functions, or

11     serious dysfunction of any bodily organ or part."                Or there is

12     another provision that applies with respect to a pregnant woman

13     who is having contractions.

14                  THE COURT:     Yeah, right.      So those were the three.

15     That's exactly the three conditions under EMTALA that I can

16     never rattle off, but you did a nice job of doing that.

17                  MR. CHURCH:     But I want to offer one more point,

18     Your Honor, with respect to that.

19                  When a patient is -- when a person goes to the

20     emergency room, has a screening, and that screening determines

21     that there is an emergency medical condition -- which is what we

22     have been just discussing -- that is then the springboard or it

23     starts the process that's required by 49 U.S.C. 1395dd(b)(1) --

24     well, correction -- well, I'm sorry, Your Honor.                I apologize.

25     It's within sub (b) sub (1) that the -- once there is an




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 1     emergency medical condition that has been found, it is then up

 2     to the hospital, "within the staff and facilities available at

 3     the hospital, for such further medical examination and such

 4     treatment as may be required to stabilize the medical

 5     condition."

 6                  And the reason why I bring that up, Your Honor, is I

 7     want to make sure we're clear on the definition of stabilizing

 8     treatment, because stabilizing treatment under provision (e)

 9     sub -- it's going to be (e) sub (3) is treatment that is

10     "necessary to assure, within reasonable medical probability,

11     that no material deterioration of the condition is likely to

12     result from or occur during the transfer of the individual from

13     a facility."

14                  So I want to make sure, Your Honor, that, you know,

15     stabilizing treatment is not necessarily a cure of an emergency

16     medical condition, Your Honor.           It is simply treatment that's

17     necessary to assure that there is no material deterioration

18     within a reasonable medical probability of whatever condition is

19     there.

20                  Now, Your Honor asked about what happens where an

21     abortion is -- a provider determines that abortion is necessary

22     not to prevent the death of a woman, but it would be necessary

23     as some form of stabilizing treatment.

24                  THE COURT:     Well, not -- it would be necessary to

25     protect her health, to protect her organs, to protect, you know,




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 1     those three standards that EMTALA imposes.               That's where my

 2     concern is.

 3                  In fact, let me -- I'm going to ask -- I've asked

 4     Ms. Smith to stop the clock for a minute here.                I don't want to

 5     take up Mr. Stewart's time.          I'm hopeful he appreciates that.

 6                  But here, you know, I've tried to think in my mind

 7     what kind of portrays where the conflict is.               And I thought

 8     about, you know, maybe it's being someone who wishes they had

 9     been a law school professor, and so I came up with a

10     hypothetical that law professors like to use to try to make

11     points.     And I'll throw that at you, and you can tell me how you

12     would respond.

13                  Let's say you're an attorney with a client who is an

14     ER doctor.      She calls somewhat in a frantic state because she

15     has got a patient that she is now treating in a very difficult

16     situation; let's say it's preeclampsia.              They have tried to

17     control it medically and have been unable to, and the accepted

18     medical practice at that point is an abortion.

19                  Basically, her blood pressure is completely out of

20     control; and in her experience, if the abortion is not

21     performed, there is at least a 50/50 likelihood that she will

22     die.

23                  She also indicates that she is completely risk averse

24     and is not willing to take any chance that she will be

25     prosecuted even though that she might be able to succeed on an




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 1     affirmative defense.

 2                  So, as her attorney, do you advise her that she can

 3     perform the abortion under the statute without any risk of

 4     prosecution?

 5                  MR. CHURCH:     Well, Your Honor, I appreciate the

 6     question.

 7                  And so with respect to that, just to make sure we're

 8     clear, that this would be a situation covered by the Treatment

 9     Act to begin with.

10                  THE COURT:     Yes.    I should have predicated.          Yes,

11     absolutely.

12                  MR. CHURCH:     So with respect to that, Your Honor, and

13     the current version of Idaho Code 18-622, I, as the lawyer,

14     would advise that -- I would ask questions:               Is this necessary

15     to prevent the death of a pregnant woman?

16                  THE COURT:     Well, she said it's at least 50 percent.

17     It's a 50/50 proposition.

18                  MR. CHURCH:     Well, Your Honor, but I would -- as the

19     lawyer, I would point back to the fact that 18-622 contains no

20     risk or no 50/50 risk requirement or no requirement that the

21     death be imminent or some other temporal requirement.                  It simply

22     applies where the abortion is necessary to save the life of the

23     pregnant mother.

24                  THE COURT:     And she says:      I can't answer that; I can

25     just tell you it's 50/50.




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 1                  MR. CHURCH:     Well, then that physician, well, one,

 2     could also consider consulting not only with me but with other

 3     physicians, or --

 4                  THE COURT:     She has got a patient that is in critical

 5     medical condition; she has to make a decision immediately as to

 6     what to do.

 7                  MR. CHURCH:     Well, Your Honor, you know, as the

 8     attorney for the hospital, you can only advise on what the law

 9     is.    And the law says, under 18-622, that she needs to determine

10     in her good faith medical judgment whether the abortion is

11     necessary to preserve the life of the pregnant mother.

12                  THE COURT:     And if she gets it wrong, she is

13     prosecuted, charged, arrested, and has a chance to argue and

14     prove to the jury that her judgment was right; the 50/50 is

15     enough to say that it was necessary to prevent her death?              Is

16     that --

17                  MR. CHURCH:     I do want to quibble with one last aspect

18     of your point there, Your Honor.

19                  Remember, under 18-622, the affirmative defense that

20     is offered is based on the physician's subjective good faith

21     medical judgment.        If the physician can testify and show that it

22     was within her good faith medical judgment to perform the

23     abortion and that the abortion was necessary to save the life of

24     the pregnant woman, then that falls within the affirmative

25     defense of Idaho Code 18-622.




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 1                  THE COURT:     And what if she says, you know, they think

 2     they can control it, but there still is a 5 percent chance that

 3     she will die.      Does that change your advice to the doctor?

 4                  MR. CHURCH:     No, Your Honor.       Because, again, there is

 5     no -- not at least from the State's perspective, there is no

 6     probability or risk that is part of 18-622.               18-622 just

 7     requires that the physician make that determination of whether

 8     it's necessary to preserve the life of the pregnant woman.

 9                  THE COURT:     All right.     Well, then the same

10     hypothetical, but she indicates that if the abortion is not

11     performed, the patient will not die, but there is a 90 percent

12     chance she will suffer a stroke, have permanent damage to her

13     vital organs, such as her heart, her liver, or her kidneys.

14                  What's your answer then?

15                  MR. CHURCH:     Well, Your Honor, it's the same answer in

16     that you would have -- under Idaho law, the affirmative defense

17     arises under 18-622 when the abortion is necessary to prevent

18     the death of the pregnant woman.

19                  THE COURT:     So you would tell her she cannot perform

20     that abortion, or she would be facing criminal liability?

21                  MR. CHURCH:     Your Honor, I would just be advising as

22     to what the statute says, Your Honor.

23                  But I would note for purposes of this case,

24     Your Honor, that because this is a facial challenge, there are

25     still circumstances where, you know, 18-622 and the Treatment




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 1     Act can be applied.        And that's a reason why we should deny the

 2     United States' requested preliminary injunction relief in this

 3     case.

 4                  THE COURT:     Okay.    So basically, as an attorney, you'd

 5     simply tell the doctor, your client:             This is what the statute

 6     says, and I can't tell you whether you will be prosecuted or

 7     not, but the risk is that this is what the statute provides?

 8                  And I assume you would agree that in the last part of

 9     my hypothetical where there is no risk of death, but there is a

10     substantial risk of serious impact upon her health -- organs

11     failing, permanent damage to those organs, maybe a stroke --

12     that in that situation, the statute would not apply and would

13     not provide an affirmative defense.

14                  MR. CHURCH:     Your Honor, I'm only bound by what 18-622

15     provides.

16                  THE COURT:     Okay.    Well, that's why I'm asking.      Do

17     you agree that 18-622 would not provide an affirmative defense

18     in that situation?

19                  MR. CHURCH:     If the -- if the physician cannot testify

20     in her good faith medical belief that she believed the abortion

21     was necessary to preserve or prevent the death of the pregnant

22     woman, then the affirmative defense would be inapplicable in

23     that case, Your Honor.

24                  THE COURT:     All right.     And she would be subject to

25     criminal prosecution and face a minimum two years in prison?




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 1                  MR. CHURCH:     Subject to what I have just said, yes,

 2     Your Honor.

 3                  THE COURT:     Okay.    All right.     Thank you.

 4                  Anything else?      I will let you make a few parting

 5     shots before we hear from Mr. Stewart, if there is anything else

 6     you want to add.

 7                  Counsel, I know the hypothetical -- I remember from

 8     law school that we sometimes think that professors are being

 9     unfair, but usually they are doing it to try to point out kind

10     of where the cutting edge is.

11                  And that's the reason I did that, is to try to see how

12     a real-life attorney dealing with a real-life doctor dealing

13     with a real-life pregnant patient, how they are to confront the

14     statute in an emergency room setting.             And that's why I asked

15     the questions that way.

16                  You gave a very lawyerly response, which is:               This is

17     what the statute provides and wouldn't provide guidance beyond

18     that.

19                  But is that troublesome in terms of EMTALA compliance?

20                  MR. CHURCH:     I don't think so, Your Honor.             Because,

21     again, I'm not certain that there is a direct conflict here that

22     is presented.

23                  THE COURT:     Even in the context where it's not

24     life-threatening?

25                  MR. CHURCH:     Well, even if there could be a conflict,




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 1     Your Honor, again, in the State's position, this is a facial

 2     challenge.

 3                  THE COURT:     All right.

 4                  MR. CHURCH:     And we would have to show -- the

 5     United States would have to show that in all instances, 18-622

 6     conflicts with the Treatment Act.

 7                  Our position is they clearly haven't shown that,

 8     Your Honor.      And for these reasons, we would ask that you deny

 9     preliminary injunctive relief requested by the United States.

10                  THE COURT:     Well, thank you.

11                  MR. CHURCH:     Thank you, Your Honor.

12                  THE COURT:     Thank you, Mr. Church.

13                  Mr. Stewart.

14                  MR. STEWART:     Your Honor, Monte Stewart along with

15     Daniel Bower representing the Idaho legislature.

16                  Here is my answer to your hypothetical:             That doctor

17     calls me from the emergency room or, more accurately, from an

18     extension of the emergency room, which would be up in labor and

19     delivery, which is where these emergencies really do play out.

20                  And, yes, EMTALA does apply in labor and delivery;

21     it's not limited physically to the emergency room.

22                  That doctor calls me and gives me the 50/50

23     hypothetical.      I tell her:      You go right ahead, and you use your

24     best medical judgment, and you can do so without fear of

25     prosecution.




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 1                  Now, I can do that and put my legal malpractice

 2     insurance policy on the line and do so without the slightest

 3     heartburn or without ever second-guessing myself.

 4                  Because in the real world, in the real world -- and

 5     I'm speaking to you as someone who has prosecuted cases in state

 6     court and as someone who, as an employee of the United States

 7     Department of Justice, as the United States Attorney for the

 8     District of Nevada, has prosecuted cases and knows how

 9     prosecutors think:        In the real world, there will not be a

10     prosecution.      And Grant Loebs certainly backs me up.

11                  Now, you then try to -- you then moved to make the

12     hypothetical more challenging where you eliminated the risk of

13     death.     And you, I think, were trying to use some language from

14     EMTALA itself, from the definition of "emergency medical

15     condition" -- "serious impairment to bodily functions, or

16     serious dysfunction of any bodily organ or part."

17                  Now, subpart (2) and subpart (3) -- I think I can

18     help.    And this is going to help through the remainder of the

19     time you give me.        May -- with the leave of the Court, may

20     Mr. Bower pass out a packet to Court and counsel, law clerks, if

21     that's okay, with just a few documents in it?

22                  THE COURT:     What is it you want the Court to look at?

23                  MR. STEWART:     The first document is actually the

24     Government's proposed preliminary injunction order.                    The second

25     one is the page from EMTALA that I am referring to.                    And the




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 1     third document is an exercise I went through regarding the

 2     proper scope of any injunction if you decided to go in that

 3     direction.

 4                  And, of course, the legislature believes the only

 5     proper order is motion denied, but I think it's helpful in this

 6     factual context to address that.

 7                  THE COURT:     Why don't you put that on the evidence

 8     presenter.

 9                  MR. STEWART:     What's that?

10                  THE COURT:     If you could just put that on the evidence

11     presenter, it might be easier.           We could possibly even -- I

12     don't know if we can bring it on for those in the audience,

13     but...

14                  MR. STEWART:     Can you see this or just the audience?

15                  THE COURT:     I'm supposed to be able to see it.

16                  Well, all right.       Yeah, I can now.       It's up on my

17     screen.     I don't know if we are able to show it to the --

18                  MR. STEWART:     Given my age, I'm low-tech.              That's why

19     I brought paper copies for everyone.

20                  THE COURT:     I am not low-tech, and I prefer -- okay.

21     I think we have got it.         Go ahead.

22                  MR. STEWART:     Okay.    Well, if you'll see here, subpart

23     (2) and subpart (3) are the ones I just read to you.                    And that's

24     what I heard you saying --

25                  THE COURT:     That's not precisely --




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 1                  MR. STEWART:     -- in that second hypothetical.           Is that

 2     correct?

 3                  THE COURT:     Well, I was not trying to capture it

 4     precisely, but that was the point.

 5                  MR. STEWART:     But the general idea, yes.

 6                  I would give the same answer with the same absence of

 7     any heartburn.

 8                  THE COURT:     So you are saying there is no risk of

 9     prosecution --

10                  MR. STEWART:     Because there is another affirmative

11     defense in the real world.          And that is assuming -- and I'm not

12     conceding anything -- you have limited me to talk about the

13     actual conflict which is the fact-intense issue here.                  In

14     talking only about that, I am honoring your directive to me.

15                  THE COURT:     Okay.    Well, I think what you're saying is

16     that prosecutors will not actually prosecute under these

17     circumstances.

18                  MR. STEWART:     Right, because there is an affirmative

19     defense under the Government's own position --

20                  THE COURT:     Just a moment.      Just a moment,

21     Mr. Stewart.

22                  But there is not an affirmative defense as to the

23     three categories that we listed here, because the statute

24     doesn't provide an affirmative defense where it is just

25     health-threatening as opposed to necessary to prevent the death




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 1     of the mother.

 2                  MR. STEWART:     Yes.    622 doesn't provide it, but EMTALA

 3     does.

 4                  THE COURT:     But that's the point, is EMTALA is in

 5     conflict with -- or at least the Government is arguing that

 6     EMTALA is in conflict with a federal statute which criminalizes

 7     providing an abortion as a medical treatment if it is not

 8     necessary to preserve the mother's life.

 9                  MR. STEWART:     Exactly right.

10                  Your Honor, let me step back and tell you that there

11     is a gulf between Mr. Netter and Mr. Stewart.               Mr. Netter's

12     approach is highly conceptual, highly textual, highly abstract.

13     Mr. Stewart's approach is real life, real world, and practical.

14                  THE COURT:     Well, isn't real world -- I noted that

15     Mr. Netter referred to the comment made during the debates that

16     led to the adoption of the Idaho abortion statute in which an

17     effort was made to apparently include some protection for the

18     situation where the pregnant patient's health is at risk.

19                  And the response was:        Well, in that situation, the

20     right of the fetus should be primary.

21                  Are you saying there are no prosecutors out of 44

22     counties in the state of Idaho that might not take that same

23     position?

24                  MR. STEWART:     Let me take the easiest case first.

25                  Idaho is capable of many things, but it is not capable




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 1     of producing now or in the future a prosecuting attorney stupid

 2     enough to prosecute an ectopic pregnancy case.                The first thing

 3     the doctor --

 4                  THE COURT:     I didn't ask about an ectopic

 5     specifically.

 6                  Just generally, given the attitude or the expression

 7     of legislative intent which Mr. Netter referenced during his

 8     oral argument, are you saying there is no prosecutor, in the 44

 9     counties in the state of Idaho, who would take the position that

10     where it is only necessary to protect the health of the

11     mother -- I keep using the word "mother" -- health of the

12     pregnant patient, that should give way to the rights of the

13     unborn fetus?

14                  MR. STEWART:     The answer to that, Your Honor, is that

15     this legislation is designed to balance this state's

16     determination of the moral value of the preborn child on one

17     hand and the often weighty, weighty and even heart-wrenching

18     interests of the mother -- I won't hesitate to use the

19     word -- on the other hand.          And this is where, in the exercise

20     of its constitutional right, the State of Idaho has drawn the

21     line.

22                  What I'm trying to get across here, Your Honor --

23     because you're being asked to issue an injunction that carves

24     back against Idaho's judgment and to do so on the basis of one

25     federal statute, EMTALA.          And we have talked about the conflict.




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 1     It is a fact-intensive conflict.            I would like to point out

 2     something extremely important, the single-most important thing I

 3     can say to you right now in the time given me.

 4                  If you will look at the EMTALA language that's up on

 5     the screen, you will see there is a subpart (1):                "Placing the

 6     health of the individual, or with respect to a pregnant woman,

 7     the health of the woman or her unborn child in serious

 8     jeopardy."

 9                  There is congressional language expressing a

10     congressional intent to protect and preserve the mother and the

11     child equally -- not one above the other, equally.

12                  Why I have that in yellow and why this is the most

13     important thing I can tell you is because of the language the

14     Department of Justice wants you to use in any preliminary

15     injunction order.

16                  They have used -- and this is the first document in

17     the packet.      They have used -- after distorting the language of

18     subpart (1), they have used the subpart (1) language in the

19     proposed order.       They even preserve the subpart (1) numeral, but

20     they don't quote it truthfully and fully and honestly, "placing

21     the health of a pregnant patient in serious jeopardy."

22                  In other words, Your Honor, please, they have taken

23     congressional language, the purpose -- the clear meaning of

24     which, the clear purpose and intent of which is to protect the

25     unborn child from serious injury, serious jeopardy, serious




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 1     health problem.       And they are writing that language after they

 2     have taken out any reference which they never gave you anywhere

 3     in their papers -- any reference to the "unborn child."                       They

 4     are using that language --

 5                  THE COURT:     Just a moment, Mr. Stewart.          Just a

 6     moment.

 7                  The conflict here is between a state statute

 8     permitting an abortion -- excuse me -- criminalizing an abortion

 9     even where the abortion would be necessary to preserve the

10     health and ensure no injury to -- permanent injury to organs,

11     et cetera.      How or why should the requested relief in any way

12     reflect a concern for the health of the unborn fetus?                    Because

13     we're talking about an abortion where the choice has been made

14     where there is no balancing at that point.

15                  MR. STEWART:     Because your authority extends to the

16     boundary of the conflict and no further.              You can enjoin 622 to

17     the extent of a conflict; perhaps only conceptual, hypothetical,

18     abstract conflict, because we have shown there is no actual one.

19     But that's the limit of your authority to enjoin enforcement and

20     operation of 622.

21                  So what is the boundary of that conflict?                 It's

22     discernment by 622 on one hand but certainly by EMTALA on the

23     other hand.      You can't say that 622, with its intent to protect

24     the life of the child, conflicts with subpart (1), which is

25     Congress's intent to protect the child.




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 1                  You don't have the "unborn child" reference in subpart

 2     (2) and subpart (3).        And that's why it would be entirely wrong

 3     to use subpart (1) language in any preliminary injunction order,

 4     because you're going outside the scope of what Congress

 5     intended.

 6                  Why is the Government trying to shoehorn in this

 7     subpart (1) language?         Well, I submit, in all due respect, that

 8     it's to keep the administration's political promise to push back

 9     against Dobbs and to restore, to the extent possible, under the

10     powers of the executive branch.

11                  I would ask leave of the Court to submit a redline --

12     it's actually blue on this document --

13                  THE COURT:     Counsel, your time is almost up.

14                  MR. STEWART:     I understand that.        This is the most

15     important thing I can do.

16                  THE COURT:     All right.     I'm just letting you know.      So

17     go ahead.

18                  MR. STEWART:     Yes.    Thank you.

19                  -- to submit a proposed what we call a fallback

20     order -- we are not consenting or agreeing or conceding

21     anything -- but that carefully, carefully defines what it is

22     that is being enjoined and carefully limits the injunction to

23     its only proper basis, which is the actual conflict based on

24     EMTALA.

25                  And that's part of that packet that I requested leave




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 1      to submit.     We can submit it after the hearing is over if you

 2      prefer.

 3                  THE COURT:     Well, the concern during oral argument is

 4      the Government needs a chance to respond.              So I don't know -- is

 5      there a reason why it couldn't have been submitted in advance?

 6                  MR. STEWART:      Well, it's only because we only very

 7      recently realized what the Government was doing with this

 8      subpart (1).

 9                  THE COURT:     Well, I don't think there is any secret

10      here --

11                  MR. STEWART:      Misuse of subpart (1) --

12                  THE COURT:     Just a moment, Mr. Stewart.

13                  There is no secret about it.          You put up the

14      complaint, or at least the proposed order.              I don't think there

15      is too much surprise about that.

16                  What is it you want the Court to consider?

17                  MR. STEWART:      A blue-line of the Government's proposal

18      order which --

19                  THE COURT:     Well, you're --

20                  MR. STEWART:      -- puts in the proper limitations that

21      it does not contain.

22                  THE COURT:     You're over time now, but let me just ask

23      it this way:      So are you saying that because of the language in

24      EMTALA at subparagraph (1) that you cite, that this indicates

25      that Congress has indicated that no abortion can be performed




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 1      because that would, by definition, be inimical to the life and

 2      health of the fetus?

 3                  MR. STEWART:      What I'm saying to the very best of my

 4      ability, Your Honor, is that that language, subpart (1)

 5      language, cannot be used to increase the risk of jeopardy to the

 6      health of the unborn child because its purpose is to do the

 7      opposite.

 8                  THE COURT:     So, really, you are saying that if we have

 9      a situation where an abortion is necessary to preserve the

10      health of the mother, then, in that situation, EMTALA would

11      still preclude that abortion because it does not take into

12      account the life of the unborn fetus?

13                  MR. STEWART:      What I'm saying -- yes.         Well, let me

14      say it this way:       Subpart (2) and subpart (3) set a standard.

15                  By the way, the Fetal Heartbeat Act echos sub (2) and

16      sub (3).     That's why the Government didn't challenge it, even

17      though it is now in effect and has criminal provisions equally

18      onerous.

19                  THE COURT:     But it doesn't -- as I suggested with

20      Mr. Church, it does not supersede 622.             622 is still and will be

21      in effect come Thursday.

22                  MR. STEWART:      No, it will not be in effect if you

23      enjoin its operation.

24                  THE COURT:     No, no, no.      Without an injunction.     I

25      mean, I thought that was obvious from my question.




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 1                  MR. STEWART:      Right, right, right.        But, of course,

 2      what I'm saying is --

 3                  THE COURT:     No, no.     My question is:       It will still be

 4      in effect; the fetal heartbeat law will not supersede or in any

 5      way affect the Section 622 coming into effect on Thursday?

 6                  MR. STEWART:      That's correct.       The superseding

 7      language is actually in the Fetal Heartbeat Act itself, which

 8      was enacted later, a year later than the --

 9                  THE COURT:     No.    You answered my question.

10                  MR. STEWART:      Yes.

11                  THE COURT:     You're well over your time.          If you want

12      to submit it, I'll look at -- I'll give you a minute to very

13      quickly summarize the argument you are going to make with this,

14      and then I'll --

15                  Mr. Netter, if you, after looking at it, feel the need

16      to respond, I may give you a chance to submit a very short,

17      maybe one- or two-page response since you have not seen this in

18      advance.     Or if you think you can look at it quickly and

19      incorporate that into your argument, you can do that as well.

20                  MR. NETTER:      Thank you, Your Honor.

21                  THE COURT:     Mr. Stewart, just a minute to wrap up

22      before I turn the time back to Mr. Netter.

23                  MR. STEWART:      In the real world, there is no conflict.

24      I'm not disputing, Your Honor, the conceptual textual conflicts,

25      but what matters is what happens in the real world.




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 1                  And I believe the factual demonstration is very strong

 2      that there is no actual conflict between the operation of 622

 3      and the operation, within its intended and proper scope, of

 4      the -- of the EMTALA language, especially because -- and this is

 5      my last sentence -- my doctors whom I respect greatly tell me

 6      that they have never encountered a case falling within subpart

 7      (2) and subpart (3) where the health of the mother -- excuse

 8      me -- the life of the mother was not in danger and threatened

 9      and likely to occur.

10                  The Government has not given you one concrete example

11      of that --

12                  THE COURT:     Did you read Dr. Corrigan's --

13                  MR. STEWART:      Yes.

14                  -- other than -- other than ectopic pregnancies.

15                  And you have known our position for weeks.                 The

16      legislature had no intent, because as our doctors told us -- one

17      of the first things they told us:            What?   No.    An ectopic

18      pregnancy is not an abortion.          Why?    Because it will never

19      result in a live birth, and it will always put --

20                  THE COURT:     Excuse me, Counsel.        Counsel, just a

21      moment.    That's not the definition of "pregnancy," nor is it the

22      definition of "abortion" under the statute.

23                  MR. STEWART:      Well, again -- again, the conceptual as

24      opposed to the real world and the practical.               My clients are

25      real-world, practical folks.




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 1                  THE COURT:     All right.      Thank you.

 2                  Mr. Netter.

 3                  MR. NETTER:      Your Honor, let me start with a quick

 4      administrative note.

 5                  THE COURT:     Yes.

 6                  MR. NETTER:      To make it easier for the Court to locate

 7      the representation by the State in the Idaho Supreme Court

 8      proceedings as to what the affirmative defense means, I want to

 9      provide a more specific citation because the filings are a bit

10      difficult to navigate.

11                  It's in Case No. 49817.         It is a document entitled

12      "Respondents' Response to Order Setting Hearing," and it's at

13      page 14.

14                  THE COURT:     I would note I understood Mr. Church is

15      not in any way running away from that statement.                I think he was

16      pretty clear that the language necessary to prevent the death of

17      the pregnant patient means what it says and says what it means.

18                  And I appreciate his candor that -- I don't think he

19      ran away from that, and I think he apparently took roughly the

20      same position that his colleague in the Attorney General's

21      Office took before the Idaho Supreme Court.              But I appreciate

22      that, and I will look at that.

23                  Go ahead.

24                  MR. NETTER:      I don't disagree, Your Honor.             I also

25      understood Mr. Church to be attempting to faithfully interpret




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 1      the statutory text.

 2                  My only point of departure would be that Mr. Church

 3      said that he was not troubled in the circumstance that the 50/50

 4      hypothetical with the prospect that there could be a criminal

 5      violation or criminal prosecution; whereas with reference to

 6      EMTALA, I see that as deeply problematic and, from a moral

 7      standpoint, extremely objectionable.

 8                  Now, the State's primary arguments here seem to rest

 9      on the Salerno issues as to whether or not, as a technical

10      matter, the challenge presented by the United States is a facial

11      challenge.

12                  To be clear, this is not a facial challenge that has

13      been filed by the United States.           A facial challenge would be if

14      we had said:      Here is one defect we have identified; and as a

15      result, the entire statute falls.

16                  Our challenge is tailored to the circumstances in

17      which EMTALA applies.        So every time EMTALA mandates care, Idaho

18      law must yield.

19                  Now, I thought I understood Mr. Church to be saying

20      also that perhaps it's okay, that maybe this can be litigated

21      later, or perhaps there is, like, an affirmative defense that

22      can be raised in criminal proceedings stemming from EMTALA.             And

23      that last point might have been from Mr. Stewart.

24                  So I want to be clear on this:           That the injury to the

25      United States takes place sooner.            That the issue here is, as




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 1      the physicians have told us in their declarations, there will be

 2      hesitancy to comply with federal law.

 3                  The federal interest here is in ensuring that the

 4      benefit of the bargain -- the federal law -- in ensuring that

 5      the emergency care that is prescribed by EMTALA is actually

 6      delivered.

 7                  And if there are circumstances in which a doctor

 8      hesitates, in which a doctor has to call the lawyers and get a

 9      legal opinion because it seems like Idaho law might be violated

10      or has to speak with Mr. Stewart about his sense of whether,

11      despite the statutory text the prosecutor is going to bring the

12      charges, this is all in conflict with EMTALA and federal law,

13      which requires the care to be offered at the point where it's

14      necessary.

15                  Now, Mr. Stewart said in this context that Idaho has

16      drawn its line.       And I want to be clear that our position is

17      that Idaho doesn't get to draw a line that conflicts with

18      EMTALA.

19                  Federal law has prescribed a standard to the extent of

20      any direct conflict -- which, in this context, means

21      impossibility or obstacle preemption -- federal law governs.

22      And Idaho doesn't have the prerogative, under the supremacy

23      clause of the U.S. Constitution, to draw its own distinct line.

24                  So Mr. Stewart just brought up the statutory language

25      about "unborn child."        And I'll say first that I don't believe




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 1      that this issue is properly before the Court.               It was not raised

 2      in the papers.      Indeed, both the State and the legislature

 3      indicated that they agreed that there were circumstances under

 4      which EMTALA would require abortions as a stabilizing treatment.

 5                  I understood Mr. Stewart's argument to be, because of

 6      this "unborn child" language in the statute that, in fact, the

 7      opposite is true.       And that position has surely been forfeited.

 8                  In any event, that interpretation of the statute, the

 9      interpretation of the statute that I think Mr. Stewart was

10      intimating at, is just not correct.

11                  The "unborn child" language did not appear in EMTALA

12      as it was originally adopted.          It was incorporated through an

13      amendment that was adopted in 1989.            There is nothing in the

14      text or in the statutory history that suggests that Congress was

15      trying to prohibit emergency abortions in some extremely

16      roundabout fashion.

17                  Instead, it appears that it occurred to somebody that

18      there could be an emergency condition pertaining only to a

19      fetus; and that if a pregnant individual appeared at a hospital

20      and she was herself healthy but had a fetal condition, that the

21      hospital should be providing treatment under the same

22      circumstances.

23                  Now, none of this suggests that emergency abortions

24      have somehow become unlawful or unnecessary under EMTALA.

25      Indeed, it is meaningful that the requirement under EMTALA is




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 1      not for the doctor to actually perform a particular treatment

 2      but for the hospital to offer the treatment and to discuss the

 3      pros and cons, the risks and the benefits of the treatment.               And

 4      if after that discussion of the risks and benefits, the patient

 5      refuses to provide informed consent for the procedure, then

 6      that's the patient's prerogative.

 7                  And we have seen in some of the declarations that it

 8      does sometimes happen; that when doctors make recommendations

 9      about medical care, patients think otherwise.

10                  There are some other indications, too, post the 1989

11      amendment, that suggest that Mr. Stewart's potential

12      interpretation of the "unborn child" language doesn't work.

13                  We noted in our opening brief that Congressman Weldon,

14      the author of the Weldon Amendment -- which is designed to

15      protect from discrimination institutions that decline to provide

16      abortions -- in the legislative history of the Weldon Amendment

17      in 2005, Representative Weldon was asked:              Why doesn't your

18      amendment mean that when women are experiencing life-threatening

19      conditions, that they will be effectively dying on the operating

20      table?

21                  And his response, coming from the perspective of

22      somebody who was trying to empower institutions that decline to

23      provide abortions, was that EMTALA would govern in those

24      circumstances and that nothing in his amendment would preclude

25      the provision of that lifesaving care under federal law.




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 1                  Likewise, through the Affordable Care Act in 2010,

 2      42 U.S.C. 18023, Congress provided circumstances under which a

 3      state can exclude abortions from the health plans that are

 4      offered on the marketplace in the state.             And in so doing,

 5      Congress explicitly recognized that nothing in the Affordable

 6      Care Act was designed to overcome the provisions of EMTALA in

 7      that context.

 8                  Mr. Church also brought up the heartbeat law.              He

 9      suggested that we had endorsed the exception to the heartbeat

10      law.    And I just want to make clear that we haven't done so.

11                  The fact that we haven't expressly challenged the

12      exception in the heartbeat law doesn't mean that we have blessed

13      that particular formulation, particularly in light of the fact

14      that, under our reading of 18-8804 and -8805, that law is

15      effectively to expire later this week.

16                  I was having a hard time understanding if Mr. Church

17      was suggesting that the heartbeat law could survive to the

18      extent this Court were to enjoin the Total Abortion Ban.

19                  We certainly don't read 18-8804 and 18-8805 to provide

20      that avenue.      It says if the Total Abortion Ban becomes

21      enforceable -- which it would even if it's enjoined to the

22      extent that it's in conflict with federal law -- that the

23      heartbeat law would no longer be in effect.

24                  Your Honor, I want to go back to the point that

25      Mr. Stewart made suggesting that the statutory text doesn't




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 1      matter here, effectively, because he knows what prosecutors

 2      think.

 3                  I have no way to gauge whether or not he truly

 4      understands how the prosecutors in each county of this state

 5      think or how the voters are going to think about prosecutors

 6      they are going to elect in the future or how members of a grand

 7      jury might think before taking a complaint to a magistrate.

 8                  But the question here is how doctors are going to

 9      evaluate the statute.        And we submitted in the declarations

10      explanations from the doctors about the horrifying situation

11      that they anticipate will result from the full implementation of

12      the Total Abortion Ban.

13                  The other point about Mr. Stewart's representation and

14      the practicalities matter is the Court should take this as an

15      enormous concession.        If the legislature, and potentially the

16      State, are taking the position that the text of the statute

17      isn't real, then that means the text of the statute isn't

18      lawful.

19                  And the role of a court of law in that context is to

20      enjoin the impermissible operation of a law which will cause

21      drastic effects and dramatic consequences for pregnant

22      individuals in the state of Idaho and for physicians and for

23      medical providers.

24                  So unless the Court has further questions --

25                  THE COURT:     No.




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 1                  MR. NETTER:      -- we would ask the Court to enter the

 2      preliminary relief requested in our motion.

 3                  THE COURT:     Thank you, Mr. Netter.

 4                  Counsel, I intend to issue a written decision in this

 5      matter.    My best guess is we won't have it done until Wednesday,

 6      possibly tomorrow, but our plan is no later than Wednesday since

 7      the law takes effect on Thursday.

 8                  I will offer just one or two observations.                 I am

 9      having a hard time seeing how this is an as-applied challenge

10      where there is clearly a very narrow and, as I think, frankly,

11      Mr. Stewart has argued, a very rare, in his view, perhaps

12      nonexistent threat, but it's certainly in very limited

13      circumstances where the abortion statute would be precluded.

14                  I hope I made clear:        It seems to me it's clearly an

15      as-applied challenge, and I have a hard time seeing how this

16      could be a facial challenge.

17                  Another thought that I think I do want to observe.

18      Mr. Stewart has made a great deal that we should focus on the

19      real-world events and not on the text, the conceptual language

20      of the statute.

21                  The concern is, of course, that real-world events are

22      very hard to predict.        The text of the statute is very easy to

23      read and understand.        And I think the case law is absolutely

24      clear that it is the text that matters and that we

25      don't -- judges are not issued some kind of a crystal ball when




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 1      they're appointed to the bench that allows them to see what the

 2      facts are, but we are generally trained in interpreting the

 3      case, the statutory language.

 4                  And I think this case kind of underscores why the case

 5      law is clear that we do need to look at the text in determining

 6      whether there is a conflict between federal law and state law.

 7                  Simply put, doctors in emergency rooms and labor and

 8      delivery rooms around this state are going to be forced to

 9      navigate their way through this conflict between the abortion

10      statute and EMTALA.        I think it is not much comfort to a doctor

11      in that there is a sitting prosecutor who they think will not

12      enforce it, but no one knows for sure.

13                  And importantly, the text matters in terms of

14      impacting the decisions made by those doctors when they confront

15      a life-or-death situation involving a pregnancy that has gone

16      horribly wrong.

17                  So I think in terms of determining preemption, we have

18      to look at the statute.         And I have a very hard time seeing how

19      we can compare the abortion statute as we think it may be

20      applied to what EMTALA requires when we certainly can't rule out

21      the possibility that it will, indeed, be enforced.

22                  Indeed, the legislature would not have adopted the law

23      unless they intended that it would be enforced according to the

24      exact terms that they set forth.           I don't think our legislature

25      ever intends a law thinking that it will not be enforced




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 1      according to its terms.

 2                  And that's why I think the law is clear that that's

 3      what we look at; we look at the statutory language.                We don't

 4      guess about what a prosecutor will or won't do.               And I think

 5      I'll just leave it at that.

 6                  So there are some other concerns I've got.                 I've tried

 7      to point those out at the outset in my questioning.                We will

 8      issue a written decision.         I think, without any doubt, it will

 9      be filed no later than Wednesday so we have a clear guidance one

10      way or the other before the statute takes effect.

11                  Is there anything else, Counsel?

12                  MR. NETTER:      No, Your Honor.

13                  MR. STEWART:      No, Your Honor.

14                  MR. CHURCH:      Nothing from the State, Your Honor.

15                  THE COURT:     Then we'll be in recess.

16            (Proceedings concluded at 10:50 a.m.)

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 1                                 REPORTER'S CERTIFICATE

 2

 3

 4                  I, TAMARA I. HOHENLEITNER, CSR, RPR, CRR, certify that

 5      the foregoing is a correct transcript of proceedings in the

 6      above-entitled matter.

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14      /s/ Tamara I. Hohenleitner                            08/24/2022
        _____________________________________                 __________
15      TAMARA I. HOHENLEITNER, CSR, RPR, CRR                 Date

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                Exhibit 8
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Attorneys for Intervenor-Defendants



                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


THE UNITED STATES OF AMERICA,                Case No. 1:22-cv-00329-BLW

       Plaintiff,                            IDAHO LEGISLATURE’S BRIEF IN
                                             OPPOSITION TO THE
v.                                           GOVERNMENT’S MOTION FOR
                                             PRELIMINARY INJUNCTION
THE STATE OF IDAHO,

       Defendant,

and

SCOTT BEDKE, in his official capacity as
Speaker of the House of Representatives of
the State of Idaho; CHUCK WINDER, in his
capacity as President Pro Tempore of the
Idaho State Senate; and the SIXTY-SIXTH
IDAHO LEGISLATURE,

       Intervenor-Defendants.




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         The Speaker of the Idaho House of Representatives Scott Bedke, Idaho Senate President

Pro Tempore Chuck Winder, and the Sixty-Sixth Idaho Legislature (collectively the “Legislature”)

respectfully submit this brief in opposition to the Government’s Motion for Preliminary Injunction

(Dkt. 17).

                                  RESPONSIVE DISCUSSION

    I.       Introduction

         The preeminent issue here is one of fact, whether in the real world EMTALA 1 actually

conflicts with the 622 Statute. 2 In other words, does EMTALA ever require Idaho medical

professionals to perform a medical procedure prohibited by the 622 Statute? Section II below

addresses that factual question and makes clear that the answer is “no.” That factual question, of

course, presupposes that each of EMTALA and the 622 Statute is being given a correct reading

and accorded its proper and actual scope. Section III below addresses that subject.

         The Complaint (Dkt. 1)—as well as the United States Attorney General’s press conference

accompanying its filing—presented to the American public a picture of wide and deep conflict and

therefore a civil action of wide scope and consequence, one that would enable the performance of

hundreds and hundreds of abortions otherwise prohibited by the 622 Statute. 3 False picture. As the

volume of a large stock-water trough is to the volume of a thimble, so is the scope of the

Complaint’s false picture to the scope of what is really at stake here. And worse, the thimble is



1
  42 U.S.C. § 1395dd.
2
  Idaho Code § 18-622.
3
  Opponents of the 622 Statute, like Planned Parenthood, like to refer to it as the “Total Abortion
Ban,” a phrase that this Court itself used in its Order ruling on the Legislature’s Motion to
Intervene. Dkt. 27 at P. 2. A respect for accuracy (and an aversion to Orwellian labels) will lead
to rejection of that phrase, especially by this Court. The 622 Statute clearly does not ban all
abortions and clearly does not criminalize emergency medical procedures undertaken to preserve
the life of the mother even though the death of the preborn child is thereby made certain.
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empty; the Government has not shown and cannot show any real-world cases where medical

procedures supposedly required by EMTALA will not take place unless this Court grants the

Government its requested injunctive relief.

        The Government uses five mechanisms to present this case as being of much wider scope

and consequence than it really is. One, it deems treatment of ectopic “pregnancies” to be abortions

within the scope of the 622 Statute. This was a clumsy and unseemly blunder on the Government’s

part (although the motivation for it is clear). As the Legislature’s Reply re Intervention, Dkt. 25 at

P. 2 said: “Ectopic ‘pregnancies’ fall outside the 622 Statute’s prohibition. That is the Legislature’s

clear understanding and intent, one shared by the executive branch.” (Emphasis in original.) That

Reply went on to show that the Government almost certainly knew that it was working a deception.

Id. at 2-3. And, as Dr. Reynolds says in her declaration: “Termination of an ectopic pregnancy is

not an abortion and no competent physician would deem it to be such. It is therefore not prohibited

by the 622 Statute. Any effort to redefine abortion to include treatment of ectopic pregnancies is

medically baseless and, in my judgment, inexcusable.” See Declaration of Tammy Reynolds, M.D.

(“Reynolds Declaration”) at ¶ 12. Section II. A. below exposes this first misleading mechanism

for what it is.

        Two, directly through the testimony of the three Idaho doctor-declarants used by the

Government (and indirectly through the testimony of its Pennsylvania doctor-declarant), the

Government attempts to show that a not insubstantial number of pregnancy-related medical

emergencies in Idaho require, under EMTALA, emergency medical treatment that will result in

loss of the preborn child’s life but that the 622 Statute prohibits. This attempt fails. The declarations

of Drs. French and Reynolds establish quite clearly that the Government’s presentation is premised

on the warping of both medical realities and the proper scope and understanding of EMTALA and


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the 622 Statute. Indeed, the French and Reynolds declarations establish quite conclusively that the

Government has failed to present any credible evidence of any pregnancy-related medical

emergencies in Idaho requiring, under EMTALA, emergency medical treatment that will result in

loss of the preborn child’s life but that the 622 Statute prohibits. Section II. B. below exposes the

fatal defects in the Government’s second misleading mechanism.

       Three, the Government predicts, as if such were a present reality, the rather absurd idea

that this State’s prosecuting attorneys will in effect zealously second-guess the judgment of the

medical professionals providing emergency medical treatment to pregnant women and thereby

bring prosecutions against those involved whenever the treatment is related to the death of the

preborn child—and do so as a matter of course, if not automatically. The declaration of Prosecuting

Attorney Bryan Taylor debunks that absurd and misleading notion. Section II. C. below fully

exposes this third misleading mechanism for what it is.

       Four, the Government speaks of there being only two affirmative defenses to a prosecution

making a prima facie showing of a violation of the 622 Statute in the context of emergency medical

treatments—good-faith medical judgment that the treatment was necessary to prevent the death of

the pregnant woman and reported rape or incest. But of course, there is a third defense—that the

622 Statute is unconstitutional under the Supremacy Clause and preemption doctrines to the extent

it operates to prohibit or interfere with EMTALA’s mandate. That is the Government’s claim here,

and its filings suggest the Government’s strong belief that its claim is a slam dunk. If it is that, the

Government’s “factual” presentations about “fears of prosecution” and “chilling effects on medical

judgments” must be adjudged misleading at best. No further elaboration is required to show this

fourth misleading mechanism for what it is.




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       The Government’s fifth misleading mechanism brings us back to what we said before, that

attention to the key factual question presupposes that each EMTALA and the 622 Statute is being

given a correct reading and accorded its proper and actual scope. The Government tries to subvert

that presupposition. It constantly and without warrant tries to expand EMTALA’s supposed scope,

to minimize and distort the 622 Statute’s language limiting its own scope, and thereby to expand

the scope of the 622 Statute’s prohibition. All this for the purpose of fabricating a conflict that

does not exist but without which the Government has no case, let alone grounds for the exercise

of this Court’s extraordinary equitable powers. As noted, Section III below corrects this fifth

misleading mechanism.

       These are the Government’s five mechanisms used to paint its false picture about a

supposed actual “conflict” and hence about the scope and consequence of its case against Idaho.

       What is really at stake amounts to the content of a thimble. The Government must say (and

has tried to show but has failed to do so) that the thimble is full. We say and have shown with not

just admissible but credible evidence that the thimble is empty. The thimble is empty if all it

contains is the concept of Relevant Abortions; it has some real content to the extent, but only to

the extent, that Relevant Abortions occur in Idaho. And the law is clear that this Court can issue

an injunction against the 622 Statute’s operation in that very small realm (and only in that very

small realm) only if the thimble has something in it.

       For clarity, we state here what we mean by the phrase Relevant Abortions, with this

definition being a refined and improved version compared to our prior efforts. The phrase Relevant

Abortions means that class of emergency medical conditions (i) where medically appropriate

treatment of the mother will result in the death of the preborn child, (ii) where EMTALA requires




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that treatment, but (iii) where the 622 Statute prohibits it because it is not necessary to save the life

of the mother.

     II.      The Thimble Is Empty.

              A. Treatment of an ectopic pregnancy is not an abortion.

           It is hard to overstate how greatly the Government, in its effort to manufacture a conflict,

relies on its erroneous characterization of the medical treatment of ectopic pregnancies as abortion

and therefore within the scope of the 622 Statute’s prohibition. That this characterization is

erroneous is certain. We so demonstrated in our Reply in Support of the Legislature’s Motion to

Intervene. 4 Dr. Reynolds’s testimony, quoted above, so demonstrates. And Dr. French’s testimony

is quite thorough in exposing the falsity of this mischaracterization.

           Dr. French testifies: “I have reviewed the declaration of Dr. Lee A. Fleisher, and he uses

the example of an ectopic pregnancy as a life-threatening scenario whereby an abortion is

necessary to save the life of the mother. I agree that a life-saving procedure is necessary, but the

life-saving surgery is not considered an abortion. Idaho law does not prohibit any life-saving

surgery, even if it results in the death of the unborn child.” See Declaration of Richard Scott French,

M.D. (“French Declaration”) at ¶ 17 (emphasis added). He goes on to explain in detail why he

“would question the competence of an obstetrician who said they were going to perform an

abortion on a patient bleeding out from a ruptured ectopic pregnancy.” Id. at ¶ 18. He makes that

explanation in ¶¶ 18–20, all of which leads to this conclusion at ¶ 21:

           The life threat of an ectopic pregnancy is covered in 18-622(4) that specifies the health of

the woman is of primary importance:




4
    Dkt. 25 at 2-3.
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       Medical treatment provided to a pregnant woman by a health care professional as
       defined in this chapter that results in the accidental death of, or unintentional injury
       to, the unborn child shall not be a violation of this section.

       The only credible evidence before this Court is that the 622 Statute does not cover medical

treatments for ectopic pregnancy. That being so, there is no conflict between it and EMTALA.

           B. The Government has failed to show the presence of Relevant Abortions in Idaho.

       The grand objective of the four doctor declarations filed by the Government (Drs. Cooper,

Corrigan, Seyb, and Fleisher) is to make it appear that Relevant Abortions are not uncommon in

Idaho. But the declarations of Drs. French and Reynolds put the needle to that balloon.

       Dr. Reynolds testifies at ¶ 7:

       In this context, I note that none of the Jane Doe cases described in the declarations
       filed in this civil action by Idaho doctors Cooper, Corrigan, and Seyb constitutes a
       Relevant Abortion. That is so because, based on the plain language of those
       descriptions, each case involved an emergency medical procedure to save the life
       of the mother. In other words, in my opinion, each case involved a lawful medical
       procedure under the 622 Statute. Indeed, in my judgment and based on my
       experience, each case presented a situation where no informed, competent
       professional would second-guess the legality of the procedure.

       Dr. French goes into great detail in his analysis of each of Jane Doe cases set forth in the

declarations of the Government’s three Idaho doctors and also into Dr. Fleisher’s hypotheticals.

See French Declaration at ¶¶ 17–29 (rebutting Dr. Fleisher’s hypotheticals); id. at ¶¶ 30–55

(explaining and correcting the Jane Doe accounts of the three Idaho doctors). On that strong basis,

he is able to provide this clear and powerful conclusion:

       I have reviewed the declarations submitted by Dr. Lee A. Fleisher, Dr. Emily
       Corrigan, Dr. Kylie Cooper, Dr. Stacy T. Seyb and the cases they present. In my
       opinion, the examples of pregnancy-related medical emergencies in these
       declarations are presented in a way that creates a false conflict/false dichotomy
       between the life and health of the mother and the life and health of the unborn child
       and appear to assume that under Idaho Code § 18-622, physicians will give the
       health and welfare of the mother less consideration than the health and welfare of
       the unborn child. In my experience, in the emergency situations presented in these
       examples and anticipated by EMTALA, the subordination of the mother’s life and

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          health in favor of the unborn child by a physician has not and will not occur.
          Further, these same physicians would never interpret Idaho Code 18-622 to mean
          that the mother’s health and welfare are secondary to the baby. Every physician
          understands the Hippocratic Oath of “do no harm”, and physicians certainly
          understand that the baby’s health is dependent upon the mother’s health. This is
          why in the tragic and rare circumstances whereby the mother dies, then a post-
          mortem C-section is promptly performed. Since there is no chance to save the
          mother, then the focus turns to the baby’s health.

      Id. at ¶ 9.

          What we said before merits repeating: The declarations of Drs. French and Reynolds

establish quite conclusively that the Government has failed to present any credible evidence of any

pregnancy-related medical emergencies in Idaho requiring, under EMTALA, emergency medical

treatment that will result in loss of the preborn child’s life but that the 622 Statute prohibits. No

Relevant Abortions, therefore no conflict between EMTALA and the 622 Statute.

          Dr. Reynolds’s declaration in particular teaches of the rarity of emergency medical

procedures undertaken to save the life of the mother and resulting in the death of the preborn child.

Reynolds Declaration at ¶¶ 3, 6. The official data fully support her declaration. The Idaho

Department of Health and Welfare collects data from treating physicians on abortions where (i)

the patient is under 18, (ii) the postfertilization age of the preborn child is undetermined, and (iii)

the postfertilization age is over 20 weeks. That data, going back to 2007 for # 1 and 2013 for # 2

and # 3, gives these numbers for emergency medical procedures undertaken to save the life of the

mother and resulting in the death of the preborn child: for # 1, one procedure since 2007; for # 2,

zero since 2013; and for # 3, four since 2013. See Declaration of Pam Harder (with Exhibits A and

B).

          Yet more credible evidence that the thimble is empty.




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           C. As it will be applied by Idaho’s prosecuting attorneys, the 622 Statute poses no
              threat of interference with any EMTALA-required medical procedure or of
              causing any “fears” or “chills” in any competent medical professional.

       As with the treatment of ectopic pregnancies, it is hard to overstate the extent to which the

Government relies on its third misleading mechanism. That mechanism is to misread (minimize)

the language in the 622 Statute that limits its own scope and to misread (maximize) the scope of

its prohibition—and then to assume that this State’s prosecuting attorneys will zealously second-

guess the judgment of the medical professionals providing emergency medical treatment to

pregnant women and thereby bring prosecutions against those involved whenever the treatment is

related to the death of the preborn child—and do so as a matter of course, if not automatically.

False picture and one painted without any factual support.

       We believe that the only admissible, credible evidence before this Court relevant to this

third mechanism will be to this effect: When some serious medical condition exists that requires

an emergency medical procedure under EMTALA, with that procedure ending the life of the pre-

born child, this State’s prosecuting attorneys, in the standard and ordinary exercise of their

prosecutorial discretion, will not second-guess the judgments and decisions of the involved

medical professionals. Indeed, they will not even seriously consider prosecuting under the 622

Statute. There is one caveat to these facts but one that helps the Government not at all: if a

prosecuting attorney were to receive clear and convincing evidence that the procedure was done

in bad faith, that is, as a fabricated emergency medical condition and a sham designed to evade the

622 Statute, then they will seriously consider prosecution.

       We base this summary of the evidence on conversations with multiple Prosecuting

Attorneys in Idaho. We believe in good faith that we will be filing a declaration from one of them

by our Wednesday, August 17, 2022, noon filing deadline. We also believe in good faith that, if


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this Court allows live testimony, through the use of our subpoena power this Court will hear

testimony fully consistent with our summary above and none materially contrary to it.

          On this basis, we respectfully submit that, yet again, the Government’s picture of a conflict

between EMTALA and the 622 Statute is fabricated and false, without any foundation in fact.

   III.      The Correct Factual and Legal Understanding of the Scope of Both EMTALA
             and the 622 Statute Defeats the Government’s Efforts to Warp and Distort Their
             Scope.

             A. A correct factual understanding of the scope of the two statutes, founded on
                the realities of emergency medicine, reveals the thimble to be empty.

          Dr. Reynolds’s declaration at ¶ 8 teaches that “part of a treating Ob-Gyn physician’s duty

of care is possession of accurate knowledge of the language and real-world application of the

jurisdiction’s laws regulating abortion.” Dr. French’s declaration demonstrates an Idaho physician’s

fulfillment of that duty. Dr. French provides careful analysis of the actual language of the 622

Statute, including its language limiting its own scope, and—and this is important—how in the real

world of emergency medicine that language applies. This analysis appears throughout his declaration.

          We have already quoted above the French Declaration at ¶ 9 where he demonstrates the

error of the Government’s doctors’ false assumption that under the 622 Statute “physicians will

give the health and welfare of the mother less consideration than the health and welfare of the

unborn child.” This assumption is false exactly because “in the emergency situations presented in

these examples [real and hypothetical given by the Government’s doctors] and anticipated by

EMTALA, the subordination of the mother’s life and health in favor of the unborn child by a

physician has not and will not occur.” Id. In turn, this is so exactly because “these same physicians

would never interpret Idaho Code 18-622 to mean that the mother’s health and welfare are

secondary to the baby.” Id.



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        Continuing to apply the 622 Statute in the context of real-world emergency medicine, Dr.

French testifies regarding the Government doctors’ real and hypothetical cases and “similar

procedures in the same or similar circumstances”:

        The Idaho law as written in no way precludes this life-saving procedure or other
        similar procedures in the same or similar circumstances. As stated in Section 18-
        622(4):

        Medical treatment provided to a pregnant woman by a health care professional as
        defined in this chapter that results in the accidental death of, or unintentional injury
        to, the unborn child shall not be a violation of this section.

Id. at ¶ 15. See also id. at ¶ 21.

        Turning to EMTALA, Dr. French testifies that “EMTALA is designed and intended simply

to facilitate the transfer of patients to facilities that have the capacity to treat them – it is not a

statute that mandates any particular type of treatment, but rather “stabilizing treatment” until the

patient can be transferred.” Id. at 10. This is important because, relative to many of the real and

hypothetical cases presented by the Government’s doctors, those doctors are assuming “that every

hospital has the capability to take care of high-risk pregnancy cases.” Id. Obviously, that is not

true “in a rural state such as Idaho.” Id. And here is a further error in the “scenarios presented in

[the Government doctors’] declarations”—those scenarios “imply that in extreme emergency

situations, the physician may be confused as to whether his or her first duty is to abort babies or

save the life of the mother before transferring her to an appropriate hospital.” In the real world,

that confusion simply does not happen; the emergency medical providers “the most appropriate

action to save the mother’s life [which] is to send [her] to the closest hospital with the appropriate

resources and personnel for the care of a critically ill pregnant woman.” Id.

        In ¶ 23, Dr. French goes on to explain how specific provisions of EMTALA apply when

“the patient is too unstable to transport and the transferring hospital is unable to provide the proper


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medications or treatments necessary to ‘stabilize’ the patient.” One provision limits the hospital’s

EMTALA obligation to provide such screening and treatment as may be within the resources of

“‘the staff and facilities available at the hospital.’ (42 U.S.C. § 1395dd(b)(1)(a).)” Id. The second

provision provides that EMTALA does not prohibit the transfer of an unstable patient upon a

particular medical judgment: when, “based upon the information available at the time of transfer,

the medical benefits reasonably expected from the provision of appropriate medical treatment at

another medical facility outweigh the increased risks to the individual and, in the case of labor, to

the unborn child from effecting the transfer.” This language is from 42 U.S.C. §

1395dd(c)(1)(A)(ii). Id. These EMTALA provisions, which Idaho emergency medical providers

apply routinely, show the unworldly, unrealistic nature of one of Dr. Fleisher’s key hypothetical

examples. Id. at ¶ 22.

       All this careful analysis of the correct meaning and application of EMTALA and the 622

Statute in the real world sustains Dr. French’s key conclusion that “in the emergency situations

presented [by the Government’s doctors] . . . and anticipated by EMTALA, the subordination of

the mother’s life and health in favor of the unborn child by a physician has not and will not occur.”

Id. at ¶ 9 (emphasis added). “Further, these same physicians would never interpret Idaho Code 18-

622 to mean that the mother’s health and welfare are secondary to the baby.” Id. (emphasis added).

       The true picture presented by Dr. French is a much-needed antidote to the Government’s

misleading picture of a state law of draconian reach wreaking havoc in the world of emergency

medicine (the 622 Statute) and of a federal law that has as its purpose and effect—surprise—rolling

back Dobbs’ restoration to the States of their Tenth Amendment right, power, and authority to

regulate abortion, including the making of all the hard moral decisions that right, power, and




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authority require. Attention to Dr. French’s analysis leads to the confident conclusion that, instead

of havoc, there is harmony. Certainly, there is no conflict between EMTALA and the 622 Statute.

       So, yes, as a matter of fact, the thimble is empty.

          B. A correct legal understanding of the scope of the two statutes, especially
             EMTALA, also reveals the thimble to be empty.

       We have in hand a thorough-going analysis of the law governing any invocation and

application of EMTALA. That analysis demonstrates that the Government’s invocation and

application of EMTALA here are accurately seen as wrong and abusive. Because of this Court’s

currently in-place order limiting the Legislature to fact issues and precluding it from making legal

arguments, we cannot present that analysis in this brief and can only hope that the Attorney

General’s Office adequately mirrors what we have in hand (which we have shared with it).

       Our legal analysis demonstrates that:

    1. EMTALA does not preempt the 622 Statute expressly.

    2. EMTALA does not impliedly preempt the 622 Statute.

    3. The Government’s interpretation of EMTALA conflicts with serious constitutional

        doctrines.

       a. As read by the Government, EMTALA poses serious separation-of-powers conflicts

           because of the statute’s deprivation of state authority affirmed by the United States

           Supreme Court in Dobbs.

       b. As read by the Government, EMTALA poses serious concerns that it violates the Major

           Questions Doctrine.

       c. As read by the Government, EMTALA poses serious concerns that it violates the limits

           of the Spending Clause.



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        In the event this legal analysis is not adequately presented to the Court in defense of the

622 Statute, we will promptly accept this Court’s prior invitation to seek a modification of the

existing limits on the scope of the Legislature’s intervention so as to be able to present the legal

analysis to this Court.

Dated this 16th day of August, 2022.

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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 16th day of August, 2022, I electronically filed the foregoing
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  In the United States Court of Appeals for the Ninth Circuit
__________________________________________________________________
                    UNITED STATES OF AMERICA,
                         Plaintiff-Appellee,
                                  v.
                       THE STATE OF IDAHO,
                       Defendant-Appellant.

                    UNITED STATES OF AMERICA,
                         Plaintiff-Appellee,
                                  v.
                        THE STATE OF IDAHO
                             Defendant,
                                  v.
  MIKE MOYLE, Speaker of the Idaho House of Representatives; et al.,
                      Intervenors-Appellants.
__________________________________________________________________
            Appeal from the United States District Court
                      for the District of Idaho
                    Honorable B. Lynn Winmill
                       (1:22-cv-00329-BLW)
__________________________________________________________________
        OPENING BRIEF OF INTERVENORS-APPELLANTS
                 THE IDAHO LEGISLATURE
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             CORPORATE DISCLOSURE STATEMENT

     As the elected leaders of a branch of the Idaho State government,

Intervenors-Appellants are not required to submit a corporate disclosure

statement under Federal Rules of Appellate Procedure (FRAP) 26.1(a).
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                             INTRODUCTION

      This appeal will decide whether the United States can transform

an obscure federal statute into a nationwide abortion mandate—when

Congress plainly intended to foreclose that result. At issue is a

preliminary injunction prohibiting the State of Idaho from enforcing

Idaho Code § 18-622 1 (section 622) on the sole ground that it conflicts

with the Emergency Medical Treatment and Labor Act (EMTALA), 42

U.S.C. § 1395dd, by outlawing abortions under circumstances when the

government says that EMTALA requires it.

      But the injunction has no foundation because the federal-state

conflict it purportedly stands on does not exist. Two non-preemption

clauses, 42 U.S.C. §§ 1395dd(f) and 1395, prevent EMTALA from

overriding state laws like section 622 that circumscribe the availability

of particular medical procedures like abortion. EMTALA says nothing

about abortion. But it does repeatedly express a hospital’s duty to care

for   both   a   pregnant    woman     and    her   unborn    child.   See   42

U.S.C. §§ 1395dd(e)(1)(A)(i),     1395dd(e)(1)(B)(ii),     1395dd(c)(1)(A)(ii),




1Unless otherwise indicated, all references to section 622 are to the
amended version in effect as of July 1, 2023.
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1395dd(c)(2)(A). EMTALA nowhere pits the health or safety of one

against the other.

     Embracing the United States’ novel reading of EMTALA leads to

grave results. The preliminary injunction rests on the exercise of

significant executive power without clear congressional authority,

contrary to the major questions doctrine. What’s more, the injunction

violates the Tenth Amendment by expanding federal power at the

expense of state authority to regulate abortion, confirmed in Dobbs v.

Jackson Women’s Health Organization, 142 S. Ct. 2228 (2022), and by

transgressing the anticommandeering doctrine. Likewise, the injunction

validates a reading of EMTALA contrary to the Spending Clause. The

United States has tried to coerce the State of Idaho into complying with

the EMTALA mandate by threatening to deprive the State of all

Medicare funding, even though federal aid for emergency medical care

under EMTALA is a minor part of the Medicare program. And the

government presses this demand even though the supposed mandate is

retroactive. Since the decision below is incorrect as a matter of law, it

should be reversed and the preliminary injunction vacated.
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                     JURISDICTIONAL STATEMENT

        The district court had federal question jurisdiction under 28 U.S.C.

§ 1331. This Court has jurisdiction under 28 U.S.C. § 1292 because the

appeal is from a district court order refusing to dissolve a preliminary

injunction. The appeal is timely because a notice of appeal was filed on

July 3, 2023, within 60 days after the district court’s order denying the

Legislature’s motion for reconsideration, and the United States is a

party. See FRAP 4(a)(1)(B)(i).

                            ISSUES PRESENTED

        1. Does the Emergency Medical Treatment and Labor Act

(EMTALA), 42 U.S.C. § 1395dd, preempt Idaho Code § 18-622 (section

622)?

        2. If EMTALA does not require Medicare-funded hospitals to

perform abortions, did the district court err as a matter of law by issuing

a preliminary injunction prohibiting the enforcement of section 622?

                                  ADDENDUM

        An addendum containing pertinent statutes is included herein at

the close of this brief. 9th Cir. R. 28-2.7.
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                       STANDARD OF REVIEW

     Although the district court’s grant of a preliminary injunction is

reviewed for abuse of discretion, see United States v. California, 921 F.3d

865, 877–78 (9th Cir. 2019), “[t]he district court’s interpretation of the

underlying legal principles … is subject to de novo review and a district

court abuses its discretion when it makes an error of law.” Sw. Voter

Registration Educ. Project v. Shelley, 344 F.3d 914, 918 (9th Cir. 2003)

(en banc)). Questions of law are reviewed de novo. See United States v.

Paulk, 569 F.3d 1094, 1095 (9th Cir. 2009); United States v. Kuchinski,

469 F.3d 853, 857 (9th Cir. 2006).

                      STATEMENT OF THE CASE

I.   Statutory Background

     This appeal involves a preliminary injunction blocking the

enforcement of section 622, which makes abortion a crime unless

authorized by statute, because it supposedly conflicts with EMTALA. But

the conflict is false. EMTALA is governed by two non-preemption clauses

demonstrating that Congress did not intend to override state laws like

section 622. Even if not, statutory text disclaims that EMTALA requires

access to abortion.
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     A.    EMTALA

     EMTALA obligates Medicare-funded hospitals to provide medical

treatment for emergency medical conditions, regardless of a patient’s

ability to pay. See 42 U.S.C. § 1395dd. EMTALA obligates a Medicare-

participating hospital to (1) perform “an appropriate medical screening

examination” to see whether the patient has an emergency medical

condition, id. § 1395dd(a); (2) conduct a further medical exam along with

“such treatment as may be required to stabilize the medical condition” or

send the patient “to another medical facility,” id. § 1395dd(b)(1); and (3)

transfer a patient with an emergency medical condition that has not been

stabilized only as provided and where “appropriate,” id. § 1395dd(c)(1).

     Central to these duties is EMTALA’s definition of “emergency

medical condition”:

     (A) a medical condition manifesting itself by acute symptoms
     of sufficient severity (including severe pain) such that the
     absence of immediate medical attention could reasonably be
     expected to result in—(i) placing the health of the individual
     (or, with respect to a pregnant woman, the health of the woman
     or her unborn child) in serious jeopardy, (ii) serious
     impairment to bodily functions, or (iii) serious dysfunction of
     any bodily organ or part; or (B) with respect to a pregnant
     woman who is having contractions—(i) that there is
     inadequate time to effect a safe transfer to another hospital
     before delivery, or (ii) that transfer may pose a threat to the
     health or safety of the woman or the unborn child.
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42 U.S.C. § 1395dd(e)(1) (emphasis added); accord 42 C.F.R. § 489.24.

     This definition highlights Congress’s solicitude toward a pregnant

woman and her unborn child. EMTALA requires emergency medical

care for both of them. The statute obligates hospitals to consider the

health of either when determining whether “immediate medical

attention” is needed and whether a transfer might jeopardize “the

health or safety” of either. 42 U.S.C. § 1395dd(e)(1).

     Noncompliance carries severe consequences. A hospital or

physician “that negligently violates” EMTALA “is subject to a civil money

penalty of” up to $50,000 per violation. Id. § 1395dd(d)(1)(A), (B). One

whose violations are “gross and flagrant or is repeated” may be excluded

“from participation in [Medicare] and State health care programs.” Id. §

1395dd(d)(1)(B).

     B.    Idaho Abortion Law

     In 2020, Idaho adopted three statutes regulating abortion. One

prohibits abortions after a fetal heartbeat has been detected. IDAHO CODE

§ 18-8804. This statute was intended as a stopgap measure until Roe v.

Wade, 410 U.S. 113 (1973) was overruled. See IDAHO CODE § 18-8805(4).

Another statute creates a cause of action against persons who perform an
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abortion contrary to Idaho law. Id. § 18-8807(1). The third statute is

section 622, the subject of this appeal. See id. § 18-622(1).

      Section 622 makes it a crime to perform an abortion unless

authorized by statute. See id. That proscription restores long-held Idaho

policy. See Planned Parenthood Great Nw. v. State, __ P.3d __, 2022 WL

3335696, at *6 (Idaho Aug. 12, 2022) (describing how Idaho law regarded

abortion as a crime, with exceptions, from territorial days until Roe).

     Idaho law defines abortion as “the use of any means to intentionally

terminate the clinically diagnosable pregnancy of a woman with

knowledge that the termination by those means will, with reasonable

likelihood, cause the death of the unborn child.” IDAHO CODE § 18-604(1).

Section 622 prohibits physicians from performing an abortion unless an

exception applies to save the mother’s life or (during the first trimester)

to terminate a pregnancy resulting from rape or incest. Id. §§ 622(2)(a),

(b). These exceptions apply when a physician acts out of “good faith

medical judgment and based on the facts known to the physician at the

time.” Id. Also, a doctor faces no liability when treating a pregnant

mother accidentally results in the death of an unborn child. Id. § 622(4).
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Section 622 exempts a woman who obtains an abortion from liability

altogether. Id. § 622(5).

     The original version of section 622 provided that it would come into

effect 30 days after “[t]he issuance of the judgement in any decision of the

United States supreme court that restores to the states their authority

to prohibit abortion.” Id. § 622(1)(a) (repealed). Dobbs, 142 S. Ct. at 2228,

triggered this effective date. There, the Supreme Court overruled Roe and

held that “[t]he Constitution does not prohibit the citizens of each State

from regulating or prohibiting abortion.” Id. at 2284. The Dobbs

judgment issued on July 26, 2022, making section 622 presumptively

effective on August 25. See Docket Statement, Dobbs v. Jackson Women’s

Health Org., No. 19-1392, at https://www.supremecourt.gov/search.aspx?

filename=/docket/docketfiles/html/public/19-1392.html.

     Section 622 was amended during the 2023 legislative session. See

H.B. 374, 67th Leg., 1st Sess. (Idaho 2023) (eff. July 1, 2023). It received

a new title, the “Defense of Life Act,” and the provision triggering the

effective date was repealed. Id. Affirmative defenses allowing a physician

to avoid prosecution were replaced by straightforward exceptions. See

IDAHO CODE § 622(2). Those amendments are pertinent on appeal since
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this Court will “apply the law in effect at the time it renders its decision.”

Bradley v. Sch. Bd. of Richmond, 416 U.S. 696, 711 (1974).

II.   Procedural History

      A.     The Complaint

      Shortly before section 622 became effective, the United States filed

a complaint challenging its validity. 4-LEG-ER-570. The timing created

needless urgency, as the district court pointed out. The government

“chose to delay filing this case and its motion for preliminary injunction

for over six weeks after the Supreme Court issued the Dobbs decision.”

Mem. Decision and Order, 4-LEG-ER-533.

      The complaint alleges that section 622 violates the Supremacy

Clause of the federal Constitution by conflicting with EMTALA. 4-LEG-

ER-572. On the government’s telling, EMTALA requires Medicare-

participating hospitals to perform an abortion whenever a pregnant

woman suffers from an “emergency medical condition” demanding it. 4-

LEG-ER-571. Section 622 conflicts with that requirement because it

punishes doctors delivering medical care supposedly required by

EMTALA. See 4-LEG-ER-572. Section 622 thereby violates the

Supremacy Clause and is preempted. See id.
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     Preemption follows, the government says, because “medical care

that a state may characterize as an ‘abortion’ is necessary emergency

stabilizing care that hospitals are required to provide under EMTALA.”

4-LEG-ER-571. Hence section 622 is preempted because EMTALA

mandates abortions that section 622 prohibits. 4-LEG-ER-572.

     The United States sought a declaratory judgment stating that

section 622 is preempted and that “Idaho may not initiate a prosecution

against, seek to impose any form of liability on, or attempt to revoke the

professional license of any medical provider based on the provider’s

performance of an abortion that is authorized under EMTALA.” 4-LEG-

ER-585. The government also demanded a preliminary and permanent

injunction against section 622. Id.

     B.    The Preliminary Injunction

           1.    Motions practice

     Less than a week after the complaint, the Legislature sought to

intervene as of right. See Idaho Legislature’s Motion to Intervene, 4-LEG-

ER-564. The district court denied intervention as of right but granted

permissive intervention. 4-LEG-ER-515. A later order denied the
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Legislature’s renewed motion to intervene, 2-LEG-ER-118, and that

order is also on appeal. 2-LEG-ER-81(Case No. 23-35153).

     The United States sought a preliminary injunction against section

622. See Mot. for Prelim. Inj., 4-LEG-ER-562. Specifically, the

government said that it was likely to succeed on the merits because

EMTALA requires physicians to perform abortions as emergency care

under circumstances that section 622 prohibits. United States’ Mem. ISO

Mot. for Prelim. Inj., 4-LEG-ER-548–557. The government added that

section 622 would “result in irreparable harm to the public” and to the

government’s “sovereign interests [in enforcing EMTALA].” 4-LEG-ER-

557. It claimed that the balance of equities favored an injunction since

the government’s “sovereign interest” was critical, 4-LEG-ER-559, while

“the State of Idaho will suffer no cognizable harm” because section 622

“is not currently in effect, has never been in effect, and therefore

enjoining it … would simply preserve the status quo.” 4-LEG-ER-560.

           2. August 2022 Order

     The day before section 622 was due to become effective, the district

court issued a preliminary injunction preventing its enforcement. Mem.
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Decision and Order of Aug. 24, 1-LEG-ER-14.2

     The principle of federal supremacy drove that result. In particular,

the district court ruled that the United States would “likely succeed on

the merits” because “state law must yield to federal law when it’s impos-

sible to comply with both,” and section 622 “conflicts with” EMTALA. 1-

LEG-ER-16. Chiefly, the court relied on a clause preempting state law

“to the extent that the [state law] directly conflicts.” 42 U.S.C. §

1395dd(f). The court cited circuit precedent construing the phrase “di-

rectly conflicts” in terms of impossibility and obstacle preemption. See 1-

LEG-ER-32 (citing Draper v. Chiapuzio, 9 F.3d 1391, 1393 (9th Cir.

1993)). So the court considered each form of preemption.

     Section 622 fails impossibility preemption, the court said, because

“EMTALA obligates the treating physician to provide stabilizing treat-

ment, including abortion care” and “Idaho statutory law makes that

treatment a crime.” Id. Nor do section 622’s former provisions, offering

an affirmative “defense to prosecution” for a physician who performs an


2 The notice of appeal identified only the May Order denying the motion

for reconsideration under FRCP 59(e), but an appeal from such an order
“merges with the prior determination.” Bannister v. Davis, 140 S. Ct.
1698, 1703 (2020). As such, this brief will address both the August and
May orders concerning the preliminary injunction.
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abortion for reasons authorized by statute, Idaho Code § 18-622(3) (re-

pealed), “cure the impossibility.” 1-LEG-ER-33. The “straightforward

example” of a medical condition for which section 622 does not allow an

abortion is “an ectopic pregnancy.” 1-LEG-ER-20. During a hearing on

the injunction, “the State conceded that the procedure necessary to ter-

minate an ectopic pregnancy is a criminal act.” 1-LEG-ER-21. This, even

though “[i]t is undisputed that an ectopic pregnancy in a fallopian tube

is an emergency medical condition that places the patient’s life in jeop-

ardy,” 1-LEG-ER-20, and section 622 expressly authorizes an abortion “to

prevent the death of the pregnant woman.” IDAHO CODE § 18-622(3)(a)

(unamended version). Other serious complications of pregnancy include

preeclampsia, the possibility of sepsis, a blood clot, or a placental abrup-

tion. See 1-LEG-ER-21–22. The court credited the government’s

contention that since section 622 does not authorize an abortion for these

conditions, when EMTALA requires treatment, it is “impossible for phy-

sicians to comply with both statutes.” 1-LEG-ER-35.

     Section 622 fails obstacle preemption, the district court wrote, be-

cause “Idaho’s criminal abortion law will undoubtedly deter physicians

from providing abortions in some emergency situations.” 1-LEG-ER-39.
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EMTALA serves the purpose of “establish[ing] a bare minimum of emer-

gency care that would be available to all people in Medicare-funded

hospitals.” 1-LEG-ER-38. Section 622 allegedly poses an obstacle to that

purpose by “deter[ring] physicians from providing abortions in some

emergency situations.” 1-LEG-ER-39. In fact, the court complained that

“the structure of Idaho’s criminal abortion law—specifically that it pro-

vides for an affirmative defense rather than an exception—compounds

the deterrent effect and increases the obstacle it poses to achieving the

goals of EMTALA.” 1-LEG-ER-39–40.

     On these grounds, the district court concluded that section 622 “di-

rectly conflicts” with EMTALA, 42 U.S.C. § 1395dd(f), and is therefore

preempted. 1-LEG-ER-32, 38. The court denied that Dobbs had any bear-

ing. “Dobbs did not overrule the Supremacy Clause. Thus, even when it

comes to regulating abortion, state law must yield to federal law.” 1-LEG-

ER-51.

     The August Order thus “restrains and enjoins the State of Idaho,

including all of its officers, employees, and agents, from enforcing Idaho

Code § 18-622(2)-(3) as applied to medical care required by [EMTALA].”
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1-LEG-ER-51. Specifically, Idaho officials may not enforce section 622

against the following:

     [A]ny medical provider or hospital based on their performance of
     conduct that (1) is defined as an “abortion” under Idaho Code § 18-
     604(1), but that is necessary to avoid (i) “placing the health of” a
     pregnant patient “in serious jeopardy”; (ii) a “serious impairment to
     bodily functions” of the pregnant patient; or (iii) a “serious dysfunc-
     tion of any bodily organ or part” of the pregnant patient, pursuant
     to 42 U.S.C. § 1395dd(e)(1)(A)(i)–(iii).

1-LEG-ER-52.

      This rendition of EMTALA omits relevant language guaranteeing

emergency medical care for unborn children. See 42 U.S.C. §§

1395dd(e)(1)(A)(i), 1395dd(e)(1)(B)(ii).

           3.    Motions to Reconsider

     Two weeks later, the Legislature filed a Motion for Reconsideration.

2-LEG-ER-270; see also 2-LEG-ER-247. It explained that the district

court overlooked how the hearing showed that the federal government’s

interpretation wars with EMTALA’s text. 2-LEG-ER-253. EMTALA

obligates a physician to protect both “the health of the woman or her

unborn child.” Id. (quoting 42 U.S.C. § 1395dd(e)(1)(A) (emphasis

added)). The Legislature pointed out the bitter irony of construing that

statutory command to mean that EMTALA requires physicians to
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perform abortions—a medical treatment, to state the obvious, which is

fatal to an “unborn child.” 2-LEG-ER-253–254. The Legislature also

argued that precedents rejected this reading of EMTALA and repudiated

“the government’s attempt to use EMTALA as a wedge to leverage federal

control over state abortion laws.” 2-LEG-ER-256. As the Legislature

explained, the court had been misled by the United States’ overbroad

reading of EMTALA when issuing an insupportable preliminary

injunction. 2-LEG-ER-258. And the Legislature argued that those errors

raise serious objections under the major questions doctrine, the

Supremacy Clause, Article III, the Spending Clause, and the Tenth

Amendment. See 2-LEG-ER-260.

           4. May 2023 Order

     Nine months after the preliminary injunction issued, the district

court denied the Legislature’s motion for reconsideration. See Memoran-

dum Decision and Order of May 4, 1-LEG-ER-2 (May Order). Reaffirming

its August Order, the court found “no reason to reconsider its decision …

and the injunction stands.” 1-LEG-ER-12. The court brushed aside argu-

ments presented during the initial round of briefing, finding that the
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Legislature and AGO “failed to carry their heavy burden on reconsidera-

tion.” 1-LEG-ER-6.

     The district court minimized an Idaho Supreme Court decision

holding that section 622 is valid under the state constitution, Planned

Parenthood Great Nw. v. State, 522 P.3d 1132 (Idaho 2023). 2-LEG-ER-

132.3 Despite that result, the district court concluded that the Idaho

decision “confirms each of the fundamental principles that underpinned

this Court’s decision.” 1-LEG-ER-8. Although the Idaho court confirmed

that section 622 does not apply to ectopic or nonviable pregnancies and

that section 622’s defenses take into account the subjective judgement of

the individual physician who performed the abortion, these clarifications

did not “fundamentally alter” the district court’s analysis on preemption.

Id. In the district court’s opinion, what matters is that “EMTALA

requires physicians to offer medical care that state law criminalizes.” 1-

LEG-ER-9. The May Order does not acknowledge amendments to section

622 that replace its affirmative defenses with exceptions. Nor does the

decision below mention the Legislature’s constitutional objections to the


3 The Legislature and the Idaho Office of the Attorney General (AGO)

filed supplemental briefing to address the implications of the Idaho Su-
preme Court decision. See 2-LEG-ER-84; 2-LEG-ER-103.
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preliminary injunction. Accordingly, the court denied the Legislature’s

and AGO’s motions for reconsideration, 2-LEG-ER-270, and left the

preliminary injunction in place. 1-LEG-ER-12.

     Other than denying the Legislature’s and AGO’s motions for

reconsideration, the district court has taken no other steps to resolve the

case. Cf. Melendres v. Arpaio, 695 F.3d 990, 1003 (9th Cir. 2012)

(applauding a district court for “proceed[ing] to trial and otherwise

mov[ing] towards a final judgment in the case without waiting for our

interlocutory review”).

     C.    Related State Court Litigation

     While this case unfolded, parallel litigation took place before the

Idaho Supreme Court. Planned Parenthood of the Great Northwest

challenged all three Idaho abortion statutes as contrary to the Idaho

Constitution. That state litigation holds important implications for the

decision below.

     Like the United States here, Planned Parenthood sought a

preliminary injunction to prevent the operation of the Idaho abortion

statutes, but the Idaho Supreme Court declined. See Planned Parenthood

Great N.W. v. State, 2022 WL 3335696. That court held that the challenge
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to section 622 lacked a “substantial likelihood of success on the merits”

because Planned Parenthood was essentially “asking this Court to …

declare a right to abortion under the Idaho Constitution when—on its

face—there is none.” Id. at *6.

     Nor did Planned Parenthood fare any better on the merits. The

Idaho Supreme Court held that it “cannot read a fundamental right to

abortion into the text of the Idaho Constitution.” Planned Parenthood,

522 P.3d at 1148. The court explained that “there simply is no support

for a conclusion that a right to abortion was ‘deeply rooted’ at the time

the [Idaho Constitution] was adopted.” Id. All three Idaho statutes were

sustained under the Idaho Constitution. Id. at 1147. Significant for this

case, the court determined that “ectopic and non-viable pregnancies” are

outside the scope of section 622. Id. at 1202. “Thus, treating an ectopic

[or other non-viable pregnancy], by removing the fetus is plainly not

within the definition of ‘abortion’ as criminally prohibited by [section

622].” Id. at 1203.
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     D.    Appeal

      A timely notice of appeal followed on July 3, 2023, ECF No. 138, 4-

LEG-ER-587. This brief is filed within the deadline prescribed under the

recent scheduling order. See Order of July 20, 2023, Dkt. No. 7.

                     SUMMARY OF ARGUMENT

     This appeal concerns a preliminary injunction founded on a non-

existent conflict between federal and state law. The district court

accepted the federal government’s novel claim that EMTALA requires

Medicare-funded hospitals to perform abortions as emergency care and

that section 622 is preempted insofar as it conflicts with that

requirement. 1-LEG-ER-32–47; 1-LEG-ER-9–12. For that reason, the

district court issued a preliminary injunction barring the enforcement of

section 622 insofar as it conflicts with EMTALA. See 1-LEG-ER-51–52.

     That decision is incorrect and should be reversed. EMTALA is not

a nationwide abortion mandate, section 622 does not prevent medical

care for pregnant women in distress, and the federal-state conflict

accepted by the district court as justification for enjoining section 622 is

riddled with multiple defects.
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     Consider the federal side of the government’s purported conflict.

Two non-preemption clauses governing EMTALA preclude it from

preempting a state law like section 622.

     First, EMTALA says that it preempts only when state law “directly

conflicts.” 42 U.S.C. § 1395dd(f). That language excludes preemption

based on an implied duty not in EMTALA’s text. Since EMTALA does not

expressly require hospitals to perform abortions as emergency care,

Idaho’s section 622 poses no conflict with it. Second, EMTALA is

governed by a non-preemption provision in the Medicare Act, id. § 1395,

of which EMTALA is a part. That provision—binding on EMTALA—

denies federal authority to preempt state standards of medical care like

Idaho’s restrictions on abortion.

     Even without these obstacles to preemption, the decision below is

faulty. EMTALA repeatedly directs a hospital to deliver medical care to

a    pregnant     woman         and   her     unborn       child.   See     42

U.S.C. §§ 1395dd(e)(1)(A)(i),     1395dd(e)(1)(B)(ii),     1395dd(c)(1)(A)(ii),

1395dd(c)(2)(A). Although EMTALA does not describe particular forms of

medical   treatment,    it   unambiguously      requires    Medicare-funded

hospitals to care for unborn children.
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     Construing EMTALA as a national abortion mandate also runs

headlong into the major questions doctrine. Few issues are more

politically consequential than deciding whether and when an abortion

should be legal. EMTALA says nothing about abortion but repeatedly

directs hospitals and physicians to deliver medical treatment to a

pregnant woman and her unborn child. Yet the United States claims that

this obscure statute guaranteeing emergency medical care for patients at

Medicare-funded hospitals contains a sub silentio requirement to perform

abortions. It is hard to imagine a tinier mousehole or a larger elephant

than what the United States contrives here. See Whitman v. American

Trucking Assns., Inc., 531 U.S. 457, 468 (2001) (Congress does not “hide

elephants in mouseholes”). And it makes no difference that the United

States as a whole rather than an individual agency asserts that power.

Allowing the Executive Branch to assert significant executive power

without clear congressional authority undermines the major questions

doctrine’s dual rationale of the separation of powers and sensible

statutory construction.

     The state side of the government’s supposed conflict is no less

mistaken. Section 622 does not bar doctors from treating a pregnant
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woman’s emergency medical condition. Section 622 authorizes a doctor to

perform an abortion when, in the doctor’s subjective medical judgment,

it is necessary to save a woman’s life or when (during the first trimester)

a pregnancy results from rape or incest. IDAHO CODE § 18-622(2). Because

the exception for medical necessity turns on subjective professional

judgment, the doctor faces no threat of prosecution for good-faith

measures intended to save a woman’s life. See id. Beyond all this, Idaho

law does not regard medical treatment for conditions like preeclampsia

or ectopic pregnancy or other non-viable pregnancies as an abortion at

all. See Planned Parenthood, 522 P.3d at 1202-03.

     Beyond these errors of statutory construction, the preliminary

injunction   harbors    unacknowledged       constitutional    defects.     The

preliminary injunction deprives the State of Idaho of the sovereign power

to regulate abortion, which the Supreme Court recognized in Dobbs, 142

S. Ct. at 2228. Accepting the government’s reading of EMTALA would

eliminate state authority over abortion based on nothing more than the

Executive Branch’s interpretive creativity. What is more, the preliminary

injunction   violates   the   Tenth    Amendment’s      anticommandeering

principle by purporting to regulate Idaho state officials rather than the
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hospitals to which EMTALA is addressed. Also, the district court’s

construction of EMTALA offends the Spending Clause. Congress’s power

to attach conditions to federal grants does not include the power to

terminate grants for other programs to secure compliance with a federal

directive or to impose such a condition retroactively. The lower court’s

reading of EMTALA transgresses both these limitations.

     Finally, the other injunction factors strongly favor reversal. The

Idaho Legislature continues to suffer irreparable harm every day that

section 622 is enjoined, and the balance of equities tips in favor of

vacating the injunction.

                               ARGUMENT

I.   THE  PRELIMINARY   INJUNCTION                           RESTS          ON
     FUNDAMENTAL ERRORS OF LAW.

     A.    EMTALA Cannot Preempt Section 622.

     “A plaintiff seeking a preliminary injunction must establish [1] that

he is likely to succeed on the merits, [2] that he is likely to suffer

irreparable harm in the absence of preliminary relief, [3] that the balance

of equities tips in his favor, and [4] that an injunction is in the public

interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).

Supreme Court precedent likewise establishes that since the United
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States requested the preliminary injunction, it bears the burden of

persuasion. Mazurek v. Armstrong, 520 U.S. 968, 972 (1996). Likelihood

of success on the merits “is the most important” factor. Garcia v. Google,

Inc., 786 F.3d 733, 740 (9th Cir. 2015). Unless the government satisfies

that element, a court “need not consider the remaining” factors. DISH

Network Corp. v. FCC, 653 F.3d 771, 776–77 (9th Cir. 2011). The United

States has failed to carry its heavy burden because the preliminary

injunction issued by the district court rests on fundamental errors of law.

It should not stand.

     The sole basis for enjoining Idaho law is the district court’s

determination that “there will always be a conflict between EMTALA and

Idaho Code § 18-622” because “EMTALA obligates the treating physician

to provide stabilizing treatment, including abortion care.” 1-LEG-ER-31,

32. But the district court lost sight of a vital principle. “Congress’

enactment of a provision defining the pre-emptive reach of a statute

implies that matters beyond that reach are not pre-empted.” Cipollone v.

Liggett Group, Inc., 505 U.S. 504, 517 (1992). That principle should

decide this case. EMTALA is governed by two non-preemption clauses
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that should have prevented the outcome below. Since EMTALA does not

preempt section 622, the decision below is incorrect.

           1.    Settled principles determine whether federal law
                 preempts state law.

      “[U]nder our federal system, the States possess sovereignty

concurrent with that of the Federal Government, subject only to

limitations imposed by the Supremacy Clause.” Tafflin v. Levitt, 493 U.S.

455, 458 (1990). Congress may, in the exercise of its enumerated powers,

displace state law. See Do Sung Uhm v. Humana, Inc., 620 F.3d 1134,

1148 (9th Cir. 2010). When that occurs the Supremacy Clause prescribes

a choice-of-law rule, that federal law “shall be the supreme Law of the

Land.” U.S. CONST. art. VI. Preemption falls into recognized categories:

field, conflict, and express. See Beaver v. Tarsadia Hotels, 816 F.3d 1170,

1178 (9th Cir. 2016) (citation omitted).

     EMTALA is governed by two express preemption clauses, 42 U.S.C.

§§ 1395dd(f) and 1395. These clauses mark the boundaries of EMTALA’s

preemptive scope. When a statute contains an express preemption clause,

courts “focus on the plain wording of the clause, which necessarily

contains the best evidence of Congress’s pre-emptive intent.” CSX

Transp., Inc. v. Easterwood, 507 U.S. 658, 664 (1993). Precisely limning
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how far a federal statute affects state law is critical. The task is to

“identify the domain expressly pre-empted by that language.” Medtronic

v. Lohr, 518 U.S. 470, 484 (1996) (cleaned up). And it is evident that

“Congress’ enactment of a provision defining the pre-emptive reach of a

statute implies that matters beyond that reach are not pre-empted.”

Cipollone, 505 U.S. at 517. That is why “express provisions for

preemption of some state laws imply that Congress intentionally did not

preempt state law generally, or in respects other than those it

addressed.” Keams v. Tempe Tech. Inst., Inc., 39 F.3d 222, 225 (9th Cir.

1994).

     The question, then, is whether the express preemption clauses

governing EMTALA support “the pre-emptive reach” justifying the

preliminary injunction. Cipollone, 505 U.S. at 517. They do not.

           2.    EMTALA preempts state law only when a state law
                 “directly conflicts”—and section 622 does not.

     EMTALA contains an express “non-preemption provision.” Baker v.

Adventist Health, Inc., 260 F.3d 987, 993 (9th Cir. 2001). It says, “[t]he

provisions of this section do not preempt any State or local law

requirement, except to the extent that the requirement directly conflicts

with a requirement of this section.” 42 U.S.C. § 1395dd(f). Non-
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preemption is the baseline: EMTALA generally “do[es] not preempt any

State or local law requirement.” Id. (emphasis added). Preemption occurs

only where state law “directly conflicts with a requirement of this

section,” Id. (emphasis added). The adverb matters. A purported conflict

between EMTALA and state law must be direct. Cf. Coons v. Lew, 762

F.3d 891, 902 (9th Cir. 2014) (voiding an Arizona statute for directly

conflicting with the Affordable Care Act).

     Circuit precedent affirms that EMTALA does not dictate particular

standards of medical care. Eberhardt v. Los Angeles, 62 F.3d 1253 (9th

Cir. 1995), rejected an EMTALA claim against a physician for not

“conduct[ing] a psychiatric evaluation or a mental status evaluation” for

a man later killed by the police following a violent psychiatric episode.

Id. at 1255. “EMTALA clearly declines to impose on hospitals a national

standard of care in screening patients.” Id. at 1258. The Court explained

that “Congress enacted the EMTALA not to improve the overall standard

of medical care, but to ensure that hospitals do not refuse essential

emergency care because of a patient’s inability to pay.” Id.

     Other decisions by this Court are no less insistent that EMTALA

does not prescribe standards of medical care beyond the statute’s overt
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requirements. See Baker, 260 F.3d at 993 (“The statute is not intended to

create a national standard of care for hospitals or to provide a federal

cause of action akin to a state law claim for medical malpractice.”);

Bryant v. Adventist Health Sys./West, 289 F.3d 1162, 1166 (9th Cir. 2002)

(“EMTALA, however, was not enacted to establish a federal medical

malpractice cause of action nor to establish a national standard of care.”).

     Other circuits agree that EMTALA does not preempt state

standards of medical care. Hardy v. New York City Health Hosp. Corp.,

164 F.3d 789, 795 (2d Cir. 1999) (reading EMTALA’s non-preemption

clause as evidence “that one of Congress’s objectives was that EMTALA

would peacefully coexist with applicable state ‘requirements’”); Bryan v.

Rectors and Visitors of Univ. of Va., 95 F.3d 349, 351 (4th Cir. 1996)

(“[T]the legal adequacy of that [stabilizing] care is then governed not by

EMTALA but by the state malpractice law that everyone agrees

EMTALA was not intended to preempt.”); Harry v. Marchant, 291 F.3d

767, 773 (11th Cir. 2002) (“EMTALA was not intended to establish

guidelines for patient care, to replace available state remedies, or to

provide a federal remedy for medical negligence.”) (citations omitted).
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     EMTALA preempts state law only when it contradicts with the

statute’s express requirements. Root v. New Liberty Hospital District, 209

F.3d 1068 (8th Cir. 2000), illustrates. There, the Eighth Circuit held that

EMTALA preempted a Missouri statute immunizing state political

subdivisions like hospital districts from tort suits. Because that law

directly conflicts with EMTALA’s provision allowing for a personal

damage suit, 42 U.S.C. § 1395dd(d)(2)(A), the court readily concluded

that “Missouri’s sovereign immunity statute must yield.” Id. at 1070.

Root shows why the decision below is mistaken. The district court’s ruling

that EMTALA preempts Idaho law rests on the premise that EMTALA

contains an implied duty of hospitals to perform abortions as emergency

care. 1-LEG-ER-14. But Root preempted Missouri’s sovereign immunity

statute only because EMTALA expressly authorizes what Missouri law

prohibited. See id. at 1069. Since EMTALA has no express requirement

requiring abortion, it does not preempt section 622. See 42 U.S.C. §

1395dd(f).
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           3.    Under the Medicare Act, EMTALA cannot preempt state
                 laws setting medical standards or regulating the practice
                 of medicine—which is all that section 622 does.

     EMTALA’s preemptive reach is further shortened by a separate

non-preemption clause in the Medicare Act. It provides that “[n]othing in

this subchapter shall be construed to authorize any Federal officer or

employee to exercise any supervision or control over the practice of

medicine or the manner in which medical services are provided … or to

exercise any supervision or control over the administration or operation

of any such institution, agency, or person.” 42 U.S.C. § 1395. This clause

establishes that “the practice of medicine is, in general, a subject of state

regulation.” Pennsylvania Med. Soc’y v. Marconis, 942 F.2d 842, 846 n.4

(3d Cir. 1991); accord In re Pharm. Indus. Average Wholesale Price Lit.,

582 F.3d 156, 175 (1st Cir. 2009) (construing section 1395 to mean that

the Medicare Act “reserves a regulatory role to the states” and

“demonstrates Congress’s intent to minimize federal intrusion into the

area.”). Courts have interpreted section 1395 as a bar to preempting state

consumer protection laws, see id., and state standards of medical care,

see McCall v. PacifiCare of Cal., Inc., 21 P.3d 1189, 1197 (Cal. 2001) (the

Medicare Act does not displace state tort law).
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     Because EMTALA is bound by section 1395 it cannot be construed

as “a mechanism to supervise or control the practice of medicine.”

American Acad. of Ophthalmology, Inc. v. Sullivan, 998 F.2d 377, 387

(6th Cir. 1993).

           4.      The district court misapplied or disregarded the express
                   preemption clauses governing EMTALA.

     The district court lost sight of EMTALA’s limited “pre-emptive

reach.” Cipollone, 505 U.S. at 517.

     It was wrong to conclude that a state law “directly conflicts” with

EMTALA based on impossibility and obstacle preemption. See 1-LEG-

ER-32 (citing Draper, 9 F.3d at 1393). In the court’s opinion, it is

physically impossible to obey both EMTALA and section 622 because

“federal law requires the provision of care and state law criminalizes that

very care.” Id. Section 622 poses obstacle preemption too, on the court’s

view that “Idaho’s criminal abortion statute … will undoubtedly deter

physicians from providing abortions in some emergency situations. That,

in turn, would obviously frustrate Congress’s intent to ensure adequate

emergency care for all patients who turn up in Medicare-funded

hospitals.” 1-LEG-ER-39.
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     The May Order reiterated this line of argument, with minor

qualifications. Although the Idaho Supreme Court sustained section 622

as constitutional, the district court concluded that section 622 embodies

a subjective standard for physicians invoking the statute’s affirmative

defenses and held that section 622 has no bearing on the medical

treatment of ectopic or nonviable pregnancies. 1-LEG-ER-8. The court

below ruled that these important clarifications of Idaho law “do not

fundamentally alter this Court’s preemption analysis.” Id.

     But the May Order (like the August Order before it) neglects the

teaching that “a court should construe [EMTALA’s] preemptive effect as

narrowly as possible.” Draper, 9 F.3d at 1393. It was an error of law to

conclude that section 622 “directly conflict[s]” with EMTALA based on an

implied duty to perform abortions on which EMTALA is silent. 42 U.S.C.

§ 1395dd(f). EMTALA’s language alone leaves an Idaho physician

entirely free to comply with both that statute and section 622. Nothing

in section 622 prevents a doctor from performing an emergency screening

examination or treating emergency medical conditions experienced by a

pregnant woman. And section 622 poses no obstacle to EMTALA’s

purposes. EMTALA reflects the policy choice to mandate emergency
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medical care for both a pregnant woman and her unborn child—and

section 622 is fully aligned with those aims. See 42 U.S.C. § 1395dd(e)(1)

(defining emergency medical condition in part as a threat to “the health

of the woman or her unborn child”).

     Draper is not to the contrary. There, the Court held that EMTALA’s

two-year statute of limitations did not preempt an Oregon law imposing

a one-year notice-of-claim requirement. 9 F.3d at 1393–94. While

interpreting EMTALA’s non-preemption clause in terms of impossibility

and obstacle preemption, the Court stressed that it would “construe

[EMTALA’s] preemptive effect as narrowly as possible.” Id. at 1393. That

approach is consistent with the need to “respect legislative provisions

that explicitly address preemption.” Id. By contrast, the district court

considered whether EMTALA preempts section 622 without respecting

Draper’s cautious approach to EMTALA’s baseline of non-preemption.

See 1-LEG-ER-32.

     Strikingly, neither of the district court’s orders mentions the

Medicare Act’s non-preemption clause, 42 U.S.C. § 1395. That clause

forecloses EMTALA as a basis for preempting section 622, which

embodies both a state standard of medical care (proscribing abortion
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under particular circumstances) and a regulation of the medical

profession (prescribing the suspension or loss of a medical license for

violating the statute.) See IDAHO CODE § 18-622(1). As such, section 622

is the kind of state law that Congress intended to operate free from

federal “supervision or control.” 42 U.S.C. § 1395.

     The district court misapplied EMTALA’s non-preemption clause by

ruling that an implied duty to perform abortions “directly conflicts” with

the statute, 42 U.S.C. § 1395dd(f) and by not considering the non-

preemption clause under the Medicare Act, id. § 1395. Consequently, the

preliminary injunction exaggerates EMTALA’s “pre-emptive reach.”

Cipollone, 505 U.S. at 517. We urge the Court to reverse the decision

below for that reason alone. Such an outcome would provide complete

relief to the Legislature while allowing the Court to avoid other issues.

     B.    EMTALA Does Not Mandate Abortion.

           1.    EMTALA’s requirement of stabilizing care does not
                 imply a duty to make abortion available.

     Reversal is no less warranted if the Court decides to address

whether EMTALA can be fairly interpreted as a requirement for Idaho

physicians to perform abortions regardless of state law. The district

court’s central ruling is that “EMTALA obligates the treating physician
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to provide stabilizing treatment, including abortion care,” 1-LEG-ER-32.

That conclusion flouts statutory text and context alike.

     Any duty under EMTALA to perform abortions arises by

implication. The statute nowhere uses the word abortion or anything like

it. The federal-state conflict at the foundation of the preliminary

injunction rests on an implication drawn from EMTALA’s spare language

requiring a hospital to provide “stabilizing treatment” when a screening

exam concludes that a patient has an emergency medical condition. 42

U.S.C. § 1395dd(b) (heading); accord id. § 1395dd(b)(1)(A) (requiring

“such treatment as may be required to stabilize the [emergency] medical

condition”).

     EMTALA’s text refutes the government’s mandate-by-implication.

The statute does not specify what medical treatment satisfies the duty to

provide “stabilizing treatment.” Id. at § 1395dd(b). The statutory heading

from which that phrase is taken actually says, “Necessary stabilizing

treatment for emergency medical conditions and labor.” Id. The words

“and labor” suggest the need for medical care to treat a pregnant woman

in labor, just as the definition of “emergency medical condition” expressly

provides. Id. § 1395dd(e)(1)(A), (B). Delving more deeply into EMTALA,
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the definition of stabilized undermines the idea of abortion as mandated

medical care. For all patients, EMTALA requires such care to mean that

“no material deterioration of the [emergency medical] condition is likely,

within reasonable medical probability, to result from or occur during the

transfer of the individual from a facility ….” Id. at § 1395dd(e)(3)(B). But

the corresponding definition of emergency medical condition requires

emergency care whenever a pregnant woman has a medical condition

that places “the health of the woman or her unborn child in serious

jeopardy.” Id. § 1395dd(e)(1)(A)(i) (emphasis added). Since abortion

places the unborn child in “serious jeopardy”—fatal jeopardy, in fact—

that medical procedure is outside the meaning of “stabilizing treatment”

under EMTALA. Id. § 1395dd(b). Augmenting that point, EMTALA’s only

approved form of stabilizing treatment for a pregnant woman with

contractions is delivering her child. Id. § 1395dd(e)(3)(A). For the

government’s claim to work, one must accept that a statute expressly

requiring emergency care for unborn children and endorsing the delivery

of a child as a means of stabilizing a pregnant woman with contractions

also implies the duty to perform abortions. That implication simply

makes no sense.
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           2.    Construing EMTALA as an abortion mandate
                 contradicts the statute’s repeated injunction to provide
                 medical care for unborn children.

     Construing “stabilizing treatment,” id. § 1395dd(b), to mean that

hospitals not only may—but must—perform abortions despite contrary

state law defies provisions expressing Congress’s commitment to unborn

children. Congress left no doubt that federally funded hospitals must

provide medical treatment for an unborn child. EMTALA contains four

provisions requiring emergency care for both a pregnant woman and her

unborn child. See 42 U.S.C. §§ 1395dd(e)(1)(A)(i); 1395dd(e)(1)(B)(ii);

1395dd(c)(1)(A)(ii); and 1395dd(c)(2)(A).

     The August Order (and by reaffirmance, the May Order) excises

EMTALA’s references to the protection of unborn children from the

preemption analysis. That untoward result follows from disregarding

and misstating portions of EMTALA’s definition of “emergency medical

condition.” Id. § 1395dd(e)(1). Since that definition is the fulcrum on

which the statute’s screening, stabilizing, and transfer duties depend,

getting the definition wrong is fundamental. See id. §§ 1395dd(a)–(c).

     The August Order casts aside half of that definition as it concerns

“a pregnant woman who is having contractions.” Id. § 1395dd(e)(1)(B).
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The only proffered explanation is that it regarded subsection (B) as “not

relevant to the issues before the Court.” 1-LEG-ER-17 n.1.

     That footnote is extraordinary. The United States has challenged

the validity of section 622 on the theory that EMTALA commands

Medicare-participating hospitals to perform abortions to stabilize

pregnant women with emergency medical conditions. See 4-LEG-ER-579.

EMTALA’s description of when “a pregnant woman who is having

contractions” experiences an emergency medical condition is plainly

relevant. 42 U.S.C. § 1395dd(e)(1)(B). Turning a blind eye to subsection

(B) flouts the “well-established principle of statutory construction that

legislative enactments should not be construed to render their provisions

mere surplusage.” Am. Vantage Cos. v. Table Mountain Rancheria, 292

F.3d 1091, 1098 (9th Cir. 2002) (cleaned up); accord Reiter v. Sonotone

Corp., 442 U.S. 330, 339 (1979) (“In construing a statute we are obliged to

give effect, if possible, to every word Congress used.”) (citation omitted).

Surplusage is exactly what subsection (B) becomes in the decision below.

     Reading subsection (B) confirms its relevance. It provides that a

pregnant woman with contractions has an emergency medical condition,

within the meaning of the statute, if a physician determines “(i) that there
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is inadequate time to effect a safe transfer to another hospital before

delivery, or (ii) that transfer may pose a threat to the health or safety of

the woman or the unborn child.” 42 U.S.C. § 1395dd(e)(1)(B).

Transferring a woman in that condition to another facility is forbidden

unless there is time enough for “a safe transfer … before delivery.” Id. §

1395dd(e)(1)(B)(i) (emphasis added). This limitation avoids the prospect

of delivering a child during an ambulance ride or in a related

circumstance away from the safety and comfort of a hospital. Then there

is a general prohibition on any transfer that “may pose a threat to the

health or safety of the woman or the unborn child.” Id. §

1395dd(e)(1)(B)(ii) (emphasis added). Even the prospect of such a threat

renders a transfer illegal. The hospital is obliged to consider not only the

unborn child’s life, but his or her “health or safety.” Id.; accord 42 C.F.R.

§ 489.24 (same).

     The district court’s determination to brush aside subsection (B), 1-

LEG-ER-17 n.1 clashes with the opening sentences of the August order.

“Pregnant women in Idaho routinely arrive at emergency rooms

experiencing severe complications. The patient might be spiking a fever,

experiencing uterine cramping and chills, contractions, shortness of
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breath, or significant vaginal bleeding.” 1-LEG-ER-14 (emphasis added).

If these conditions are a concern—and they should be—then subsection

(B) is not only relevant but potentially conclusive.

     Having set aside subsection (B), the August Order strikes out

EMTALA’s remaining reference to the medical treatment of an unborn

child. Subsection (A) of the statute’s definition of “emergency medical

condition” provides that such a condition exists when the absence of

“immediate medical attention” probably will result in “placing the health

of the individual (or, with respect to a pregnant woman, the health of the

woman or her unborn child) in serious jeopardy.” 42 U.S.C. §

1395dd(e)(1)(A) (emphasis added). Yet the court unaccountably removes

the phrase “or her unborn child” from its injunction. See 1-LEG-ER-52

(prohibiting the enforcement of section 622 insofar as an abortion is

“necessary to avoid (i) ‘placing the health of’ a pregnant patient ‘in serious

jeopardy’”).

      Through these two basic errors—dismissing subsection (B) as

irrelevant and removing the phrase “or unborn child” from subsection

(A)—the district court effectively rewrites EMTALA. Not only does the

court’s interpretive carpentry violate the canon against rendering
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statutory text “mere surplusage.” Am. Vantage Cos., 292 F.3d at 1098.

That    approach     transforms    EMTALA       from    a   humane     measure

guaranteeing emergency medical care for a pregnant woman and her

unborn child into a measure protecting the mother alone.

             3.    Construing EMTALA as an abortion mandate is contrary
                   to how Congress legislates concerning abortion.

       From the larger context of congressional lawmaking, the decision

below is at odds with Congress’s established pattern of speaking plainly

when it legislates regarding abortion. See, e.g., 42 U.S.C. § 300a-6

(barring the use of federal funds “in programs where abortion is a method

of family planning”); id. § 300z-10(a) (specifying that “grants may be

made only to projects or programs which do not advocate, promote, or

encourage abortion”); id. § 2996f(b)(8) (prohibiting the federal funding for

the Legal Services Corporation for use in “any proceeding or litigation

which seeks to procure a nontherapeutic abortion”). Federal laws

protecting the conscience rights of healthcare workers and institutions

likewise use the word abortion. See, e.g., Church Amendments, id. § 300a-

7(b)(1) (forbidding public officials to require an “individual to perform or

assist in the performance of any sterilization procedure or abortion” if it

“would be contrary to his religious beliefs or moral convictions”); the
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Weldon Amendment, 8 Pub. L. 117-103, div. H, title V General

Provisions, § 507(d)(1) (withholding federal appropriations from any unit

of federal or state government if it “subjects any institutional or

individual health care entity to discrimination on the basis that the

health care entity does not provide, pay for, provide coverage of, or refer

for abortions”); Affordable Care Act, 42 U.S.C. § 18023(b)(4) (“No

qualified health plan offered through an Exchange may discriminate

against any individual health care provider or health care facility

because of its unwillingness to provide, pay for, provide coverage of, or

refer for abortions.”).

            4.    The decision below is inconsistent with a related case on
                  appeal before the Fifth Circuit.

      The district court’s construction of EMTALA has already been re-

jected by another federal court. Texas v. Becerra, 623 F. Supp. 3d 696,

739 (N.D. Tex. 2022), granted an injunction for the State of Texas pre-

venting HHS and CMS from enforcing the same EMTALA-as-abortion-

mandate theory pressed here. That theory appeared in an HHS Guidance

document issued after an executive order directed federal agencies to

“protect and expand access to abortion.” Exec. Order No. 14,076, 87 Fed.

Reg. 42053 (Jul. 8, 2022).
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     Four reasons led the Texas court to rule that the State likely would

succeed on the merits. (1) In the court’s view, the “HHS Guidance likely

exceeds its statutory authority and is not a permissible construction of

EMTALA.” Becerra, 623 F. Supp. 3d at 724. (2) EMTALA “creates obliga-

tions to stabilize both a pregnant woman and her unborn child.” Id. at

725 (emphasis added). Even though this dual obligation can be in tension,

as when a pregnant woman experiences a medical emergency, EMTALA’s

text does not address that potential conflict and the United States ex-

ceeded its statutory authority by imposing a national policy that proffers

abortion as the only acceptable treatment. Id. at 726. (3) Given the ex-

press preemption clauses in EMTALA and the Medicare Act, the court

found that Congress intended for “EMTALA [to] peacefully coexist with

applicable state requirements.” Id. at 727 (quoting Hardy, 164 F.3d at

795). (4) Lastly, the district court stressed that the HHS Guidance was

unprecedented—that “EMTALA has never been construed to preempt

state abortion laws.” Id. at 735. This offered more evidence that the

HHS’s reading of EMTALA cannot be sustained. Id.

     Therefore, the Texas district court issued a preliminary injunction,

which it later converted to a permanent injunction barring CMS and
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HHS from enforcing the guidance document. See Texas v. Becerra, No. 5-

22-cv-00185, ECF No. 109 (N.D. Tex. Jan. 13, 2023). That ruling is on

appeal before the Fifth Circuit.

           5.    Construing EMTALA as an abortion                    mandate
                 transgresses the major questions doctrine.

     The United States’ whole case turns on the assertion that EMTALA

requires Medicare-participating hospitals to perform abortions as

emergency medical care. See 4-LEG-ER-585. Reading EMTALA that way

collides with the major questions doctrine. It presumes that Congress will

“speak clearly if it wishes to assign to an agency decisions of vast

economic and political significance.” Util. Air Regul. Grp. v. EPA, 573

U.S. 302, 324 (2014). When that occurs, “something more than a merely

plausible textual basis” is necessary, W. Va. v. EPA, 142 S. Ct. 2587, 2609

(2022): only “clear congressional authorization” will do. Util. Air, 573 U.S.

at 324. Indeed, “exceedingly clear language” is necessary if Congress

“wishes to significantly alter the balance between federal and state

power.” U.S Forest Serv. v. Cowpasture River Preserv. Assn., 140 S. Ct.

1837, 1850 (2020). Requiring “a clear statement,” Biden v. Nebraska, 143

S. Ct. 2355, 2375 (2023), of congressional authority to justify the

consequential exercise of executive power rests on “both separation of
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powers principles and a practical understanding of legislative intent.” W.

Va., 142 S. Ct. at 2609. Like other clear-statement rules, the major

questions doctrine “ensure[s] Congress does not, by broad or general

language, legislate on a sensitive topic inadvertently or without due

deliberation.” Spector v. Norwegian Cruise Line Ltd., 545 U.S. 119, 139

(2005).

     Only months ago, Biden, 143 S. Ct. at 2355, applied the major ques-

tions doctrine to invalidate the Department of Education’s student-loan-

forgiveness program. Id. at 2375. Biden marks the fourth case since 2021

where the Supreme Court has relied on the major questions doctrine in

significant challenges to federal law. See W. Va., 142 S. Ct. at 2616 (in-

validating an EPA rule because “[a] decision of such magnitude and

consequence rests with Congress itself, or an agency acting pursuant to a

clear delegation from that representative body”); NFIB v. OSHA, 142 S.

Ct. 661, 666 (2022) (setting aside an OSHA standard requiring large em-

ployers to ensure that their employees were vaccinated against COVID-

19); Ala. Assoc. of Realtors v. Dep’t of Health and Hum. Servs., 141 S. Ct.

2485 (2021) (voiding a nationwide eviction moratorium imposed by the

Centers for Disease Control).
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     Familiar “telltale sign[s]” show that this is a classic major questions

doctrine case. Biden, 143 S. Ct. at 2382 (Barrett, J., concurring).

     First, the United States “claims to discover in a long-extant statute

an unheralded power” to control national abortion policy. Util. Air, 573

U.S. at 324. Accepting the government’s interpretation of EMTALA

“would bring about an enormous and transformative expansion in [the

Executive Branch’s] regulatory authority without clear congressional au-

thorization.” Id. Construing EMTALA, a narrow measure for ensuring

access to emergency medical care, as an unyielding requirement to pro-

vide abortions regardless of contrary state law is nothing short of

“transformative.” Id. By the government’s logic, controversial medical

treatments of all kinds can be inferred from the wonderfully versatile

phrase “necessary stabilizing treatment.” 4-LEG-ER-574 (quoting 42

U.S.C. § 1395dd). But the idea that Congress hid a federal abortion man-

date in a remote corner of the Medicare Act is wholly implausible.

     Second, the government’s reading of EMTALA is unprecedented.

The Northern District of Texas held so in Becerra. 623 F. Supp. 3d at 735

(“EMTALA has never been construed to preempt state abortion laws”).
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Although proving a negative is notoriously difficult, evidence of that nov-

elty appears by comparing two CMS guidance documents. Three days

after President Biden directed federal agencies to heighten federal pro-

tections for abortion access, Exec. Order No. 14,076, 87 Fed. Reg. 42053

(Jul. 8, 2022), CMS issued a memorandum purporting to remind hospi-

tals of their duties under EMTALA. Among them is this:

     If a physician believes that a pregnant patient presenting at
     an emergency department is experiencing an emergency medical con-
     dition as defined by EMTALA, and that abortion is the stabilizing
     treatment necessary to resolve that condition, the physician must
     provide that treatment. When a state law prohibits abortion and
     does not include an exception for the life of the pregnant person —
     or draws the exception more narrowly than EMTALA’s emergency
     medical condition definition — that state law is preempted.

CMS Center for Clinical Standards and Quality, QSO-22-22-Hospitals

(“Reinforcement of EMTALA Obligations Specific to Patients who are

Pregnant or are Experiencing Pregnancy Loss”), at 1 (July 11, 2022) (em-

phasis in original). This paragraph, which captures the Executive

Branch’s legal theory in this case, does not appear in the previous CMS

guidance memo on EMTALA issued in 2021. See CMS Center for Clinical

Standards and Quality, QSO-21-22-Hospitals (“Reinforcement of EM-

TALA Obligations Specific to Patients who are Pregnant or are

Experiencing Pregnancy Loss”) (Sep. 17, 2021). Its novelty is another
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strike against the claim that EMTALA requires Idaho hospitals to per-

form abortions.

     Third, the Attorney General, who brought this suit, lacks the ex-

pertise to determine whether abortion is the appropriate form of medical

treatment for certain emergency medical conditions. Gonzales v. Oregon,

546 U.S. 243 (2006), is instructive. There, the Attorney General defended

an interpretive rule restricting the use of controlled substances for phy-

sician-assisted suicide. The Court concluded that “the authority claimed

by [him] is both beyond his expertise and incongruous with the statutory

purposes and design.” Id. at 267. Significantly for this case, the purported

“implicit delegation” of such authority was “not sustainable.” Id. An

“oblique form” of statutory authority is flatly insufficient when the asser-

tion of executive power concerns a matter of “earnest and profound

debate across the country.” Id. (quotation omitted). Exactly the same can

be said of the United States’ claim that EMTALA confers an “implicit

delegation” of authority to compel physicians to perform abortions pro-

hibited by state law based on the statute’s “oblique” language. Id.

     Fifth, the political implications of the federal government’s sup-

posed authority here are far-reaching. The United States’ complaint
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claims that EMTALA requires physicians at Idaho hospitals to perform

abortion procedures as “stabilizing treatment” for a pregnant woman. 4-

LEG-ER-576. That claim is a matter of “vast … political significance,”

Util. Air, 573 U.S. at 324 (quotation omitted). National controversy will

erupt if the Executive Branch is allowed to exercise “highly consequential

power [over abortion] beyond what Congress could reasonably be under-

stood to have granted,” W. Va., 142 S. Ct. at 2609, and to “significantly

alter the balance between federal and state power,” without “exceedingly

clear language” from Congress. Cowpasture River, 140 S. Ct. at 1849-50.

The power to regulate abortion would then rest with the Justice Depart-

ment rather than with members of Congress or elected officials in every

state.

     Together, these signs of executive overreach mean that the United

States must identify “more than a merely plausible textual basis” to jus-

tify the assault on Idaho law. W. Va., 142 S. Ct. at 2609. The

government’s burden is to identify “‘clear congressional authorization’ for

the power it claims.” Id. (quoting Util. Air, 573 U.S. at 324).
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     Clear authorization is exactly what the United States lacks. The

only statutory text remotely supporting its claim is EMTALA’s require-

ment to deliver “such treatment as may be required to stabilize the

medical condition” of a patient with an emergency medical condition. 42

U.S.C. § 1395dd(b)(1). This generic duty to provide emergency care is the

“wafer-thin reed” on which the United States leans to seize “sweeping

power” over abortion. Ala. Assoc., 141 S. Ct. at 2489.

     Contriving an abortion mandate from EMTALA disregards Su-

preme Court precedents under the major questions doctrine. Like the

CDC’s eviction moratorium, the Executive Branch’s weaponization of

EMTALA asserts “a breathtaking amount of authority.” Id. And like the

EPA’s electricity generation rule, the United States has interpreted EM-

TALA as a national abortion mandate that “Congress had conspicuously

and repeatedly declined to enact itself,” W. Va., 142 S. Ct. at 2610. See

Women’s Health Protection Act of 2023, H.R. 8296, 117th Cong. §§

4(a)(1), 5(a)(1) (2022) (proposed legislation prescribing a federal right to

“abortion services” that would “supersede” contrary state law); S. 4132,

117th Cong. §§ 3(a)(1), 4(a)(1) (2022) (same). It is impossible to square
     Case:
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these results with controlling precedents insisting on congressional clar-

ity in other matters of national significance. Forcing unwilling states like

Idaho to accept federal policy on abortion is a “decision of such magnitude

and consequence” that it belongs (if at all) to Congress—not to the inter-

pretive creativity of the Justice Department. W. Va., 142 S. Ct. at 2616.

      Mayes v. Biden, 67 F.4th 921 (9th Cir. 2023), poses no obstacle to

applying the major questions doctrine. True, Mayes held that the doctrine

does not apply to actions of the President under the Procurement Act. See

id. at 933. Here, the complaint is founded on EMTALA, which does not

delegate discretionary authority to the President. See 4-LEG-ER-572.

Also unlike Mayes, political accountability is a live issue since the suit is

brought by the United States under the direction of the Attorney General,

an appointed official—not an elected one. See 28 U.S.C. § 503. Applied

here, the major questions doctrine would not interfere with the Presi-

dent’s duty to see that the laws are faithfully executed. The leeway owed

to a President carrying out that duty under an express grant of congres-

sional authority, see Mayes, 67 F.4th at 933, is misplaced when

considering the lawfulness of asserted executive authority without a

presidential overlay.
     Case:
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     Excusing the United States from the major questions doctrine

merely because the lawsuit is brought by the Department of Justice

rather than by an individual agency would flout Supreme Court

precedent. See, e.g., Gonzales, 546 U.S. at 267–68 (Attorney General

lacked authority from “oblique” statutory provision to criminalize

assisted suicide). Besides, declining to hold the United States to account

under the major questions doctrine also would frustrate the doctrine’s

twin rationales of “separation of powers principles and a practical

understanding of legislative intent.” W. Va., 142 S. Ct. at 2609.

     Indeed, the potential consequences of sanctioning the United

States’ newly discovered power under EMTALA are staggering. The

government’s essential claim is that EMTALA’s duty of stabilizing

treatment is a blank page that the Executive Branch may fill with its

preferred medical policy. By that logic, the United States could impose a

federal   mandate     to   perform    sterilization    procedures,    gender-

transitioning procedures, or virtually any kind of medical procedure—so

long as the purported mandate can be dressed up as “necessary

stabilizing treatment.” 42 U.S.C. § 1395dd(b). Such an approach would

displace Congress’s role as the Nation’s lawmaker, in a quintessential
     Case:
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violation of the major questions doctrine. Considering that possibility,

any quibble about the differences between the United States’ lawsuit

here and an individual agency action should be set aside.

     C.    The District Court Misconstrued Section 622.

     Errors of law also skewed the district court’s analysis of section 622.

By its account, “EMTALA obligates the treating physician to provide

stabilizing treatment, including abortion care. But regardless of the

pregnant patient’s condition, Idaho statutory law makes that treatment

a crime.” 1-LEG-ER-32. In fact, the lower court characterized section 622

as an impediment to decent medical care for a pregnant woman in

distress. See 1-LEG-ER-49–50 (describing “the pregnant patient, laying

on a gurney in an emergency room facing the terrifying prospect of a

pregnancy complication that may claim her life” but where “her doctors

feel hobbled by an Idaho law that does not allow them to provide the

medical care necessary to save her health and life”). That depiction of

section 622 is false and misleading.

     False because section 622 does not make it a crime to deliver needed

medical treatment to a pregnant woman.
     Case:
     Case:23-35440,
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     First, the statute wholly exempts a woman who obtains an abortion.

IDAHO CODE § 18-622(5).

     Second, not all medical procedures to terminate a pregnancy qualify

as an abortion under Idaho law. By statute, abortion is defined as “the

use of any means to intentionally terminate the clinically diagnosable

pregnancy of a woman with knowledge that the termination by those

means will, with reasonable likelihood, cause the death of the unborn

child.” Id. § 18-604(1). The Idaho Supreme Court has definitively held

that section 622 does not cover ectopic or other non-viable pregnancies.

See Planned Parenthood, 522 P.3d at 1202–03. A doctor faces no liability

if giving a pregnant mother needed medical treatment accidentally

results in the death of an unborn child. See IDAHO CODE §§ 18-622(4)

(statutory exemption); id. § 18-604(1) (defining abortion as using some

means “to intentionally terminate” a pregnancy).

     Third, recent amendments clarify that section 622 contains

straightforward exceptions rather than affirmative defenses. See H.B.

374, 67th Leg., 1st Sess. (Idaho 2023). Section 622 now provides that an

abortion to save a woman’s life or (during the first trimester) to address

a pregnancy from rape or incest “shall not be considered criminal
     Case:
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abortions.” IDAHO CODE §§ 18-622(2); 18-622(2)(b). Nor is a physician

vulnerable to prosecution because he performed an abortion believing

that a woman’s life was at risk. A mistake of fact is no basis for

prosecution. These statutory exceptions protect a physician who acts “in

his good faith medical judgment and based on the facts known to the

physician at the time.” Id. §§ 18-622(2)(a)(i), (ii). Given that safe harbor,

section 622 should no longer “deter physicians from providing abortions

in some emergency situations.” 1-LEG-ER-39; accord 1-LEG-ER-7. Yet

the May Order neglects to acknowledge these important amendments.

     The district court’s depiction of section 622 is misleading as well.

Far from posing an irrational obstacle to decent medical care, section 622

simply restores Idaho law to its pre-Roe condition. See Planned

Parenthood, 2022 WL 3335696, at *6 (Abortion was a crime under Idaho

law from territorial days until Roe). With exceptions for a mother’s life or

pregnancies resulting from rape or incest, section 622 fairly reflects

Idaho’s “history and traditions” under which a nontherapeutic “abortion

was viewed as an immoral act and treated as a crime.” Planned

Parenthood, 522 P.3d at 1148.
     Case:
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     In sum, the federal-state conflict for which the district court issued

a preliminary injunction is false at both ends. Reading EMTALA as an

abortion mandate defeats Congress’s evident intent to secure emergency

medical care for both a pregnant woman and her unborn child, and

Idaho’s section 622 is not the draconian measure depicted by the lower

court. Because there is no conflict between EMTALA and section 622, the

preliminary injunction has no foundation. It should be vacated and the

decision below reversed.

     D.    Enjoining Section          622    Because     of   EMTALA        Is
           Unconstitutional.

           1.    The preliminary          injunction   violates   the   Tenth
                 Amendment.

     Under the federal Constitution, “both the National and State

Governments have elements of sovereignty the other is bound to

respect.” Arizona v. United States, 567 U.S. 387, 398 (2012). This system

of dual sovereignty means that “the National Government possesses

only limited powers [and] the States and the people retain the

remainder.” Bond v. United States, 572 U.S. 844, 854 (2014). That

essential principle of federalism is enshrined in the Tenth Amendment,

which promises that “powers not delegated to the United States” by the

Constitution are “reserved to the States respectively, or the people.” U.S.
     Case:
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CONST. amend. X. The decision below clashes with the Tenth

Amendment in two respects.

     First, enjoining section 622 unlawfully deprives the State of Idaho

of its reserved power to regulate abortion. The Supreme Court has held

that the Constitution reserves that power to the states.

     We therefore hold that the Constitution does not confer a right to
     abortion. Roe and Casey must be overruled, and the authority to
     regulate abortion must be returned to the people and their elected
     representatives.

Dobbs, 142 S. Ct. at 2279.

     Implications of deep constitutional importance flow from that hold-

ing. Dobbs contemplates that abortion will be regulated in a way that

“will be more sensitive to the diverse needs of a heterogenous society,”

that “increases opportunity for citizen involvement in democratic pro-

cess,” that “allows for more innovation and experimentation in

government,” and that “makes government more responsive by putting

the States in competition for a mobile citizenry.” Gregory v. Ashcroft, 501

U.S. 452, 458 (1991) (citation omitted). All these virtues of a federal sys-

tem guarded by the Tenth Amendment naturally follow from Dobbs’s

determination that states hold the power to regulate abortion.
     Case:
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     The decision below thwarts the exercise of that sovereign power. By

enjoining Idaho’s section 622 based on an implied duty under EMTALA,

the district court has prevented Idaho from governing itself as Dobbs as-

sured all states that they were free to do. Nor is the district court’s

explanation convincing. Its decision rests on the Supremacy Clause,

which the court described as a rule that “state law must yield to federal

law when it’s impossible to comply with both.” 1-LEG-ER-16. The court

added that “Dobbs did not overrule the Supremacy Clause…. [E]ven

when it comes to regulating abortion, state law must yield to conflicting

federal law.” 1-LEG-ER-51. The court below misconceived the limits of

the Supremacy Clause. True, “if Congress acts under one of its enumer-

ated powers, there can be no violation of the Tenth Amendment.” Raich

v. Gonzales (Raich II), 500 F.3d 850, 867 (9th Cir. 2007). But “[t]his is an

extraordinary power in a federalist system … that we must assume Con-

gress does not exercise lightly.” Gregory, 501 U.S. at 460. That is why

courts insist on “exceedingly clear language” if federal law is to “alter the

balance between federal and state power,” Cowpasture River, 140 S. Ct.
     Case:
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at 1849-50. EMTALA is “exceedingly clear,” id.—but in the opposite di-

rection. Yet the district court missed the federalism implications of

reading EMTALA as an abortion mandate.

     Second, the preliminary injunction offends the anticommandeering

doctrine, which acknowledges that “conspicuously absent from the list of

powers given to Congress is the power to issue direct orders to the gov-

ernments of the States.” Murphy v. Nat’l Collegiate Athletic Ass’n, 138 S.

Ct. 1461, 1476 (2018). This means that “even where Congress has the

authority under the Constitution to pass laws requiring or prohibiting

certain acts, it lacks the power directly to compel the States to require or

prohibit those acts.” New York v. United States, 505 U.S. 144, 166 (1992).

In Murphy, the Supreme Court invalidated a federal statute prohibiting

states from authorizing sports gambling. Murphy explained that for a

federal statute to preempt state law, it must satisfy two conditions: (1)

“represent the exercise of a power conferred on Congress by the Consti-

tution”; (2) the “provision at issue must be best read as one that regulates

private actors.” 138 S. Ct. at 1479. The sports gambling provision failed

that test. In the Court’s view, “there is simply no way to understand the

provision prohibiting state authorization as anything other than a direct
     Case:
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command to the States. And that is exactly what the anticommandeering

rule does not allow.” Id. at 1481.

     Circuit precedent is no less forceful in applying the anticomman-

deering doctrine. In United States v. California, 921 F.3d 865 (9th Cir.

2019), the United States challenged California laws “expressly designed

to protect [state] residents from federal immigration enforcement.” Id. at

872. There too, the federal government invoked the Supremacy Clause

“and moved to enjoin [the laws’] enforcement.” Id. at 873. The district

court denied the injunction and this Court affirmed. The United States

claimed that the Immigration and Nationalization Act, 8 U.S.C. § 1101

et. seq., preempted California law because it directs state law enforce-

ment agencies not to transfer a person to federal immigration authorities

“unless authorized by a judicial warrant or judicial probable cause deter-

mination.” California, 921 F.3d at 886 (quoting Cal. Gov’t Code §

7284.6(a)(4)). Critically, this Court discerned that “the specter of the an-

ticommandeering rule distinguishes the case before us from the

preemption cases on which the United States relies.” Id. at 888. That

rule, the Court explained, “permits a state’s refusal to adopt preferred

federal policies.” Id. at 889. Preemption does not apply because federal
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immigration law “does not require any particular action on the part of

California or its political subdivisions.” Id. at 889. Without a clear statu-

tory mandate, “the federal government was free to expect as much as it

wanted, but it could not require California’s cooperation without running

afoul of the Tenth Amendment.” Id. at 891 (emphasis in original).

     So too, here. The August Order “restrains and enjoins the State of

Idaho, including all of its officers, employees, and agents, from enforcing

Idaho Code § 18-622(2)-(3) as applied to medical care required by

[EMTALA] ….” 1-LEG-ER-51. Tellingly, this order is directed at State

officials rather than at “regulat[ing] private actors” like hospitals.

Murphy, 138 S. Ct. at 1479. And as in California, what’s really at stake

is whether Idaho may “refus[e] to adopt preferred federal policies” on

which Congress has elected not to adopt an express mandate. 921 F.3d

at 889. Under the anticommandeering doctrine, the answer is yes—

Idaho may make that choice.

     For both these reasons, the preliminary injunction should be set

aside as contrary to the Tenth Amendment.
     Case:
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           2.    The Decision Below Violates the Spending Clause.

     The decision below also violates the Constitution’s Spending

Clause. See U.S. CONST. art. I, § 8. There are “limits on Congress’s power

… to secure state compliance with federal objectives.” NFIB v. Sebelius,

567 U.S. 519, 576 (2012). One, when “conditions take the form of threats

to terminate other significant independent grants, the conditions are

properly viewed as a means of pressuring the States to accept policy

changes.” Id. at 580. Two, retroactive conditions are forbidden. Pennhurst

State Sch. & Hosp. v. Halderman, 451 U.S. 1, 25 (1981). Both principles

apply here.

     First, the United States threatens to withhold all Medicare funding

unless Idaho complies with the government’s abortion mandate under

EMTALA. The complaint asserts the government’s “interest in protecting

the integrity of the funding it provides under Medicare and ensuring that

hospitals who are receiving Medicare funding will not refuse to provide

stabilizing treatment to patients experiencing medical emergencies.” 4-

LEG-ER-582. Idaho receives massive funding under Medicare, as the

United States concedes. “From 2019 to 2020, HHS paid approximately 74

million dollars for emergency department care in Idaho hospitals
     Case:
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enrolled in Medicare. Id. (emphasis added). Funding for emergency

facilities is only a small part of the “approximately $3.4 billion in federal

Medicare funds during fiscal years 2018-2020.” 4-LEG-ER-546 (emphasis

added). The United States then stresses that all Medicare funding—not

limited to emergency facilities—is “conditioned on compliance with

EMTALA.” Id.

     The complaint accuses section 622 of denying the United States

“the benefit of its bargain … by affirmatively prohibiting Idaho hospitals

from complying with certain obligations under EMTALA.” 4-LEG-ER-

582. By prohibiting abortion unless authorized by law, section 622

allegedly “undermines the overall Medicare program and the funds that

the United States provides in connection with that program ….” 4-LEG-

ER-582–83. The threat is obvious. Idaho hospitals must perform

abortions whenever the United States says that EMTALA requires it, or

risk the loss of billions in Medicare funding. Any doubt that the threat is

intended should be put to rest given the directive issued by HHS

Secretary Becerra. He instructed Medicare-participating hospitals that

violating the EMTALA abortion mandate “may be subject to termination

of its Medicare provider agreement.” Letter from Secretary Becerra to
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Health   Care    Providers,     July    11,   2022,   at   2,   available   at

https://www.hhs.gov/sites/default/files/emergency-medical-care-letter-

to-health-care-providers.pdf.

     Threatening to withhold all Medicare-related funding from Idaho

hospitals unless they adhere to a baseless construction of EMTALA

exceeds the Government’s authority under the Spending Clause.

Consider a similar dispute under the Affordable Care Act. States

challenging the statute complained that “Congress [was] coercing

[them] to adopt the changes it wants by threatening to withhold all of a

State’s Medicaid grants, unless the State accepts the new expanded

funding and complies with the conditions that come with it.” NFIB, 567

U.S. at 575. That provision of the ACA amounted to “economic

dragooning that leaves the States with no real option but to acquiesce

in the Medicaid expansion.” Id. at 582 (footnote omitted). Likewise here.

The United States threatens the State of Idaho with the devastating loss

of all Medicare funding (of which EMTALA-related funding is a small

part) unless Idaho hospitals comply with the government’s lawless

exercise of power under EMTALA. Leveraging compliance in this way is

not a policy nudge—but “a gun to the head.” Id at 581.
      Case:
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      Second, the federal government’s demand for compliance with a

contested interpretation of EMTALA is retroactive. It comes long after Idaho

agreed to the conditions of participating in Medicare. Imposing its

abortion mandate on Idaho hospitals retroactively is another reason to

conclude that the government is violating the Spending Clause.

Pennhurst, 451 U.S. at 25.

II.   THE PRELIMINARY INJUNCTION INFLICTS IRREPAR-
      ABLE HARM ON THE IDAHO LEGISLATURE.

      The Idaho Legislature will “suffer irreparable harm” unless the

injunction is vacated. Winter, 555 U.S. at 20. Supreme Court precedent

teaches that “the inability to enforce its duly enacted plans clearly inflicts

irreparable harm on the State.” Abbott v. Perez, 138 S. Ct. 2305, 2324

n.17 (2018) (citing Md. v. King, 567 U.S. 1301 (2012) (Roberts, C.J., in

chambers)); accord New Motor Vehicle Bd. v. Orrin W. Fox Co., 434 U.S.

1345, 1351 (1977) (Rehnquist, J., in chambers). That principle is

especially true when a federal court blocks a state law adopted through

democratic processes on a matter of public controversy.

      Here, the Idaho Legislature enacted section 622 in anticipation of a

Supreme Court decision by the U.S. Supreme Court abandoning Roe.

Dobbs, 142 S. Ct. 2228, is that decision. It held that “[t]he Constitution
     Case:
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does not prohibit the citizens of each State from regulating or prohibiting

abortion,” and, accordingly, “return[ed] that authority to the people and

their elected representatives.” Id. at 2284. The injunction blocks that

return of sovereign authority and thwarts Idaho’s exercise of democratic

self-government.

     Maintaining the preliminary injunction against 622 is anything but

harmless even if it did issue a year ago. Federal injunctions are the

exception, not the norm. See Winter, 555 U.S. at 24 (“A preliminary

injunction is an extraordinary remedy never awarded as of right.”). Every

day that passes with an injunction in place inflicts irreparable harm on

the Legislature.

     Conversely, the United States will not suffer irreparable harm from

vacating the preliminary injunction. Any harm from waiting to persuade

an appellate panel that section 622 poses a genuine conflict with

EMTALA before enjoining the law is hardly “irreparable” since the

government “may yet pursue and vindicate its interests in the full course

of this litigation.” Washington v. Trump, 847 F.3d 1151, 1168 (9th Cir.

2017) (per curiam), cert. denied sub nom. Golden v. Washington, 138 S.

Ct. 448 (2017). Otherwise, any lawsuit by the United States challenging
     Case:
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a state law would unavoidably impose an irreparable injury on the state

in the course of testing the law’s validity. That cannot be so. The Winter

standard strives to avoid irreparable injury—not inflict it. It is the harm

from interfering with state law that counts as irreparable injury, not the

operation of a state law the federal government opposes. 4

III. THE BALANCE OF EQUITIES AND PUBLIC INTEREST TIP
     IN FAVOR OF THE IDAHO LEGISLATURE.

     The last two Winter factors—balancing the equities and the public

interest—merge when the United States is a party. See Nken, 556 U.S.

at 435.

     The district court thought it a “key consideration” to account for

“what impact an injunction would have on non-parties and the public at

large.” 1-LEG-ER-49 (citing Bernhardt v. L.A. Cnty., 339 F.3d 920, 931

(9th Cir. 2003)). The public at large would be best served, the court said,

by vindicating the Supremacy Clause. See id. In addition, the court

discerned that “allowing the Idaho law to go into effect would threaten

severe, irreparable harm to pregnant patients in Idaho.” Id. And hospital



4 The government cannot cite third-party harm as the source of injury to

itself when Nken v. Holder, 556 U.S. 418 (2009), asks “whether the appli-
cant will be irreparably injured.” Id. at 426 (emphasis added); accord Doe
#1 v. Trump, 957 F.3d 1050, 1060 (9th Cir. 2020).
     Case:
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capacity in neighboring states “would be pressured as patients may

choose to cross state lines to get the emergency care they are entitled to

receive under federal law.” 1-LEG-ER-50–51. Compared to these

interests, the August Order said that “the State of Idaho will not suffer

any real harm if the Court issues the modest preliminary injunction the

United States is requesting.” 1-LEG-ER-51. Hence, the court concluded

that “the public interest lies in favor of enjoining the challenged Idaho

law to the extent it conflicts with EMTALA.” Id.

     Respectfully, the lower court analysis is flawed. Where the court

focused on how the preliminary injunction affects “non-parties and the

public at large,” 1-LEG-ER-49, the likelihood of success on the merits “is

the most important” factor in evaluating an injunction. Garcia, 786 F.3d

at 740. Also, what matters under the “balance of equities” prong are “the

burdens or hardships to [the plaintiff] compared with the burden on [the

State of Idaho and the Legislature] if an injunction is ordered.” Poretti v.

Dzurenda, 11 F.4th 1037, 1050 (9th Cir. 2021). Properly focused on that

inquiry, the balance tips in the Legislature’s favor. For the Legislature,

the preliminary injunction interposes federal judicial power on an issue

of profound importance to Idaho. Elected state officials acted in good faith
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by adopting section 622 in harmony with Supreme Court precedent.

Enjoining Idaho law is an affront to the State that only searching judicial

scrutiny can justify. By contrast, the United States can identify no

hardship of its own if an injunction does not prevent the operation of

section 622 before it has been conclusively declared invalid on the merits.

A federal injunction blocking an Idaho law on a matter of great public

importance imposes a greater hardship on the State of Idaho than the

burden the United States would bear by postponing injunctive relief until

its unprecedented claim of federal power has prevailed following trial and

appellate review.

     Public interest likewise weighs against the preliminary injunction.

Enjoining section 622 based on an untested and erroneous interpretation

of EMTALA introduces uncertainty and confusion for Idaho law

enforcement authorities and for healthcare professionals trying to treat

pregnant women in a medical crisis. The preliminary injunction likewise

disserves the public interest by suggesting that Idaho hospitals will lose

Medicare funding for complying with state law. And at the level of

fundamental principle, “[t]he public interest is also served by

maintaining our constitutional structure,” which the preliminary
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injunction disrupts by exaggerating the authority of the Executive

Branch at the expense of Congress and the State of Idaho. BST Holdings

v. OSHA, 17 F.4th 604, 618 (5th Cir. 2021).

     Nor—and this point deserves emphasis—does vacating the

preliminary injunction pose a threat to the healthcare needed by

pregnant women in Idaho. Section 622 expressly authorizes such care

through the exemptions and exceptions we have described. See IDAHO

CODE §§ 18-622(2), (4), (5). There is no reasonable prospect, for instance,

that a woman suffering from preeclampsia or the side-effects of an ectopic

pregnancy will be denied life-saving medical care because of section 622.

Preeclampsia is a dangerous condition that poses a genuine threat to a

woman’s life, and section 622 expressly authorizes an abortion where a

physician judges it in good faith to be necessary. See id. § 18-622(2). An

ectopic pregnancy can be equally life-threatening and even when not, its

removal is not an abortion under Idaho law. See Planned Parenthood, 522

P.3d at 1203. Since EMTALA does not dictate any particular form of

medical treatment—including abortion—an Idaho doctor complies with

EMTALA by giving a pregnant woman with an emergency medical

condition the same care provided to any similarly situated patient,
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regardless of the patient’s ability to pay. That may include medical

treatments other than abortion to resolve a pregnant woman’s emergency

medical condition.

     On the other side of the balance sheet, the United States has no

legitimate interest in compelling Idaho’s compliance with an implied

mandate contrary to EMTALA’s text and context. Certainly, there is no

public interest in substituting the United State’ conception of abortion

policy for Idaho’s. Reasonable minds differ about when the law should

allow a woman to terminate her pregnancy. But Idaho’s elected officials

have lawfully exercised their authority to adopt laws restoring the State’s

historic commitment to protecting unborn life. Id. at 1148 (describing

Idaho’s “history and traditions” under which “abortion was viewed as an

immoral act and treated as a crime”). And nothing in EMTALA precludes

that choice.

                             CONCLUSION

     The Court should reverse the decision below and vacate the district

court’s orders granting preliminary injunctive relief.

                                   Respectfully submitted,

                                   /s/ Daniel W. Bower
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     Case:
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                CERTIFICATE OF COMPLIANCE
             PURSUANT TO 9TH CIRCUIT RULE 32-1
               FOR CASE NOS. 23-35440 & 23-35450

     I hereby certify that this brief complies with the word limits

permitted by Ninth Circuit Rule 32-1. The brief is 13,657 words,

excluding the items exempted by FRAP 32(f). The brief’s type size and

typeface comply with FRAP 32(a)(5) and (6).

     Dated: August 7, 2023         /s/ Daniel W. Bower
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                 STATEMENT OF RELATED CASES

     The Idaho Legislature is aware of a related case pending in this

Court, pursuant to Ninth Circuit Rule 28-2.6: United States of America

v. State of Idaho, Case No. 23-35153 (appealing the district court’s denial

of the Idaho Legislature’s motion to intervene as of right).

                                   Respectfully submitted,

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             Exhibit 10
      Case: 23-35440, 09/08/2023,Document
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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


THE UNITED STATES OF AMERICA,                   Case No. 1:22-cv-00329-BLW

      Plaintiff,

v.

THE STATE OF IDAHO,

      Defendant,

and

SCOTT BEDKE, in his official capacity as
Speaker of the House of Representatives of
the State of Idaho; CHUCK WINDER, in his
capacity as President Pro Tempore of the
Idaho State Senate; and the SIXTY-SIXTH
IDAHO LEGISLATURE,

      Intervenor-Defendants.

                               ___________________________

                   IDAHO LEGISLATURE’S BRIEF IN SUPPORT OF
                   MOTION FOR RECONSIDERATION OF ORDER
                     GRANTING PRELIMINARY INJUNCTION
                               ___________________________

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I.      This motion is procedurally proper and satisfies the standard of review.

        This motion is procedurally proper.
        When a district court enters an order granting preliminary injunctive relief, parties
        who take exception to its terms must either file a motion for reconsideration in the
        district court within ten days under Rule 59(e) [now 28 days], bring an interlocutory
        appeal from that order under 28 U.S.C.A. § 1292(a)(1), or wait until the preliminary
        injunction becomes final and then appeal.
Favia v. Indiana Univ. of Pennsylvania, 7 F.3d 332, 337–38 (3d Cir. 1993). Motions for

reconsideration of orders regarding preliminary injunctions are standard practice in the Ninth

Circuit, 1 see, e.g., Katie A., ex rel. Ludin v. Los Angeles Cnty., 481 F.3d 1150, 1152 (9th Cir. 2007)

(“We have jurisdiction to review the district court's order granting the preliminary injunction and

the court's denial of the motion for reconsideration under 28 U.S.C. § 1292(a)(1).”). A motion

under Rule 59(e) is timely if “filed no later than 28 days after the entry of the judgment.” Fed. R.

Civ. P. 59(e). This motion is timely since it follows less than 28 days after the August 24, 2022

entry of the Idaho Order.

        This motion satisfies the standard of review. Ninth Circuit precedent holds that

“[r]econsideration is appropriate if the district court . . . committed clear error or the initial decision

was manifestly unjust . . . .” Sch. Dist. No. 1J, Multnomah Cnty., Or. v. ACandS, Inc., 5 F.3d 1255,

1263 (9th Cir. 1993). “[A] trial court has discretion to reconsider its prior, non-final decisions.

‘[T]he major grounds that justify reconsideration involve . . . the need to correct a clear error or

prevent manifest injustice.’” Pyramid Lake Paiute Tribe of Indians v. Hodel, 882 F.2d 364, 369



1
 Here are some examples from just the past ten months: Hayes v. Oregon, No. 1:20-CV-01332-
CL, 2022 WL 488069, at *1 (D. Or. Feb. 17, 2022) (reviewing a motion to reconsider denial of a
preliminary injunction, stated that a “district court is permitted to reconsider and amend a previous
order pursuant to Federal Rule of Civil Procedure 59(e).”); Wholesaler Equity Dev. Corp. v.
Bargreen, No. C20-1095RSM, 2021 WL 5648099 (W.D. Wash. Dec. 1, 2021), appeal dismissed,
No. 21-36010, 2021 WL 7443767 (9th Cir. Dec. 17, 2021) (same).


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n.5 (9th Cir. 1989). 2 The following sections demonstrate that reconsideration and alteration of the

Idaho Order are necessary to correct a clear error and prevent manifest injustice.

II.    The Idaho Order clearly erred by ignoring Congress’s language defining the scope of
       EMTALA and instead using the Administration’s materially different and misleading
       language.

       In the August 22 hearing, Mr. Stewart spoke of Idaho having drawn its line regulating

abortion. Transcript of August 22, 2022 Hearing (“Transcript”) at 59. Mr. Netter in response said

that the United States had established a different “standard,” a different line, protecting abortions

in the context of emergency medical conditions. Id. at 69. His point was that where Idaho’s line

went beyond the United States’ line, there was a conflict creating a Supremacy Clause issue that

must be resolved in favor of the United States by issuing an injunction prohibiting State action in

the area of conflict defined by the two lines. Id.

       Mr. Netter, however, misspoke. The United States has not drawn a line, it has drawn two

lines. Congress drew one line, and the current administration (“Administration”), through its

Department of Justice (“DOJ”) and its Department of Health and Human Services (“DHHS”), has

(since and in response to June 24) drawn a different line. A materially different line.

       Congress’s line and the Administration’s newly minted line diverge at subpart (i) of

EMTALA’s definition of “emergency medical condition.” 42 U.S.C. § 1395dd(e)(1)(A) says in

relevant part:

                (1) The term “emergency medical condition” means—(A) a medical
       condition manifesting itself by acute symptoms of sufficient severity (including
       severe pain) such that the absence of immediate medical attention could reasonably
       be expected to result in—(i) placing the health of the individual (or, with respect to
       a pregnant woman, the health of the woman or her unborn child) in serious jeopardy
       . . . .”

42 U.S.C. § 1395dd(e)(1)(A) (emphasis added).




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       As this language reveals, Congress drew its line to protect both the mother and the unborn

child in an emergency medical situation. By contrast, the Administration draws its line to eliminate

all protection for the unborn child in such situations. It did so by a simple expedient—it silently

erased “or her unborn child” from all DOJ filings here (including in its Proposed Order, Dkt. 17-

2, which this Court used word-for-word in the Idaho Order at 38-39) and from all DHHS Guidance

and other communications.

       In the August 22 hearing, this was the Legislature’s thrice-iterated “most important point.”

Transcript at 60, 62. The Government’s Proposed Order, with its inclusion of the altered subpart

(i) language, was seeking to enjoin State action where there was no conflict between federal law

and state law. This matters because this Court’s “authority extends to the boundary of the conflict

and no further. You can enjoin 622 to the extent of a conflict …. But that’s the limit of your

authority to enjoin enforcement and operation of 622.” Id. at 61. Moreover, and distressingly, the

DOJ was erasing Congressional language expressly written to protect the health of preborn

children in order to expand the injunction’s scope and, thereby, greatly increase the risk of death

for such children. That purpose squarely contradicts EMTALA’s clear language and Congress’s

evident intent that “the health of . . . the unborn child” not be put “in serious jeopardy.” 42 U.S.C.

§ 1395dd(c)(2)(A).

       Mr. Stewart went on to note correctly that this alteration, this erasure, of Congressional

language was done in an effort to fulfill at least in part the Administration’s “political promise to

push back against Dobbs.” Id. at 62. That political promise was made so publicly and so soon after

Dobbs that everyone in the courtroom knew what Mr. Stewart was referring to. 3 Soon after Dobbs


3
 Describing the Supreme Court’s decision in Dobbs as the cause of a nationwide “health crisis,”
President Biden responded with an executive order directing HHS to “consider[ ] updates to


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overruled the Roe/Casey abortion regime and returned to the respective States and their people

their constitutional authority to regulate abortion, the Administration publicly announced that the

federal executive branch, across all its departments, would use whatever means it could grasp in

an effort both to thwart the Dobbs decision and to attempt to resurrect to the greatest extent possible

the nationwide Roe/Casey abortion regime. That was the political promise, with this civil action

being one effort to fulfill it—or, more accurately, to create the appearance of fulfilling it. 4

       During the August 22 hearing, the Legislature’s counsel sought to share not just the

uncensored EMTALA language but also a “blue-line” of the Government’s Proposed Order that

limited its scope to the scope of the real conflict (defined by Congressional language), rather than

the scope of the manufactured conflict (defined by the altered subpart (i) language). Transcript at

62-63. The Court declined to look at the “blue-line,” suggesting it could be filed post-hearing. Id.

at 65. The Legislature did file it following the hearing, later that same day. Dkt. 93.

       Then on August 23, the United States District Court for the Northern District of Texas

issued its Decision and Order making the same thrice-iterated “most important” point. Texas v.

Becerra, No. 5:22-CV-185-H, 2022 WL 3639525 (N.D. Tex. Aug. 23, 2022) (“Texas Decision”).

This Court had the Texas Decision in hand on August 24, Dkt. 94-1, although the later-filed Idaho

Order makes no reference to it.


current guidance on obligations specific to emergency conditions and stabilizing care under
[EMTALA].” Exec. Order 14076, 87 Fed. Reg. 42053, 42053 (July 13, 2022). HHS promptly
obliged. A few days later, it issued “clarifying guidance” under EMTALA, along with Secretary
Becerra’s statement that the statute “preempts state law restricting access to abortion in emergency
situations.” https://www.hhs.gov/about/news/2022/ 07/11/following-president-bidens-executive-
order-protect-access-reproductive-health-care-hhs-announces-guidance-clarify-that-emergency-
medical-care-includes-abortion-services.html. This case is nothing more or less than
Administration policy operationalized as high-stakes litigation against the State of Idaho.
4
  We say “create the appearance” because, according to our research, at its broadest the
Government’s case affects a category of abortions that, under the Roe/Casey regime, accounted
for less than 2% of all Idaho abortions.
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       Regarding the Legislature’s “most important” point, the Texas Decision first detailed the

context and making of the political promise and the scope of efforts to fulfill it, including the

DHHS Guidance, id. at 6–9, and this Idaho civil action, id. at 37. (All Texas Decision page

references are to the version filed in this civil action as Document 94-1.)

       That Decision then addresses the uncensored language of subpart (i), which created

“EMTALA’s equal obligations to the pregnant woman and her unborn child” but also “create[d] a

potential conflict in duties that [EMTALA] does not resolve,” id. at 42, specifically, what do

doctors do “where emergency medical conditions threaten the health of both the pregnant woman

and the unborn child”? Id. at 43.

       After thorough analysis of the relevant statutory and case law bearing on “the obligations

of doctors in cases of conflict between the health of a pregnant woman and her unborn child,” the

Texas court concluded that “there is no direct conflict between EMTALA and state laws that

attempt to address that circumstance.” Id. at 44. There is no “impossibility” preemption, id. at 45–

46, and no “obstacle” preemption, id. at 46–49. Because EMTALA simply “does not resolve how

stabilizing treatments must be provided when a doctor’s duties to a pregnant woman and her

unborn child possibly conflict,” id. at 49, “EMTALA leaves [that resolution] to the states.” Id.

       The Texas Decision utterly rejects the government’s attempt to use EMTALA as a wedge

to leverage federal control over state abortion laws. That Decision repudiates the government’s

theory of preemption: since “EMTALA leaves unresolved the conflict between emergency medical

conditions that threaten the health of both the pregnant woman and the unborn child—and

therefore . . . does not preempt state law filling that void—it becomes clear the Guidance [and the

identically worded Proposed Order] goes beyond the language of” EMTALA. Id. This is because

the Administration’s “erasure” scheme requires (DHHS’s Guidance) or allows (DOJ’s Proposed



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Order) “physicians to perform abortions when they believe that an abortion would resolve a

pregnant woman's emergency medical condition irrespective of the unborn child’s health and

contrary state law.” Id. Thus, the Administration’s scheme of omitting statutory language

specifically requiring medical care to protect a preborn child “stands contrary to” EMTALA. Id.

at 50.

         The Texas Decision concludes with well-deserved criticism of the Administration’s

“erasure” scheme—its “conspicuous omission of the reference to the health of the ‘unborn child.’”

Id. Rightly, the Decision found the Administration’s distortion of plain statutory language

indefensible—especially as a political maneuver to repurpose EMTALA as a kind of Roe/Casey

Restoration Act. Id. at 49–52. Because EMTALA “expresses explicit concern for the unborn

child,” id. at 52, “[t]his concern is critical to understanding how the statute [EMTALA] approaches

abortion—if at all.” Id.

                 In such a case, the Court [along with, by this point, every other good-faith
         reader] finds it difficult to square a statute that instructs physicians to provide care
         for both the pregnant woman and the unborn child with [preliminary injunction
         language] excluding the health of the unborn child as a consideration when
         providing care for a mother. If there ever were a time to include the full definition
         of an emergency medical condition, the abortion context would be it.

         By adopting wholesale the Government’s Proposed Order with its altered subpart (i)

language, the Idaho Order at 38-39 stepped beyond the bounds of EMTALA and thereby stepped

beyond the bounds of any real conflict between federal law (Congress’s law, not the

Administration’s clumsy counterfeit) and Idaho’s 622 Statute. That in turn means that the Idaho

Order at 38-39 steps beyond this Court’s lawful authority. See Transcript at 61 (a district court’s

“authority extends to the boundary of the conflict and no further”). The United States Supreme

Court has made the same point, forcefully:




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       Simply put, where enforcement of a law would conflict with the Constitution, a
       court has authority under the Supremacy Clause to enjoin enforcement, but a court
       cannot, consistent with separation of powers, enjoin enforcement of a statute where
       enforcement would be lawful.

Borden v. United States, 141 S. Ct. 1817, 1836 (2021) (emphasis added).

       This binding law means that a preliminary injunction should not affect the enforcement of

the 622 Statute except insofar as EMTALA requires it. Therein lies the rub. By crediting the

Government’s misinterpretation of EMTALA—built on a deliberate omission of language

requiring the protection of a pregnant woman’s unborn child—this Court’s preliminary injunction

purports to enjoin the 622 Statute where the language of EMTALA does not apply.

       We, therefore, urge the Court to amend pages 38 and 39 of the Idaho Order in keeping with

the “blue-line” submitted by the Legislature. That “blue-line” document takes out the

Government’s altered subpart (i) language, while leaving in the subpart (ii) and subpart (iii)

language. Idaho’s 622 Statute on its face (although not in application) is different from the Texas

statute addressed in the Texas Decision relative to those two subparts.

       Modifying the preliminary injunction in this way is literally a life-and-death matter. Some

of Idaho’s preborn children may well die as a consequence of the Idaho Order as now written—

children whose lives Idaho’s 622 Statute protects properly and constitutionally. If the 622 Statute

is to be enjoined at all, the Idaho Order should conform with the actual language of EMTALA—

not a version partially erased to serve the Administration’s political purposes. Remember that

EMTALA clearly requires that the health of the unborn child not be put “in serious jeopardy,” 42

U.S.C. § 1395dd(c)(2)(A), let alone in that ultimate jeopardy created by the Administration’s

“erasure” scheme.




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III.   Serious legal and constitutional errors render the preliminary injunction clearly
       erroneous.

       A motion for reconsideration should be granted when the judgment rests on a clear error

of law. See Harrington v. City of Chicago, 433 F.3d 542 (7th Cir. 2006) (altering or amending a

judgment is permitted when there has been a manifest error of law). Here, the decision granting a

preliminary injunction to the United States relies on a misstatement of Idaho law and an omission

of federal law. Even more critically, the decision does not address multiple legal and constitutional

errors that the State and Legislature brought to the Court’s attention. For those reasons, the

preliminary injunction should be vacated.

       A. The Decision Contains Clear Errors of Law Under State and Federal Statutes.

       The Court’s analysis relies on a misstatement of Idaho law. When explaining why the

affirmative defenses in Idaho Code § 18-622 did not “cure” the impossibility of complying with

both Idaho law and EMTALA, the district court criticized those defenses. Decision at *8. “The

affirmative defense admits that the physician committed a crime but asserts that the crime was

justified and is therefore legally blameless. And it can only be raised after the physician has already

faced indictment, arrest, pretrial detention, and trial for every abortion they perform.” Id. (citation

omitted). Not so. Idaho has not adopted the draconian scheme that the Court has described. Section

622 plainly says that the life of the mother, rape, and incest are “affirmative defense[s] to

prosecution.” Idaho Code § 18-622(3) (emphasis added). No physician faces the gantlet of criminal

prosecution, so long as he or she performs an abortion under the circumstances provided for by

statute. Because the Court’s analysis of the central issue of preemption turns on an incorrect

rendition of section 622, the preliminary injunction stands on a clear error of law.

       The decision likewise goes awry by neglecting to address a federal statute that expressly

limits EMTALA’s preemptive force, even though the decision squarely relies on preemption as


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the reason for enjoining the 622 Statute. See Decision at *18–26 (discussing impossibility and

obstacle preemption). That provision says that “[n]othing in this subchapter shall be construed to

authorize any Federal officer or employee to exercise any supervision or control over the practice

of medicine or the manner in which medical services are provided … or to exercise any supervision

or control over the administration or operation of any such institution, agency, or person.” 42

U.S.C. § 1395 (emphasis added). This directive not to preempt state law is controlling because

EMTALA falls within subchapter XVIII of the Social Security Act. Since the Court’s analysis did

not address section 1395, or its effect on the government’s preemption claims, that too is a clear

error of law that calls for the preliminary injunction to be vacated.

       B. Granting a Preliminary Injunction for the United States Commits Clear Errors of
          Constitutional Law.

       Mistakes of statutory interpretation are surely enough to warrant reconsideration. But it is

the multiple constitutional errors raised by the case brought by the United States that make

reconsideration especially urgent. Although the State and the Legislature presented serious

constitutional objections to the Government’s case, the Court declined to address them. The State

argued that the government’s interpretation of EMTALA renders the statute “invalid as coercive

spending clause legislation.” United States v. State of Idaho, No. 1:22-cv-00329-BLW, 2022 WL

3692618, at *6 (D. Idaho Aug. 24, 2022) (Decision). But that objection was brushed aside as “not

sufficiently developed,” to which the Court added the inapplicable rule that “courts should [not]

anticipate a question of constitutional law in advance of the necessity of deciding it.” Id. (quotation

omitted). For its part, the Legislature submitted substantial constitutional objections in a

memorandum attached to its Motion for Leave to File Legal Arguments, but the Court denied the

Motion and declined to address those objections. Docket Entry Order, Doc. 75. These rulings




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effectively denied the State and the Legislature any hearing on their constitutional objections to

the complaint. We respectfully ask the Court to consider those objections now.

           1.   As read by the government, EMTALA violates the major questions doctrine.

       Under the major questions doctrine courts “expect Congress to speak clearly if it wishes to

assign to an agency decisions of vast economic and political significance.” Utility Air Regulatory

Group v. EPA, 573 U.S. 302, 324 (2014). When this rule applies, “something more than a merely

plausible textual basis for the agency action is necessary.” Id. at 2609. Requiring an unusually

clear delegation of congressional authority over a matter of national significance reflects the

nondelegation doctrine, which preserves the separation of powers by ensuring that “any new laws

governing the lives of Americans are subject to the robust democratic processes the Constitution

demands.” NFIB v. OSHA, 142 S. Ct. 661, 669 (2022) (Gorsuch, J., concurring). In this way, the

major question doctrine resolves the problem of “agencies asserting highly consequential power

beyond what Congress could reasonably be understood to have granted.” W. Va. v. EPA, 142 S.

Ct. 2587, 2609 (2022). Three times in the past year alone, the Supreme Court has invoked the

major questions doctrine as sufficient reason to declare certain Administration initiatives

unconstitutional. Id. at 2616 (invalidating an EPA rule because “[a] decision of such magnitude

and consequence rests with Congress itself, or an agency acting pursuant to a clear delegation from

that representative body”); NFIB v. OSHA, 142 S. Ct. 661, 666 (2022) (setting aside an OSHA

standard requiring large employers to ensure that their employees were vaccinated against

COVID-19); Alabama Assoc. of Realtors v. Dep’t of Health and Human Servs., 141 S. Ct. 2485

(2021) (voiding a nationwide eviction moratorium imposed by the Centers for Disease Control).

       The Idaho Order sanctions a violation of the major questions doctrine by deferring to an

executive branch interpretation of EMTALA that inaugurates unprecedented authority over a

matter of grave political importance, without express congressional approval. The United States

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asserts that federal law precludes Idaho from regulating abortion insofar as it qualifies (in the

government’s view) as needed “stabilizing treatment” for a pregnant woman at a federally funded

emergency center. Decision at *2. But exerting federal control over state abortion law is

indisputably a matter of “vast … political significance.” Utility Air Regulatory Group, 573 U.S. at

324. It takes “more than a merely plausible textual basis” to justify a federal assault on the

constitutional authority that Idaho possesses under Dobbs. Id. at 2609. The United States must

show that Congress has spoken with unusual clarity in requiring emergency rooms to perform

abortion procedures even when unnecessary to save a mother’s life. And that the United States has

failed to do. EMTALA’s glancing reference to “[n]ecessary stabilizing treatment” hardly speaks

with the requisite clarity to the issue of abortion procedures, given the prospect of upending Idaho

law on a question of enormous public significance. 42 U.S.C. § 1395dd(b). Like the CDC’s

eviction moratorium, the government’s weaponization of EMTALA grants the government “a

breathtaking amount of authority,” Ala. Assoc. of Realtors, 141 S. Ct. at 2489, by imposing a

nationwide abortion mandate through an unreasonable interpretation of a narrow statute.

           2. The Supremacy Clause does not give the United States an implied right of action.

       As described more fully in an amicus brief filed by 17 states, the Supremacy Clause does

not contain the implied right of action on which this case rests. In another case against the State of

Idaho, the U.S. Supreme Court held that providers of residential habilitation services could not

bring a suit under the Supremacy Clause challenging the disparity between Idaho’s Medicaid

reimbursement rates and the supposed requirements of the Medicaid Act. Armstrong v.

Exceptional Child Ctr., Inc., 575 U.S. 320, 324–25 (2015). Such a suit was barred, the Court

explained, because the Supremacy Clause “creates a rule of decision,” but not “any federal rights”

or “a cause of action.” Id. at 324–25. Rather, the Clause “instructs courts what to do when state

and federal law clash, but is silent regarding who may enforce federal laws in court, and in what

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circumstances they may do so.” Id. at 325. Armstrong thus directly forecloses the United States

from bringing a lawsuit against the State of Idaho directly under the Supremacy Clause.

       Its decision highlights this Court’s view that “the Supremacy Clause says state law must

yield to federal law when it’s impossible to comply with both. And that’s all this case is about.”

Decision at *1 (emphasis added). But the Court does not grapple with how Armstrong precludes

this case. The United States is not “an individual” seeking an injunction to prevent a state

regulation from overriding federal immunity. Id. at *6 (quoting Armstrong, 575 U.S. at 326). Nor

does it matter that the United States is “challenging the validity” of Idaho law. Id. Armstrong stands

for the broad principle that the Supremacy Clause nowhere “give[s] affected parties a

constitutional (and hence congressionally unalterable) right to enforce federal laws against the

States.” 575 U.S. at 325. On that point, the United States stands in no better position than a private

party. Since Armstrong bars exactly the kind of claim brought by the Government here, the

preliminary injunction rests on another clear error of law.

           3. The Preliminary Injunction Exceeds the Court’s Powers as an Inferior Court Under
              Article III.

       By issuing its preliminary injunction, the Court has exceeded its power as an inferior

tribunal. Article III vests “the judicial power of the United States” in “one supreme Court.” U.S.

Const. art. III, § 1. The resulting judicial hierarchy makes U.S. Supreme Court precedents binding

on this Court. Jean v. Nelson, 472 U.S. 846 (1985) (“this Court’s judgments are precedents binding

on the lower courts”). Only weeks ago, the U.S. Supreme Court issued a historic decision

overruling 50 years of its own precedents holding that abortion is a federal constitutional right.

Dobbs v. Jackson Women’s Health Organization, 142 S. Ct. 2228, 2284 (2022). Dobbs specifically

held that eliminating a federal right to abortion would result in the return of regulatory authority

concerning abortion “to the people and their elected representatives.” Id. Despite Dobbs, the Idaho


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Order blocks the State of Idaho from exercising that authority by enjoining the 622 Statute. Since

this Court’s order does not explain how a statutory interpretation can impede the transfer of

constitutional authority pronounced in Dobbs, that decision is in error.

           4. The Court’s Decision sanctions an interpretation of EMTALA that exceeds
              Congress’s authority under the Spending Clause.

       The State fairly briefed the Court on its concern that the Government’s interpretation of

EMTALA violates the Spending Clause. That is the Clause granting Congress the power “to pay

the Debts and provide for the … general Welfare of the United States.” U.S. Const. art. I, § 8. To

guard against allowing that power to obliterate the fundamental distinction between federal and

state powers, the Constitution places “limits on Congress’s power … to secure state compliance

with federal objectives.” NFIB v. Sebelius, 567 U.S. 519, 576 (2012). For instance, when

“conditions take the form of threats to terminate other significant independent grants, the

conditions are properly viewed as a means of pressuring the States to accept policy changes.” Id.

at 580. Federal strings may attach to federal dollars, but “the States must have a genuine choice

whether to accept the offer.” Id. at 588. Also, retroactive conditions on federal funding are

disallowed. Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 25 (1981) (“Though

Congress’ power to legislate under the spending power is broad, it does not include surprising the

States with post-acceptance or ‘retroactive’ conditions.”). Both limits are transgressed here.

       First, the United States threatens to withhold all Medicare funding unless Idaho complies

with the Government’s novel abortion mandate under EMTALA. That threat is evident from an

insistence that “a hospital participating in Medicare must comply with EMTALA as a condition

of receiving federal funds” and that “hospitals enter into written agreements with the [HHS]

Secretary confirming they will comply with EMTALA.” Mem. in Supp. of Mot. for a Prelim. Inj.,

United States v. State of Idaho, No. 1:22-cv-329-BLW, at 5 (S.D. Idaho Aug. 8, 2022) (“Mem.”)


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(emphasis added). The United States insists that EMTALA imposes duties for “all patients, not

just for Medicare beneficiaries.” Id. at 19. This expansive reading of EMTALA leads to a sweeping

outcome. Because Idaho Code § 18-622 governs all abortions performed in the state, the

Government says, state law will “disrupt the [Medicare] program and deprive the United States of

the benefit of its bargain by prohibiting Idaho hospitals from performing EMTALA-mandated

services, notwithstanding that hospitals’ receipt of Medicare funds is conditioned on them doing

so.” Id. On the Government’s view, EMTALA requires Idaho hospitals to perform abortion

procedures whenever the Government says so, and noncompliance may result in the loss of all

Medicare funds.

       Those funds are considerable. By the Government’s own estimate, between 2018–20,

Idaho’s hospitals received $3.4 billion in Medicare funds and the state’s 39 emergency centers

received $74 million in federal funding—all of which was “conditioned on compliance with

EMTALA.” Id. at 6. Framed in these terms, the threatened loss of federal funding is not limited to

support for abortion-related emergency care or abortion-related emergency care for Medicare

beneficiaries. As the Government would have it, compliance with EMTALA embraces all

Medicare-funded emergency centers and all patients—not only Medicare recipients. Id. at 6. Its

memorandum lays out the case for denying Idaho hospitals funding under the Medicare program,

solely because of its dispute with perceived noncompliance as to a single medical procedure

governed by Idaho law and available at only 39 of 52 Medicare-certified hospitals. Id.

        Threatening to withhold all Medicare-related funding for hospitals in Idaho unless

emergency centers comply with an expansive interpretation of EMTALA exceeds the

Government’s authority under the Spending Clause. Consider a parallel threat in the original

Affordable Care Act. There, states complained that “Congress [was] coercing the States to adopt



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the changes it wants by threatening to withhold all of a State’s Medicaid grants, unless the State

accepts the new expanded funding and complies with the conditions that come with it.” NFIB, 567

U.S. at 575. Agreeing with that objection, the Court held that this provision of ACA amounted to

“economic dragooning that leaves the States with no real option but to acquiesce in the Medicaid

expansion.” Id. at 582 (footnote omitted). Likewise here. The Government’s threat to withhold all

federal funding to any emergency center found to violate EMTALA is not a policy nudge—but “a

gun to the head.” NFIB, 567 U.S. at 581.

       Second, the United States has sprung this abortion mandate under EMTALA on Idaho long

after it agreed to other conditions of participating in Medicare. Trying to impose its abortion

mandate on Idaho hospitals retroactively is an independent reason for concluding that the

Government is exceeding its powers under the Spending Clause. Pennhurst, 451 U.S. at 25.

           5. The Preliminary Injunction Trenches on Idaho’s Reserved Power Under the Tenth
              Amendment.

       The preliminary injunction violates the State of Idaho’s reserved power to regulate

abortion. Dobbs held that that authority now belongs “to the people and their elected

representatives.” 142 S. Ct. at 2284. There can be no reasonable dispute that Idaho possesses the

authority to regulate abortion as a matter of federal constitutional law. But the preliminary

injunction will thwart the return of authority prescribed by Dobbs. Specifically, the injunction

prevents Idaho from carrying out sections 622(2) and (3), to the extent that those provisions collide

with provisions under EMTALA that protect a pregnant woman’s health from “serious jeopardy,”

pose a “serious impairment to [her] bodily functions,” or threaten to cause a “serious dysfunction

of any bodily organ or part.” Decision at *15 (quoting 42 U.S.C. §§ 1395dd(e)(1)(A)(i)-(iii)). This

order overrides the political, practical, and moral judgment of Idaho lawmakers to protect both

mother and child by permitting abortion when necessary to save the mother’s life and to allow


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abortion to terminate a pregnancy resulting from rape or incest, but not otherwise. Idaho Code §

18-622.

       Even if the United States could point to unambiguous statutory authority for its attempted

blockade of Idaho law, EMTALA is a garden-variety statute that must give way to the Constitution

insofar as they conflict. Marbury v. Madison, 5 U.S. 137, 177 (1803) (the constitution controls any

legislative act repugnant to it.”). Under that principle, the Supreme Court’s final judgment in

Dobbs must prevail over conflicting federal statutes. While EMTALA remains valid to the extent

that it prescribes certain forms of medical care by institutions participating in Medicare and

Medicaid, it cannot be read as the Idaho Order says. The people of Idaho enjoy constitutional

authority to govern themselves with respect to abortion, and no federal statute, however overread

by an Administration committed to countering Dobbs, can lawfully diminish that authority.

                                         CONCLUSION

       For all these reasons, the Court should either modify its August 24 Order to reflect the blue-

line document submitted by the Legislature or vacate that Order in its entirety.

Dated this 7th day of September, 2022.

                                              /s/ Daniel W. Bower
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 7th day of September, 2022, I electronically filed the
foregoing with the Clerk of the Court via the CM/ECF system, which caused the following parties
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     I FURTHER CERTIFY that on such date I served the foregoing on the following non-
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